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Counsel for Movants

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 In re:                                         )   Case No. 19-34054-sgj-11
                                                )
 Highland Capital Management, L.P.,             )   Chapter 11
                                                )
          Debtor.                               )
                                                )

       APPENDIX TO JAMES DONDERO, HIGHLAND CAPITAL MANAGEMENT
 FUND ADVISORS, L.P., NEXPOINT ADVISORS, L.P., THE DUGABOY INVESTMENT
 TRUST, THE GET GOOD TRUST, and NEXPOINT REAL ESTATE PARTNERS, LLC,
  F/K/A HCRE PARTNERS, LLC, A DELAWARE LIMITED LIABILITY COMPANY’S
         MOTION FOR FINAL APPEALABLE ORDER AND SUPPLEMENT
  TO MOTION TO RECUSE PURSUANT TO 28 U.S.C. § 455 AND BRIEF IN SUPPORT

          James Dondero, Highland Capital Management Fund Advisors, L.P., NexPoint Advisors,

L.P., The Dugaboy Investment Trust, The Get Good Trust, and NexPoint Real Estate Partners,

LLC, f/k/a HCRE Partners, LLC, a Delaware limited liability company (collectively, “Movants”)

file this Appendix in support of their Motion for Final Appealable Order and Supplement to

Motion to Recuse Pursuant to 28 U.S.C. § 455 and Brief in Support:

 Exhibit                                                                         Appendix
                                        Description
  No.                                                                              Nos.
                                                                                APP’X.
 31          June 10, 2021 Hearing Transcript
                                                                                2720-2810
                                                                                APP’X.
 32          December 10, 2020 Hearing Transcript
                                                                                2811-2815
                                                                                APP’X.
 33          June 17, 2021 Order
                                                                                2816-2828
APPENDIX TO MOVANTS’ MOTION FOR FINAL APPEALABLE ORDER
AND SUPPLEMENT TO MOTION TO RECUSE PURSUANT TO
28 U.S.C. § 455 AND BRIEF IN SUPPORT                                                  PAGE 1
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           February 9, 2022 Memorandum Opinion and Order by Judge                    APP’X.
 34
           Kinkeade                                                                  2829-2842
                                                                                     APP’X.
 35        May 19, 2022 Letter
                                                                                     2843-2924
                                                                                     APP’X.
 36        November 3, 2021 Letter
                                                                                     2925-3013
                                                                                     APP’X.
 37        May 11, 2022 Letter
                                                                                     3014-3044
                                                                                     APP’X.
 38        January 14, 2021 Hearing Transcript
                                                                                     3045-3049
                                                                                     APP’X.
 39        May 20, 2021 Hearing Transcript
                                                                                     3050-3054
                                                                                     APP’X.
 40        May 10, 2021 Hearing Transcript
                                                                                     3055-3067
                                                                                     APP’X.
 41        June 25, 2021 Hearing Transcript
                                                                                     3068-3070
                                                                                     APP’X.
 42        March 1, 2022 Hearing Transcript
                                                                                     3071-3073

Dated: July 19, 2022                                Respectfully submitted,

                                                    CRAWFORD, WISHNEW & LANG PLLC

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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that, on July 19, 2022, a true and correct copy of the above and
foregoing document was served on all parties and counsel set to receive notice by the Court’s ECF
system.

                                                    /s/ Michael J. Lang ________
                                                    Michael J. Lang



APPENDIX TO MOVANTS’ MOTION FOR FINAL APPEALABLE ORDER
AND SUPPLEMENT TO MOTION TO RECUSE PURSUANT TO
28 U.S.C. § 455 AND BRIEF IN SUPPORT                                                      PAGE 2
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                                     EXHIBIT 31

                        IN THE UNITED STATES BANKRUPTCY COURT
      1                   FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION
      2
                                       )    Case No. 19-34054-sgj-11
      3   In Re:                       )    Chapter 11
                                       )
      4   HIGHLAND CAPITAL             )    Dallas, Texas
          MANAGEMENT, L.P.,            )    Thursday, June 10, 2021
      5                                )    9:30 a.m. Docket
                   Debtor.             )
      6                                )    MOTION TO COMPEL COMPLIANCE
                                       )    WITH BANKRUPTCY RULE 2015.3
      7                                )    FILED BY GET GOOD TRUST AND
                                       )    THE DUGABOY INVESTMENT TRUST
      8                                )    (2256)
                                       )
      9                                )
          HIGHLAND CAPITAL             )    Adversary Proceeding 21-3006-sgj
     10   MANAGEMENT, L.P.,            )
                                       )
     11            Plaintiff,          )    DEFENDANT'S MOTION FOR LEAVE
                                       )    TO FILE AMENDED ANSWER AND
     12   v.                           )    BRIEF IN SUPPORT [15]
                                       )
     13   HIGHLAND CAPITAL             )
          MANAGEMENT SERVICES, INC.,   )
     14                                )
                   Defendant.          )
     15                                )
                                       )
     16   HIGHLAND CAPITAL             )    Adversary Proceeding 21-3007-sgj
          MANAGEMENT, L.P.,            )
     17                                )
                   Plaintiff,          )    DEFENDANT'S MOTION FOR LEAVE
     18   TO                           )    TO AMEND ANSWER TO PLAINTIFF'S
          v.                           )    COMPLAINT [16]
     19                                )
          HCRE PARTNERS, LLC           )
     20   N/K/A NEXPOINT REAL          )
          ESTATE PARTNERS, LLC,        )
     21                                )
               Defendant.              )
     22                                )
     23                       TRANSCRIPT OF PROCEEDINGS
                     BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
     24                    UNITED STATES BANKRUPTCY JUDGE.
     25




                                                                       APP. 2720
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  25




                                                                       APP. 2721
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                                                                     3


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  23
             Proceedings recorded by electronic sound recording;
  24            transcript produced by transcription service.
  25




                                                                         APP. 2722
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                                                                           4


     1               DALLAS, TEXAS - JUNE 10, 2021 - 9:44 A.M.

     2              THE COURT:    All right.    Let me change my stacks here.

     3   I will now hear what was Matter No. 1 on the docket, Highland

     4   Capital, Case No. 19-34054.        We have a motion from the Dugaboy

     5   and Get Good Trusts seeking compliance with Bankruptcy Rule

     6   2015.3.

     7        Who do we have appearing for the trusts this morning?

     8              MR. DRAPER:    Douglas Draper, Your Honor.

     9              THE COURT:    All right.    And for the Debtor this

    10   morning?

    11              MR. POMERANTZ:    Good morning, Your Honor.    Jeffrey

    12   Pomerantz; Pachulski Stang Ziehl & Jones; on behalf of the

    13   Debtor.

    14              THE COURT:    All right.    Do we have any other parties

    15   wishing to make an appearances?       These are the only parties

    16   who filed pleadings, but I'll go ahead and ask if anyone wants

    17   to appear for any reason.

    18              MR. CLEMENTE:    Good morning, Your Honor.    It's Matt

    19   Clemente at Sidley on behalf of the Committee.        I'm here.

    20              THE COURT:    All right.    Thank you, Mr. Clemente.

    21        All right.   Mr. Draper, how did you want to proceed?

    22              MR. DRAPER:     I'd just -- I think the issue is

    23   primarily a legal issue, Your Honor.

    24              THE COURT:    Uh-huh.

    25              MR. DRAPER:    So we've filed with the Court our




                                                                           APP. 2723
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      1   response to the Debtor's opposition, I have some comments I'd

      2   I like to make, and just leave it at that.     I think -- as I

      3   said, I believe the issue is purely a legal issue --

      4             THE COURT:    Uh-huh.   Okay.

      5             MR. DRAPER:    -- and can go from that.

      6             THE COURT:    All right.

      7             MR. DRAPER:    All right.   We are here -- thank you,

      8   Your Honor.   Can I start?

      9             THE COURT:    Yes, you may.

     10             MR. DRAPER:    Thank you.   We're here before the Court

     11   today on what should be a rather routine matter.     All I'm

     12   asking the Court to do is to require the Debtor to do what it

     13   should have done when the case was filed and is required

     14   pursuant to Bankruptcy Rule 2015.3.

     15        2015.3 uses the term "shall" and requires the Debtor to

     16   file an official form -- and this is important, because I'm

     17   going to come back to the official form -- with respect to the

     18   value, operations, and profitability of each entity in which

     19   the Debtor has a substantial or controlling interest.

     20        The reports, the Rule says, shall be filed seven days

     21   before the first meeting of creditors and every six months

     22   thereafter.

     23        Under 2015.3(d), I recognize a court may, after notice and

     24   a hearing, modify the reporting requirement.     No request has

     25   been made by counsel for the Debtor, who I will stipulate




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      1   knows the Rules, are experienced, and understand that the rule

      2   existed the day they came into the case.     And quite frankly,

      3   what we have now is, from what I can see, an intentional

      4   decision not to file the report.

      5        As the Court knows, this matter was brought before this

      6   Court in February, when the confirmation hearing was held.

      7   And if the Court will recall, Mr. Seery's comment was (a) it

      8   slipped through the cracks; and (b) he implied that it would

      9   be done.   That was February.   I had hoped, and I think

     10   everybody had hoped, that Mr. Seery, Highland, and Debtor's

     11   counsel would be so embarrassed by the fact that they didn't

     12   file [sic] the rule that they would have either (a) filed

     13   [sic] the rule; or (b) sought -- sought a waiver of the rule.

     14   They did neither.

     15        Now, let's -- let's go through the 2015.3(d).     There are

     16   two items that are not exclusive, and so I recognize it.      The

     17   first is that they can't do it, and second is with respect to

     18   the information is publicly available.     If you look at the

     19   cases that the Debtor has cited in support of their position

     20   that courts have waived compliance with the rule, you'll note

     21   that three of the four cases deal with first day motions when

     22   in fact they ask for extensions of time to file their

     23   schedule, Statement of Financial Affairs, and other things.

     24   These are normal first day motions.    I understand the

     25   extension in that case.    And quite frankly, those extensions




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      1   are -- fall into the "I can't do it."

      2        The only excuse the Debtor has offered, other than their

      3   response to date, was, oh, I forgot, or it slipped through the

      4   cracks.   That is not a legitimate excuse.    It never has been

      5   and never will be, and should not be countenanced by the

      6   Court.

      7        And so let's start with the after-the-fact excuses offered

      8   by the Debtor.   The first is the bad guy defense -- i.e.,

      9   Dugaboy is a Dondero entity; they're asking for this

     10   information for nefarious purposes.    That has to -- that

     11   should be completely disregarded by the Court.     This is a

     12   systematic issue that neither you nor I nor the Debtor's

     13   counsel put in the Code or put in the Rules.     It is a

     14   requirement, it's systematic, and we, as counsel and people

     15   acting on behalf of the estate and sort of people who oversee

     16   the system, should insist that this be filed.     The bad guy

     17   defense is not an excuse.    And quite frankly, this is

     18   information that is required.

     19        So what I'm asking for today is not gamesmanship.     I don't

     20   think it is ever gamesmanship when you ask for the compliance

     21   with a rule that says shall.    Again, it's systematic, and we

     22   are here -- and I don't know why -- either the U.S. Trustee

     23   was asleep at the switch or anybody else was asleep at the

     24   switch -- that this matter hadn't been brought to the Court's

     25   attention.




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       1       So the word "shall" is not strained in any fashion.          It's

       2   not limited in any fashion.        The word "shall" is absolute.

       3       So, again, had -- was there some secret deal between the

       4   Trustee -- U.S. Trustee and the Debtor?        I don't know.   That

       5   may have been.   But quite frankly, --

       6              THE COURT:    A secret deal?

       7              MR. DRAPER:    -- the Code, in 2015 --

       8              THE COURT:    Did you just use the term "a secret

       9   deal"?

     10               MR. DRAPER:    Well, some --

     11               THE COURT:    What --

     12               MR. DRAPER:    I'm not using the term.    What I --

     13               THE COURT:    That's highly charged, that --

     14    =          MR. DRAPER:    No, --

     15               THE COURT:    -- choice of words.

     16               MR. DRAPER:    What I mean, what I really mean is

     17    sometimes we go to the U.S. Trustee and say, look, can we have

     18    an extension?    Can we have -- can we do this a little bit

     19    later?   And the U.S. Trustee, in fairness to them, basically

     20    says, okay, you can do this or that.        I don't know if that

     21    occurred in this case.     But quite frankly, what we have are 20

     22    months of noncompliance.     And so I don't know if they said,

     23    look, --

     24               THE COURT:    Okay.

     25               MR. DRAPER:    -- you don't have to file it now.




                                                                            APP. 2727
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      1              THE COURT:    So you meant an informal deal, not secret

      2   deal?

      3              MR. DRAPER:    Yes.

      4              THE COURT:    A secret deal, that sounds like something

      5   nefarious.    Okay?   So, --

      6              MR. DRAPER:    No, it is not intended in that -- it's

      7   --

      8              THE COURT:    Okay.

      9              MR. DRAPER:    Judge, it's not intended in that

     10   fashion.

     11              THE COURT:    Okay.

     12              MR. DRAPER:    This goes to my issue that it's

     13   systematic.    It's a systematic compliance.

     14        And let's also go the fact that the Bankruptcy Code

     15   requires complete and open disclosure.       It does not matter who

     16   or why compliance is requested.

     17        The next objection is I waited too long.       And they offer

     18   an excuse, Judge, we're going to go effective.       Let's look at

     19   what the Code requires -- the rule requires.        It says it shall

     20   be filed, it has to be filed at certain points, through the

     21   effective date of a plan.        It doesn't say after the effective

     22   date of a plan is filed or after the effective date of a -- of

     23   a plan occurs, your compliance is not required.

     24        And I'll point out something where you ruled against me,

     25   and we've contrasted that in our motion -- in our opposition.




                                                                        APP. 2728
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      1   If you look at the examiner statute, which I know the Court

      2   has looked at and completely disagreed with my reading of it,

      3   it basically says after confirmation you don't have to do it.

      4   This statute doesn't say that.        This statute says you have to

      5   file these through the effective date of a plan.

      6        And so, you know, that "You waited too long" is really not

      7   a legitimate excuse.

      8        The next issue is -- and --

      9               THE COURT:    Well, on that point, --

     10               MR. DRAPER:    And let's look at the cases.

     11               THE COURT:    On that point, can I just ask, what is

     12   the utility?    I mean, let's say we're one -- okay.       Let's say

     13   we're one month away from the effective date.        Let's say we're

     14   three months away from the effective date.       What is the

     15   utility at this point?      There's a confirmed plan.     Now,

     16   granted, it's on appeal.      But, you know, what -- what would

     17   you --

     18               MR. DRAPER:    Well, --

     19               THE COURT:    What would you do with this information

     20   at this point?    We have a confirmed plan.

     21               MR. DRAPER:    Well, there are two responses to that.

     22   First of all, the rule says you have to file it through the

     23   effective date of a plan.      Somebody in rulemaking authority

     24   made that determination.      And so it's not for you or I to

     25   question.    That's the rule.




                                                                           APP. 2729
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                                                                         11


      1        The second is the utility may be for further actions in

      2   the case that occur after the effective date.     We just don't

      3   know.

      4        And so the rule is designed to require things to be filed

      5   --

      6             THE COURT:    Wait.   What did that last statement mean,

      7   --

      8             MR. DRAPER:    -- through the effective date.

      9             THE COURT:    -- for actions that might occur after the

     10   effective date?

     11             MR. DRAPER:    It may be --

     12             THE COURT:    What does that mean?

     13             MR. DRAPER:    After the effective date of a plan.

     14   There may be some -- some matter that comes up before the

     15   Court.   And I'll give you the best example --

     16             THE COURT:    Well, --

     17             MR. DRAPER:    -- of all of them.

     18             THE COURT:    Okay.

     19             MR. DRAPER:    If you look -- if you look at the form,

     20   all right, and what I'd ask the Court to look at is -- I think

     21   it's Exhibit E that's required on the form.     And what Exhibit

     22   E requires is disclosure of information where one of the

     23   subsidiaries has either paid or has decided -- has incurred a

     24   liability to somebody who would have an administrative expense

     25   against the Debtor.




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      1        The utility of that post-effective date is important,

      2   because post-effective date you'll be dealing with fee

      3   applications and other things.        So the rule envisions

      4   disclosure --

      5             THE COURT:      Okay, I -- say that again for me slowly.

      6   How --

      7             MR. DRAPER:      Okay.

      8             THE COURT:      How could there be an administrative

      9   expense --

     10             MR. DRAPER:      If you'll --

     11             THE COURT:      -- claim against the estate in your

     12   scenario, again?

     13             MR. DRAPER:      Well, my scenario, if you look at

     14   Exhibit E that's required in the form, --

     15             THE COURT:      Do I have that, Nate?

     16             MR. DRAPER:      -- it basically requires a disclosure.

     17             THE COURT:      Okay.    I don't know if I have it in my

     18   stack of paper.    I --

     19             MR. DRAPER:      Well, let me read it to -- I can read it

     20   to you, Your Honor.     It's easy.     Let me pull it up.

     21        Exhibit E, "Describe any payment by the controlled

     22   nondebtor entity of any claim, administrative expense, or

     23   professional fee that have been paid or could be asserted

     24   against the Debtor or the incurrence of any obligation to make

     25   such payments, together with the reason for the entity's




                                                                          APP. 2731
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                                                                        13


      1   payment thereof or the incurrence of any obligation with

      2   respect thereof."

      3        That is clearly a post-effective date issue that the Court

      4   should be concerned about, all parties should be concerned

      5   about, and so if that occurred, then everybody needs to know

      6   about it.

      7        So E envisions something that is absolutely after the

      8   effective date that will be -- has a utility after the

      9   effective date.

     10        Let's look at B.   Again, something that may have something

     11   to do with after the effective date.     That deals with tax-

     12   sharing agreements and tax-sharing attributes.

     13        So -- and then C, which also has something to do with

     14   after the effective date and how things sort out through the

     15   liquidation, is described claims between controlled debtor,

     16   controlled nondebtor entity and any other controlled nondebtor

     17   entity.

     18        So there needs to be a disclosure of due-to's and due-

     19   from's between the entities.    This is -- this is not secret

     20   stuff.    This is stuff that transcends the effective date of a

     21   plan.

     22        And so when I focused on the rule, what I think the Court

     23   really needs to look at for the utility of this is exactly

     24   what the -- is required by a 2015.3 disclosure.

     25        Does that answer the Court's question?




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                                                                           14


       1              THE COURT:    Yes.

       2              MR. DRAPER:    Now, my favorite excuse that's been

       3   offered is really what I'll call the secret sauce dispute --

       4   excuse, or the former lawyers for the Debtor.       Again, let's

       5   break this down and let's look at the form.

       6       What the form requires is there's nothing the Debtor's

       7   former lawyers did or who were working for Mr. Dondero.       If

       8   you look at Exhibit A that's required, is contains the most

       9   readily-available balance sheet.      That's not a legal issue.

     10    Statement of income or loss.      That's -- that's just an

     11    accounting concept.      Statement of cash flows.   That's also an

     12    accounting concept.      And statement of changes in shareholders

     13    or partners equity for the period covered by the entire

     14    report.

     15        B again has nothing to do with the lawyers, is describe

     16    the controlled nondebtor business entity's business

     17    operations.

     18        So the information that's here is purely accounting

     19    information and it is not secret.

     20        Let's, again, let's focus on A, which -- which I think

     21    just deals with financial information.     The first one is

     22    balance sheet.   All right.     They've argued that this tells

     23    what the value -- what we think the value of an asset is.

     24    That's not true.    A balance sheet may have a fair market

     25    value.    A balance sheet may have a book value.    I don't know




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      1   what they have here.    But quite frankly, if you or I sell my

      2   house, our house, we go to our agent and we say, hey, look,

      3   agent, you know, this is my listing price.     That's my opinion

      4   as to value.   It may not be somebody else's opinion as to

      5   value.   And quite frankly, when somebody asks or wants to buy

      6   an asset, what they come to, don't they ask, hey, what do you

      7   want for it?

      8        You know, book value does not equal value.     And I know the

      9   Court has held -- has had before it many clients or many

     10   debtors, and I've represented a lot of debtors, who think a

     11   Bic pen that they have is not worth ten cents but is worth a

     12   gazillion dollars.

     13        So that issue doesn't go to any secret information.      The

     14   statement of income doesn't go to secret information.

     15   Statement of cash flows does not.     And changes in shareholders

     16   does not.   There's no secret information.    The only person who

     17   this may be kept away from, possibly, and that -- that, I

     18   don't think applies, is a competitor who may want to look at

     19   these.   And a court can fashion that relief and say, okay,

     20   let's put this under seal.    If somebody signs a

     21   confidentiality agreement, they can have access to this.

     22        But this is purely accounting information.     It's nothing

     23   more.

     24        And the reference to trade secrets that the Debtor

     25   attempts to make is just not true.     This is not a trade




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       1   secret.    There's no confidential research or development or

       2   commercial information that's being disclosed.      And 9018 that

       3   they cite is truly an evidentiary rule.    We're not -- this --

       4   this requirement does not go to customers.    It does not go to

       5   pricing.    It does not go to business processes.   It just goes

       6   to financial information.

       7       So the global argument that they're making is undercut

       8   significantly by the -- by what is required under the rule.

       9   I'm just asking for mere compliance with the rule, nothing

     10    more.

     11        And so, you know, what -- I still don't understand what

     12    the issue is, why it hadn't been done.    And quite frankly,

     13    again, this is systematic.    It has nothing to do with who is

     14    requesting it, what is requesting it.    It should have been

     15    done.    It should have been done probably by the U.S. Trustee.

     16    You know, somebody -- you know, and quite frankly, I've been

     17    in this case since December.    It was raised in February.    You

     18    know, I don't understand why, from February to the time I

     19    filed this motion, they didn't come in and either (a) file the

     20    reports, which on their face appear to be benign; or (b) ask

     21    for some reason other than, oops, I forgot.

     22        And so I'd ask the Court to require compliance.      I don't

     23    think the information here falls into any category of for

     24    cause.    They can do it.   This -- and the cases -- any case

     25    they cite does not support their proposition that it shouldn't




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      1   be done.

      2        Does the Court have any questions for me?

      3              THE COURT:    Well, I do.    My brain just constantly

      4   goes to standing.    And remind me again, the trusts you

      5   represent have each filed proofs of claim, correct?

      6              MR. DRAPER:    Yes.   And they're objected to, --

      7              THE COURT:    They are objected to.

      8              MR. DRAPER:    -- just so the Court's aware.

      9              THE COURT:    Okay.   Remind me again what the substance

     10   of the claim is about.

     11              MR. DRAPER:    The substance of the claim is I have a

     12   -- I have a $17 million debt owed to me by Highland Select.

     13   And it is our position that this Debtor is also liable for the

     14   Highland Select debts through its general partner status,

     15   through its comingling of things, and how these assets fit

     16   together, between Highland Select, which is a hundred percent

     17   owned by the -- ultimately owned by this Debtor.       So I'd --

     18   again, the standing issue --

     19              THE COURT:    And the debt is --

     20              MR. DRAPER:    And I am also an equity holder.

     21              THE COURT:    And the debt is pursuant to a note?

     22              MR. DRAPER:    It's pursuant to a loan agreement

     23   between my client and Highland Select.

     24              THE COURT:    All right.    And was an administrative

     25   expense filed by your client?




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      1               MR. DRAPER:    Not by my client.    No.   And I'm also an

      2   equity holder in the Debtor that, when the plan goes

      3   effective, I ultimately have, at best, a residual interest

      4   when the Star Trek Enterprise returns.

      5               THE COURT:    Okay.   And what is that residual

      6   interest?    Remind me again.       Isn't it less than one percent --

      7               MR. DRAPER:    After the --

      8               THE COURT:    -- of a subordinated --

      9               MR. DRAPER:    After all the class --

     10               THE COURT:    Go ahead.

     11               MR. DRAPER:    Right.    Well, after all the classes are

     12   paid in full plus a hundred cents on the dollar -- get a

     13   hundred cents on the dollar plus some interest factor, and the

     14   -- there's another party who has an equity interest that's

     15   ahead of me get paid, I get some -- some money.

     16        Again, I have a residual interest.        It's very tangential.

     17   And I'll be very frank to the Court and honest, I think

     18   ultimately I will receive nothing under that residual

     19   interest.

     20        However, my -- the standing is not really an issue here.

     21   Honestly, this is a systematic issue.         I've tried to make that

     22   clear for the Court.      It's something that should be employed,

     23   and who is asking for it is irrelevant.        The Code requires --

     24   the Rules require it.      There is no excuse that they've given

     25   that should absolve them of that.         And whatever excuse they've




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      1   given basically falls in -- falls in the face of what the rule

      2   -- the official form requires.

      3        I'm not asking for a variance of the official form.       I'm

      4   asking that this Court not allow a "Oops, I forgot" or "It

      5   slipped through the cracks" excuse.

      6             THE COURT:    All right.    And who is the current

      7   trustee of these trusts now?

      8             MR. DRAPER:    My trusts?    Nancy Dondero is the trustee

      9   of the Dugaboy Trust, and I think Grant Scott is the trustee

     10   of the Get Good Trust.

     11             THE COURT:    Okay.   I'm asking because we heard

     12   earlier this week that Grant Scott has resigned from certain

     13   roles.

     14        All right.   Mr. Pomerantz, do you have evidence, --

     15             MR. POMERANTZ:    Yes, Your Honor.

     16             THE COURT:    -- or argument only?

     17             MR. POMERANTZ:    Argument only, Your Honor.

     18             THE COURT:    Okay.

     19             MR. POMERANTZ:   As with -- as with many of the other

     20   motions that have been filed with this -- in this case and has

     21   burdened the Court's docket over the last several months, I

     22   really can't help to wonder why we are here.

     23        Eighteen months after the case was filed, after plan

     24   confirmation, and with the effective date that's set to occur

     25   soon, Dugaboy and Get Good, the family trusts, ask the Court




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      1   to compel the Debtor's compliance with 2015.3.      It reminds me

      2   of the motion that Mr. Draper mentioned that he filed on the

      3   eve of confirmation, the eve of confirmation, fourteen months

      4   after the case had been filed, seeking an examiner.      And the

      5   Court denied that motion without a hearing.

      6         Now they're back again with, as Your Honor mentioned and

      7   I'll get to in a little bit, with the same tangential

      8   connection to the bankruptcy case and the same tenuous

      9   standing that the Court has alluded to on several occasions,

     10   including just a couple minutes ago.

     11         It's clear that the motion, which is not supported by any

     12   other creditor in the case and is actually opposed by the

     13   Official Unsecured Creditors' Committee, is not about

     14   financial transparency, as Mr. Draper would like Your Honor to

     15   believe, but it's filed as a further litigation tactic to gain

     16   access to information that Mr. Dondero would not be able to

     17   obtain through discovery, who has tried to obtain through

     18   other means, and that the Debtor believes will be used for

     19   improper purposes.

     20         One of the Movants, Dugaboy, is actually the holder of two

     21   claims against the Debtor.    I guess Mr. Draper forgot about

     22   his administrative claim, which really goes to the validity of

     23   it.   One is the claim against the Select Fund, a subsidiary of

     24   the Debtor, for which Mr. Draper says they should be liable,

     25   including under an alter ego theory.




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      1        Yes, Your Honor heard me right.    Dugaboy is saying that

      2   the Debtor is an alter ego with a nondebtor entity.      One would

      3   think that, given the recent disclosures and commencement of

      4   litigation -- and I'm talking about the UBS litigation -- that

      5   Mr. Dondero would be the last one to raise alter ego.      In any

      6   event, that claim is disputed.

      7        The second claim is an administrative claim that Mr.

      8   Draper filed on account of their 1.71 percent interest in

      9   Multistrat, saying they were damaged by decisions Mr. Seery

     10   made by selling certain life insurance policies in the spring

     11   of 2020.

     12        There is a theme here, Your Honor:     Claims that Mr. Seery

     13   made decisions that harmed -- in this case -- Dugaboy's 1.71

     14   percent interest.

     15        The claim has no merit.    The Debtor will contest it.    But

     16   even if it was allowed, the claim would be paid a hundred

     17   cents on the dollar under the plan.     And accordingly, the

     18   information under 2015.3 is not relevant.

     19        Get Good filed a claim which alleges they may have a claim

     20   from its limited partnership interest in the Debtor.      But for

     21   the record, Get Good is not a limited partner of the Debtor.

     22        So, how did we get here, Your Honor?     The Dondero entities

     23   sandbagged the Debtor by raising the issue for the first time

     24   during the confirmation trial.    Not in their briefs, not in

     25   communications to the Debtor in advance of the confirmation,




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      1   but while the Debtor had its witness on the stand.

      2        And why did they do it that way?    Because they wanted to

      3   be able to argue, and they did argue to Your Honor, that the

      4   Court couldn't confirm the plan because the Debtor did not

      5   comply with Rule 2015.3, was in violation of 1129(a)(2), and

      6   the Court could not confirm the plan.

      7        Of course, the Court rejected that argument.     And when the

      8   Debtor entity -- when the Dondero entities raised it as a

      9   reason for Your Honor to enter a stay pending appeal, Your

     10   Honor commented that that claim bordered on frivolous.      And of

     11   course, that issue has been raised to the Fifth Circuit as one

     12   of the reasons to overturn Your Honor's confirmation order.

     13        And why are the Dondero entities persisting now in their

     14   effort to obtain disclosure?    It's because they're desperate

     15   to obtain financial information about the Debtor because they

     16   want to become involved in the Debtor's future asset

     17   dispositions at the nondebtor affiliates and they want to get

     18   information.

     19        As Your Honor will recall, Mr. Dondero filed a motion in

     20   January asking for this Court to require the Debtor to bring

     21   affiliated -- affiliated entity asset sales to the Court.      The

     22   Debtor opposed the motion, and before the hearing it was

     23   withdrawn.

     24        Your Honor has heard testimony from Mr. Seery throughout

     25   the case that Mr. Dondero previously interfered with the




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      1   Debtor's asset sales and that -- and on that basis, the Debtor

      2   was not comfortable including Mr. Dondero in sale processes.

      3   And I'm not talking about the AVYA and the SKY stock from the

      4   CLO funds, but rather certain transactions regarding SSP and

      5   OmniMax which were subject to a motion made by, I believe, the

      6   Funds or the Advisors -- I get them confused sometimes --

      7   accusing the Debtor of mismanaging the CLOs.      And if Your

      8   Honor recalls, Your Honor denied that motion based upon a

      9   directed verdict.

     10        So, having been rebuffed by the Debtor in its attempts to

     11   obtain financial information that they're not entitled to, the

     12   trusts have one last effort.      Press 2015.3 arguments, because,

     13   of course, they're very interested in the integrity of the

     14   process, in the institution, in the following of the

     15   Bankruptcy Code.    That is exactly what their motivation is.

     16        But there's yet another reason, Your Honor, the Debtor

     17   believes Mr. Dondero, through the trusts, is pursuing this

     18   motion.   As Your Honor is aware, the Debtor recently

     19   discovered some extremely troubling information regarding a

     20   massive fraud involving a previous --

     21        (Audio cuts out.)

     22             THE COURT:     Uh-oh.

     23             THE CLERK:     He froze up.

     24        (Pause.)

     25             THE COURT:     All right.   Mr. Pomerantz, you're frozen.




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      1   Is everybody frozen, or is it just him?

      2               MR. POMERANTZ:      There'll be some judicial estoppel.

      3               THE COURT:    Okay.   Mr. Pomerantz?

      4               MR. POMERANTZ:      Yes.

      5               THE COURT:    You were frozen for about one minute.         So

      6   I am sorry, --

      7               MR. POMERANTZ:      Uh-huh.

      8               THE COURT:    -- you're going to need to repeat the

      9   past minute for me.

     10               MR. POMERANTZ:      Just to check if you were listening,

     11   Your Honor, what was the last thing you remember me saying?

     12               THE COURT:    I was listening.

     13               MR. POMERANTZ:      Okay.   So I will -- did you hear me

     14   talk about Mr. Seery's testimony throughout the case?

     15               THE COURT:    No.    No.

     16               MR. POMERANTZ:      Okay.   I'll go back a paragraph

     17   before.   Okay.   Okay.

     18        And why are the Debtor -- why are the Dondero entities

     19   persisting now in their effort to obtain disclosure?         It's

     20   because the Dondero entities are desperate to try to obtain

     21   financial information, information they would not otherwise be

     22   entitled to under discovery rules, because they want to become

     23   involved, he wants to become involved in the Debtor's asset

     24   dispositions in the future regarding affiliated nondebtor

     25   entities.




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       1       If Your Honor will recall, Mr. Dondero made a motion in

       2   January seeking an order from this Court requiring the Debtor

       3   to bring to this Court asset sales from nondebtor affiliates.

       4   The Debtor opposed the motion, and before the hearing on the

       5   motion it was withdrawn.

       6       Your Honor has heard testimony from Mr. Seery throughout

       7   the case that Mr. Dondero previously interfered or tried to

       8   interfere with the Debtor's asset sales, and on that basis the

       9   Debtor was not comfortable inviting Mr. Dondero into its asset

     10    sale processes.

     11        And I'm not talking about the AVYA and SKY stock from the

     12    CLOs, but rather certain transactions regarding SSP and

     13    OmniMax, which were closed for fair value, which were subject

     14    of a motion that the Advisors or the Funds -- and I often get

     15    them confused -- that they made, accusing the Debtor of

     16    mismanaging the CLOs.   And I'm sure Your Honor recalls.    Your

     17    Honor denied that motion on a directed verdict basis.

     18        So, having been rebuffed in their attempts to try to get

     19    the information that they weren't entitled to, they're now

     20    proceeding under 2015.3.   And, of course, Mr. Draper say he is

     21    a protector of the process, the integrity of the system

     22    demands it.   It has nothing to do with Mr. Dondero's

     23    interests, of course, because Mr. Draper is just there to make

     24    sure everything runs on time and everything is done according

     25    to the law, notwithstanding the fact that the U.S. Trustee




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       1   hasn't brought this motion, notwithstanding the fact that the

       2   Unsecured Creditors' [Committee] supports our position, and

       3   notwithstanding the fact that not one creditor, not one

       4   unaffiliated creditor, has asked this Court for that

       5   information and relief.

       6       There's yet another reason, Your Honor, the Debtor

       7   believes that the trusts are pursuing this motion.     As Your

       8   Honor is aware, the Debtor recently discovered some extremely

       9   troubling information regarding a massive fraud involving a

     10    previously-unknown entity called Sentinel Reinsurance.     And

     11    that information is the subject of an adversary proceeding

     12    filed by UBS, which Your Honor heard substantial information

     13    about both in connection with hearings on that motion practice

     14    and also at the UBS 9019 motion.

     15        The Debtor believes that the 2015.3 motion is a veiled or

     16    pretty transparent effort of Dondero trying to find out what

     17    the Debtor knows and what the Debtor doesn't know and trying

     18    to get the Debtor to go on record with information that later

     19    in litigation they will use as a judicial estoppel.

     20        Your Honor, that's not an appropriate predicate for the

     21    motion.   Mr. Draper will deny that that's the reason, of

     22    course, but I leave it for Your Honor to look at the

     23    circumstances and make your own conclusions.

     24        As the Court has mentioned many times, context matters,

     25    and the Court should take this context into account in looking




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      1   at the motion and the requested relief.

      2        In our opposition, we argue that the Court should either

      3   waive the 2015.3 compliance, given the anticipated effective

      4   date, or continue the hearing to September 1 for a further

      5   status conference if the effective date doesn't occur.

      6        The burden on the estate if it was required to comply with

      7   2015.3 is significant, and this goes to the issue Your Honor

      8   mentioned, that, really, what's the point at this stage of the

      9   case?   There are more than 150 entities that arguably meet the

     10   definition of substantial or controlling interest for which

     11   the Debtor would be required to file reports under 2015.3.         As

     12   the Court knows, the Debtor is down to 12 staff, 13 if you

     13   include Mr. Seery.    And if those employees working with the

     14   Debtor's financial advisors were required to devote the

     15   necessary time and effort to prepare the reports, the time and

     16   the cost it would take would be substantial.     The Debtor just

     17   doesn't have the bandwidth to comply.

     18        More importantly, Your Honor, as we mention in our

     19   opposition, Mr. Seery and the board are extremely concerned

     20   with the quality of information it has received from the

     21   Debtor's employees who have since been terminated by the

     22   Debtor and now most of them are working for Mr. Dondero and

     23   his related entities in one form or another.     It's not just

     24   the lawyers, as Mr. Draper says.     It's the financial advisors,

     25   who, in other contexts, and you'll hear a little later, are




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       1   coming up with new information, new defenses on notes, et

       2   cetera.   The Debtor has no confidence that the information in

       3   its records is accurate from a financial perspective or from a

       4   legal perspective.

       5         As I mentioned, the Court is aware of the Sentinel cover-

       6   up.   And uncovering just the facts regarding Sentinel was a

       7   very difficult process and required the Debtor to essentially

       8   conduct discovery against itself.    It just couldn't rely on

       9   its information.   So conducting the diligence that would be

     10    required to provide accurate information for 150 entities,

     11    intercompany claims, administrative claims, back and forth,

     12    due-to's, due-from's, tax issues, all the stuff required by

     13    the forms would be an extremely arduous task.     It would take

     14    millions of dollars of forensic accounting.    And it wouldn't

     15    -- and for what purpose?   There is no purpose.

     16          In addition, Your Honor, to waiving filing the reports,

     17    2015.3 also allows the Court to modify the reports requirement

     18    for cause when the debtor is not able, in making a good faith

     19    effort, to comply with the requirements.    Your Honor, in this

     20    case, cause is clearly established under 2015.3.

     21          Dugaboy spends a lot of time in their reply attacking the

     22    cases that the Debtor cites in its opposition.     While the

     23    facts in those cases are different from the case here, they

     24    all share something in common which is the key point:     All of

     25    the cases involve a waiver of the 2015.3 requirement for plans




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      1   that will be confirmed or will soon become effective.

      2        Mr. Draper doesn't contest that this Court has the power

      3   to waive.   He says, well, those requests were made in the

      4   first 30 days of the case or in the initial part of the case.

      5   But they all granted relief where the effective date -- where

      6   either the confirmation date occurred and they were waiting

      7   for the effective date, or the confirmation case was -- was

      8   pending.

      9        And Your Honor, we would ask the Court to treat the

     10   Debtor's opposition as a motion to waive the requirement under

     11   2015.3.    We could file a separate motion after this hearing.

     12   It would be a waste of time.    But we would ask Your Honor,

     13   treat our opposition as a motion.

     14        Dugaboy spends the rest of its time, in the papers and its

     15   argument that Mr. Draper made, challenging several arguments,

     16   other arguments the Debtor makes in its opposition.      First,

     17   they argue that there is no deadline for seeking compliance

     18   and that the insinuation that we made that this is

     19   gamesmanship is off base.    I'll acknowledge, Your Honor,

     20   2015.3 does not contain a deadline for a party seeking

     21   compliance.    But as I said before, context matters.    And given

     22   how this motion has come to be before your court, I will leave

     23   it for Your Honor to determine which party is the true one

     24   playing games here.

     25        Second, Dugaboy argues that there's nothing confidential




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      1   in any of the information required to be filed in the 2015.3

      2   reports and that the disclosure of information will facilitate

      3   interest in the assets and maximization of the Debtor's

      4   assets.   Twenty months into this case, Your Honor, no party

      5   other than Mr. Dondero or his related entities has complained

      6   to the Court that the Debtor is not being transparent or

      7   forthcoming.

      8        And there's good reason for that.    Even during the early

      9   stages of this case, when the Debtor and the Committee had

     10   their differences, the Debtor was entirely forthcoming with

     11   information about its assets, nondebtor affiliates, and

     12   strategy for maximizing assets of the Debtor and its

     13   affiliated entities.    That collaborative effort continues

     14   today, and I suspect is one of the reasons that the Committee

     15   has joined in the Debtor's opposition here.

     16        Similarly, the Debtor's nondebtor affiliates have

     17   transacted business with third parties postpetition.      The

     18   Debtor has provided information to those parties as

     19   appropriate, subject to nondisclosure agreement, and several

     20   successful processes have been run that have maximized value.

     21        And just to make clear, Your Honor, we do not believe that

     22   Mr. Dondero or his related entities signed a nondisclosure

     23   agreement that they would comply with the obligations.      So we

     24   have no interest and no desire, unless ordered by the Court,

     25   either in this context or another context, to provide Mr.




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       1   Dondero or his related entities with information that the

       2   Debtor believes would prejudice its ability to monetize

       3   assets.

       4       The alleged transparency that Mr. Draper and the trusts

       5   seek is not borne out of a desire to open the playing field

       6   and make it level and put financial information in the public

       7   domain for the good of the case.    It's about getting access to

       8   information that the Debtor, in the exercise of its business

       9   judgment -- should not be disclosed.

     10        Lastly, Mr. Draper again, during oral argument, harped on

     11    Mr. Seery's testimony that the reason the reports were not

     12    filed is that they fell through the cracks.    It's misleading.

     13    He also stated that Mr. Seery said they would file the

     14    reports.   I've looked at the testimony.   That's not what he

     15    said.   But he did say at confirmation that it slipped through

     16    the cracks.   No doubt.   That's in the transcript.

     17        And yes, the Debtor stands behind the fact that, in the

     18    months leading to the confirmation hearing, neither Mr. Seery

     19    nor the Debtor's professionals even thought about 2015.3.

     20        But Your Honor, it's what has happened since that

     21    justifies the Debtor's request for a waiver.     The plan is soon

     22    to become effective.   As I said, the Debtor is down to 12

     23    employees, who could not possibly prepare this information

     24    without substantial time and effort.    Their effort and their

     25    time should be focused on monetizing assets that will put




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       1   money in creditors' pockets, hopefully sooner than later.

       2       And on top of that, given the massive fraud that

       3   management has uncovered, and continues to uncover information

       4   to this day, Your Honor, on matters separate from the Sentinel

       5   matter -- every week, we are finding out new information that

       6   has not been made public that causes us real concern, and at

       7   the appropriate time that information will be brought before

       8   the Court -- the Debtors simply can't rely on that

       9   information.   And to be required to go through the effort to

     10    put that information out in the public record so Mr. Dondero

     11    can later say that the Debtor was judicially estopped, or use

     12    that information for an ulterior purpose or a litigation

     13    strategy, just does not make sense.

     14        Based upon the foregoing, Your Honor, we would ask that

     15    the Court deny the motion and grant the Debtor a waiver of the

     16    2015.3 requirements.

     17        Does Your Honor have any questions?

     18              THE COURT:   I do not think so.   Well, I just -- am I

     19    correct in remembering the Debtor had somewhere around 75

     20    employees at the beginning of this case?    And I didn't know it

     21    was down to 12.   I knew it was down very low.    But that's what

     22    we're talking about?

     23              MR. POMERANTZ:   Yeah, that -- that sounds about

     24    right, Your Honor.

     25              THE COURT:   Okay.




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      1             MR. POMERANTZ:    And I should mention, you know, I was

      2   there at the beginning.     I was there before the board.     The

      3   first couple months of the case, it was extremely difficult to

      4   get the Debtor's employees focused on trying to get the

      5   information for the 2015.3.      They did not want that

      6   information disclosed.     And it's sort of a -- sort of a little

      7   ironic that now they're here asking for disclosure.

      8        But, look, we're not going to walk away from the fact

      9   that, yeah, it slipped through the cracks.         After the board

     10   took over, Your Honor has heard many times what they did, the

     11   efforts they went to.    If the U.S. Trustee had approached us,

     12   if Mr. Dondero had approached us early on, we would have

     13   figured out a way to address that and deal with that.        The

     14   fact of the matter, it wasn't.       The fact of the matter, it was

     15   brought up as a litigation tactic on confirmation, to defeat

     16   confirmation of the plan.     And as I mentioned, for the

     17   reasons, it's being used as a tactic now as well.

     18             THE COURT:    All right.    Thank you.

     19             MR. DRAPER:    Your Honor, I -- can I -- can I make a

     20   few comments?

     21             THE COURT:    No, not --

     22             MR. DRAPER:    I'll be short.

     23             THE COURT:    Not yet.   Mr. Clemente, --

     24             MR. DRAPER:    Okay.

     25             THE COURT:    -- I neglected to mention when I was




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      1   taking appearances, you filed a joinder on behalf of the

      2   Committee with regard to --

      3             MR. CLEMENTE:   That's correct, Your Honor.

      4             THE COURT:   So I need to hear from you next, and then

      5   I'll circle back to Mr. Draper.

      6             MR. CLEMENTE:   That's correct, Your Honor.    And just

      7   for the record, Matt Clemente from Sidley Austin.

      8             THE COURT:   I should say, a joinder in the

      9   opposition.   That was a confusing statement I just made.

     10             MR. CLEMENTE:   Yeah, that's correct, Your Honor.

     11             THE COURT:   Uh-huh.

     12             MR. CLEMENTE:   And so I will be very brief, because

     13   Mr. Pomerantz was obviously very thorough.     But just to echo

     14   what he said, you know, the Committee is comfortable with the

     15   information that it has received.     And as Your Honor knows, we

     16   haven't been and won't be shy about coming to the Court if we

     17   felt that that was not the case.

     18        You know, we obviously had our issues early on in the

     19   case, including with respect to getting information from the

     20   Debtor.   But, again, the Committee, you know, has been

     21   comfortable with the information that it's received from the

     22   Debtor.

     23        Therefore, at this point, Your Honor, from the Committee's

     24   perspective, there doesn't seem to be any bona fide purpose to

     25   making the Debtor go through the cost and the expensive effort




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       1   that Mr. Pomerantz said would be required to create the Rule

       2   2015.3 reports.   And, again, I -- without casting aspersions,

       3   it would suggest, based on previous activity, that there's

       4   really only a nefarious purpose for what is being pressed

       5   before Your Honor today.

       6       So, Your Honor, again, we support the Debtor's position.

       7   I absolutely agree with Mr. Pomerantz's arguments.      We would

       8   request that Your Honor, you know, enter the relief that the

       9   Debtor is requesting today.

     10              THE COURT:   All right.    And Mr. Clemente, I just --

     11              MR. CLEMENTE:    Yes?

     12              THE COURT:   I just want to seal in my brain the

     13    context that I think applies here.      The January 2020 corporate

     14    governance settlement order.      In there, we all know there were

     15    lots of protocols about lots of things, but one of them or a

     16    set of the protocols dealt with transfers of assets in these

     17    nondebtor subs or entities controlled by the Debtor.      And, of

     18    course, Mr. Pomerantz alluded to this, but I'm just going to

     19    make sure I'm crystal clear on what I remember.     You know, the

     20    whole -- well, it was a protocol that the Committee would have

     21    to be consulted on transfers of assets of those nondebtor

     22    subs, those nondebtor controlled entities, and, you know,

     23    there was a discussion that 363 doesn't apply, of course, to

     24    nondebtor assets, and you could really argue all day, even if

     25    it did apply, about whether these are ordinary course or non-




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      1   ordinary course because of the business Highland is in.      But

      2   the Debtor negotiated with you and your clients:      We're going

      3   to have full transparency to let you all get notice of

      4   transfers of assets of these subs, and you could even object

      5   and bring a motion.     I mean, you can file some sort of

      6   pleading, even though we were not so sure 363 under any

      7   stretch might apply.

      8        Am I correctly restating the context that -- you know, Mr.

      9   Pomerantz alluded to it, but I just want to make sure I'm

     10   clear and the record is clear.

     11              MR. CLEMENTE:   Your Honor, you are -- you are

     12   absolutely correct.     There's a very complex set of protocols

     13   that we painstakingly negotiated with the Debtor that had

     14   different categories depending upon the asset --

     15              THE COURT:   Uh-huh.

     16              MR. CLEMENTE:   -- and the Debtor's ownership and its

     17   relationship with respect to the nondebtor entities or the

     18   related parties.    That required the Debtor to come to the

     19   Committee in certain sets of circumstances and explain a

     20   potential transaction and get the input from the Committee,

     21   and either the Committee could consent to the transaction, or

     22   if the Committee did not consent to the transaction, the

     23   Debtor could seek relief from the Court.

     24        Your Honor will remember that, in fact, one of the

     25   hearings we had with respect to the monies that were placed in




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      1   the Court registry arose out of the protocols.      So the

      2   protocols worked from that perspective in requiring the Debtor

      3   to come to the Committee, allow the Committee to make an

      4   evaluation, and then the Debtor would make a decision from the

      5   perspective of how it wished to proceed.

      6        So, Your Honor is absolutely correct.     That was all part

      7   of the governance settlement that was negotiated back in

      8   January.   And from the Committee's perspective, again, it

      9   hasn't always been lemon water and rose petals, but we believe

     10   that those protocols worked, and worked to provide the

     11   Committee with information so it could appropriately evaluate

     12   what the Debtor was doing.

     13              THE COURT:   All right.   So I'm correct, you would

     14   say, in thinking there was a lot of transparency built in?         It

     15   didn't always work smoothly in the beginning, and as we know,

     16   there were document production requests, many of them from the

     17   Committee.   That all came to a head last July, with more

     18   protocols put in place.    But lots of transparency was

     19   negotiated by the Committee with regard to all of these

     20   controlled entities and subs?

     21              MR. CLEMENTE:   That was a critical, Your Honor, that

     22   was a critical component of the governance settlement.

     23              THE COURT:    Okay.

     24              MR. CLEMENTE:   Because that was obviously the impetus

     25   for us wanting that governance settlement, so we could get




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      1   that transparency.

      2        So, to answer your question, Your Honor, yes, the

      3   protocols served that function of providing the Committee with

      4   information on transactions that the Debtor was proposing to

      5   enter into.

      6             THE COURT:    Okay.   And of course, there was a waiver

      7   of the privilege -- I don't know if that's the word; I guess

      8   that is the right word -- with regard to possible estate

      9   causes of action.    Maybe I'm getting into something unrelated.

     10   Maybe I'm not.   But that was part of the protocol, too, right,

     11   the Debtor would waive its --

     12             MR. CLEMENTE:    That's correct, Your Honor.

     13             THE COURT:    -- privilege with regard to --

     14             MR. MORRIS:    Your Honor, I apologize for

     15   interrupting.    This is John Morris from Pachulski Stang.      I

     16   just want to recharacterize that a bit.

     17             THE COURT:    Okay.

     18             MR. MORRIS:    It's not a waiver of the privilege.        We

     19   agreed to share the privilege --

     20             THE COURT:    Share the privilege.    Okay.

     21             MR. MORRIS:     -- with the Debtor.   The Debtor --

     22             MR. CLEMENTE:    I --

     23             MR. MORRIS:    I'm sorry to -- sorry to correct you,

     24   but it's a --

     25             THE COURT:    Well, no, --




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      1             MR. MORRIS:     -- very important point.

      2             THE COURT:    -- that's why I hesitated on that word.

      3   I wasn't sure if that was the word, the concept.

      4             MR. MORRIS:    There's no waiver.

      5             THE COURT:    Okay.   Okay.   I'm not always --

      6             MR. CLEMENTE:    That is -- and that is correct, Your

      7   Honor.

      8             THE COURT:    Okay.

      9             MR. CLEMENTE:    Mr. Morris is correct.     As are you.

     10             THE COURT:    Okay.   So I'm asking you, is all of this

     11   protocol that was in place, I mean, is it reasonable for me to

     12   think maybe that's the reason you all never pressed the 2015.3

     13   issue, because you were getting a full look, as best you could

     14   tell, and more?    You were getting more information, perhaps,

     15   than these reports would have provided, even.        Is that fair

     16   for me to think?

     17             MR. CLEMENTE:    It is fair for you to think that, Your

     18   Honor.   We viewed the protocols as our mechanism to get the

     19   information that was necessary for the Committee to evaluate

     20   the transactions that the Debtor wanted to engage in.       And so

     21   we were looking to the protocols, and in fact, I think the

     22   protocols were very broad in certain respects, and we were not

     23   thinking about the Rule 2015 reports, nor would we have said

     24   that that would have been a substitute for negotiating those

     25   protocols and implementing them.




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      1               THE COURT:    Uh-huh.

      2               MR. CLEMENTE:    So that's how the Committee was

      3   looking at it, Your Honor.

      4               THE COURT:    Okay.   All right.   Well, okay.   Mr.

      5   Draper, I'm going to come back to you.         You get the last word

      6   on that.

      7               MR. DRAPER:    Thank you.   First of all, the answer is

      8   yes, there are extensive protocols between the Debtor and the

      9   Committee.    I one hundred percent agree with you.       And the

     10   other point I'd make with that is this information is a

     11   scaled-down version of what they're giving the Committee on a

     12   regular basis.    So the argument that it would take hundreds of

     13   man hours and millions of dollars to do that is absolutely not

     14   true.   This information, in large measure, even vaster

     15   portions of it have already been given to the Committee.

     16   Number one.

     17        Number two, we as lawyers are literalists --

     18               THE COURT:    But I presume not in this format.    I

     19   presume not in the format of filling out the form A through E

     20   exhibits.    I mean, maybe it's an email.

     21               MR. DRAPER:    Well, --

     22               THE COURT:    Maybe it's a phone call.

     23               MR. DRAPER:     -- it's not in a form -- no, there is --

     24   there is -- they both have financial advisors who I'm sure

     25   you're going to see whopping fee applications from who have




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      1   pored through all of this.    My bet, and I'd bet big dollars on

      2   this, is that financial -- balance sheets are given to them on

      3   a regular basis, statements of financial information for

      4   subsidiaries and changes in cash flow are given to them.

      5   Otherwise, there's no way the Creditors' Committee could

      6   monitor what's going on and what's happening.

      7        So, really, this is -- this is not a phone call thing.

      8   There is real financial data that's being given that is

      9   available and can be given on a scaled-down basis.

     10        My real point of this is we as lawyers are literalists

     11   until it suits our purposes not to be literalists.      There is

     12   no exception in 2015.3 for information being given to a

     13   creditors' committee.    In fact, when you look at 2015.3, it

     14   basically figures there is information going to a creditors'

     15   committee.   This is for the others who don't have access to

     16   that information.

     17        And the interesting part of that is, as the Court's aware,

     18   the Bankruptcy Code was amended that if I had gone to the

     19   Creditors' Committee and made a request as a creditor, I

     20   probably have a right to get even more information than 2015.3

     21   allows me to get.

     22        Next, which is the giant smokescreen.     We're basically

     23   dealing now with the gee, Mr. Dondero's a bad guy; gee, they

     24   want this information because they want to uncover what we

     25   know.   That's just not true with respect to these reports.        If




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       1   you look at what the reports do, the reports start from the

       2   day that the case was filed and ask for changes in financial

       3   condition from the day the case was filed going forward.     It

       4   is all postpetition in its effect.    And to the extent they've

       5   uncovered things that are incorrect in the Debtor's schedules,

       6   the truth is the amendment of the schedules is warranted.

       7   2015.3 does not deal with prepetition activity in any way,

       8   shape, or form.   They are balance sheets that ask for -- or

       9   changes in financial condition that go from the filing of the

     10    case, or seven days before, and require reports every six

     11    months.

     12        So this giant smokescreen that there's a massive fraud,

     13    there's all this other stuff that's been uncovered, is just

     14    not true.   It is an attempt to cover up or give an excuse that

     15    is unwarranted with respect to why they haven't done the

     16    2015.3.

     17        Next point.   There is no secret stuff that's being done.

     18    There's no valuation that we're asking for.    2015.3 asks for

     19    balance sheet information.   So, in fact, if they own ten

     20    pieces of property, 2015.3 would bind them together in a

     21    balance sheet and say, this is the total real estate that we

     22    have.   If an entity has 15 entities under its umbrella, it

     23    would have a balance sheet entry.    Assets and liabilities.

     24    It's not broken down.   The assets are probably at book value

     25    or some sort of mark to market.




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      1        But honestly, this is -- there is no way that this

      2   information gives anybody any benefit in terms of any bidding.

      3        And the other point that's problematic is anybody who

      4   wants to buy these assets would walk in and say, look, I want

      5   a data room, let me look at this.    If what Mr. Pomerantz is

      6   saying, which I don't understand, is that we're not going to

      7   let a Dondero entity buy an asset, notwithstanding the fact

      8   that they may pay more for the asset than somebody else would,

      9   I think that's -- I have a huge problem with that.      We're here

     10   for monetization of assets.    We're here to maximize the value.

     11   And if, in fact, somebody walks in that may be a tangentially-

     12   related Dondero entity and is willing to pay more, they should

     13   be thrilled with that fact, not jettison it or disregard it.

     14   That is -- their job is to maximize value, not minimize value

     15   through a controlled sale process.

     16        Again, I'm looking at the Code section.     I'm looking at

     17   2015.3.   It basically says what it says.    It's designed to

     18   give basic financial information.    It has nothing to do and

     19   offers no disclosures of anything Mr. Pomerantz has thrown up

     20   before the Court or that Mr. Dondero or any of his entities or

     21   people are alleged to have done.

     22        And the last is, if in fact there's financial information

     23   that's incorrect in any of these entities, I question what the

     24   Debtor's financial advisors have been doing for the last

     25   months.   Honestly, they should be poring over these books.        If




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      1   they find a problem, they should correct 'em and address them.

      2   And so there's no basis under the Code.     We've -- what's been

      3   given to you and what their argument is is an excuse for not

      4   doing something they should have done.     It can't be couched as

      5   to who's asking.    It is systematic in nature.    And what's been

      6   thrown up before the Court in Mr. Pomerantz's arguments are

      7   just not true when you look at what the form requires.

      8             THE COURT:   You know, I can't remember ever being in

      9   a contested matter involving this rule.     And I was kind of

     10   pondering before coming out here, I wonder why that is.      And,

     11   you know, I'm thinking the vast majority of our complex

     12   Chapter 11s that involve many, many, many entities, they all

     13   file.   Okay?   You know, they're kind of a different animal, if

     14   you will, from Highland.

     15        You know, we know how it normally works.     You've got maybe

     16   the mothership, holding company, and many, many subs, and

     17   you've got asset-based lending, right, where, you know, maybe

     18   the majority of the entities in the big corporate complex are

     19   liable, so you just put them all in.     Okay?

     20        We don't have -- I have not experienced a lot of Chapter

     21   11s where you have basically just the mothership and then you

     22   keep subs and lots of affiliates out.     Okay?   So I'm thinking

     23   that's one reason.

     24        Another thing, I can't remember how old this rule is.

     25   Does anyone -- can anyone educate me?     How long has this rule




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      1   been around?

      2             MR. DRAPER:    Your Honor, this is Douglas.    I think it

      3   came in after Lehman Brothers.     And it came --

      4             THE COURT:    Uh-huh.

      5             MR. DRAPER:    It was put in to deal with off-balance

      6   sheet items.

      7             THE COURT:    Uh-huh.

      8             MR. POMERANTZ:    2008, Your Honor.

      9             THE COURT:    2008?

     10             MR. DRAPER:    Which is exactly right.    It --

     11             THE COURT:    Okay.

     12             MR. DRAPER:    Yep.

     13             THE COURT:    Okay.   So that, that's another reason.

     14   Because I was thinking like Enron days.     You know, that's a

     15   big giant, a gazillion entities, and, of course, a whole huge

     16   slew of them were all put in.

     17        So, there's not a lot of case law.    And you know, maybe

     18   there are other situations where a judge ruled on this issue

     19   but without issuing an opinion.     So, anyway, that's neither

     20   here nor there.

     21        Mr. Draper, you've urged me to focus on the literal

     22   wording of the rule.    It's "shall" language.     You've talked

     23   about essentially the integrity of the system as being the

     24   reason for the rule.    You've told me not to accept the

     25   Debtor's "bad guy" defense, you know, as an excuse.         This is




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      1   just Dondero, you know, wanting the information, and therefore

      2   I should discount the motivations here.

      3        But let me tell you something that is nagging very, very

      4   much at me, and I'll hear whatever response you want to give

      5   to this.   I just had an all-day hearing a couple of days ago,

      6   and this involved the Charitable DAF entities and a contempt

      7   motion the Debtor filed because those entities went into the

      8   U.S. District Court upstairs in April and filed a lawsuit that

      9   was all about Mr. Seery's alleged mismanagement with regard to

     10   HarbourVest.

     11        So what I'm really worried about is the idea that your

     12   client wants this information to cobble together a new

     13   adversary alleging mismanagement.    How can I not be worried

     14   about that?

     15              MR. DRAPER:   It's real simple.   Because the

     16   information that's here doesn't go to management decisions.

     17   The information that's requested here has balance sheet items.

     18   It has to do with changes in cash flow.      It is not something

     19   that you can cobble together a claim, because it doesn't deal

     20   with discrete transactions.    It deals with only transactions

     21   between affiliated entities.    It only deals with disclosure of

     22   administrative expenses that are incurred by a subsidiary for

     23   which the Debtor is liable.    It only deals with changes in

     24   condition on a go-forward basis and a balance sheet.       It

     25   doesn't say, gee, we have to disclose that, with respect to




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       1   HarbourVest or with respect to the MGM stock or whatever,

       2   we're doing A, B, or C.      It doesn't go there.

       3       That's why I asked the Court in my opening, look at the

       4   form.   Because the form is what I'm asking for adherence to.

       5   I'm not asking the form to be varied.      I'm just asking the

       6   form to be approved -- to be addressed.        And the form

       7   controls.    It is not something you can cobble together a

       8   complaint with.

       9               THE COURT:    Well, you left out when I asked, you

     10    know, did your client have an administrative expense claim in

     11    this case, and Mr. Pomerantz corrected the record on that.

     12    Your client, while it's not a lawsuit in another court, has

     13    filed an administrative expense that there was mismanagement

     14    of a nondebtor sub or nondebtor controlled entity, --

     15                MR. DRAPER:    That -- that's --

     16                THE COURT:    -- Multistrat.

     17                MR. DRAPER:    No, that's not -- if -- if I understand

     18    the claim -- again, I didn't file it, and I forgot, that's an

     19    oops on me as opposed to an oops on Mr. Seery for not filing,

     20    and I apologize for the Court for that.        But if I understand

     21    that claim, is when he acquired whatever he acquired, he

     22    should have offered it to the other -- to the other members of

     23    the -- that group.       Again, I'm not -- that's not -- I'm a

     24    bankruptcy lawyer, as the Court's well aware.        This other

     25    stuff is beyond me.




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      1        But the truth is, my understanding of the claim, it goes

      2   to who should have benefited by the transaction and whether

      3   the Debtor got CLO interests or got cash for it is irrelevant

      4   and that it should have been offered.       That's what I

      5   understand the claim.

      6             THE COURT:    Okay.    So the same sort of theory --

      7             MR. DRAPER:    So, the claim --

      8             THE COURT:    -- as HarbourVest?    The same sort of

      9   theory as HarbourVest?

     10             MR. DRAPER:    No.    No.   Well, no, I'm just saying,

     11   that's -- that's what -- again, you're asking me for something

     12   that's outside my expertise.

     13             THE COURT:    Okay.

     14             MR. DRAPER:    Yes, we may have filed a claim.

     15             THE COURT:    Who filed a proof of claim?

     16             MR. DRAPER:    And the point I'm making --

     17             THE COURT:    Who filed the proof of claim?

     18             MR. DRAPER:    What?    I did not -- I have not filed the

     19   proof of claims that were asserted by Dugaboy.

     20             THE COURT:    I mean, --

     21             MR. DRAPER:    I think that was --

     22             THE COURT:    -- request for administrative expense.

     23   Who filed this?   You say you don't -- you didn't file it.

     24             MR. DRAPER:    I did -- I don't think I did.

     25             MR. POMERANTZ:    Your Honor, to clarify, it was filed




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      1   as a proof of claim, but it related to postpetition actions.

      2   And, again, I don't have it before me.       This has been raised

      3   --

      4               MR. DRAPER:    I --

      5               MR. POMERANTZ:   -- several times in the confirmation

      6   hearing when Mr. Draper was there, so I guess he must have

      7   just forgotten about it.      But I don't know who actually filed

      8   it.    But it is -- it is -- it is a proof of claim that is on

      9   the record.

     10               MR. DRAPER:    Mr. Pomerantz, God forbid that I should

     11   forget something.    I'm sure you never have.

     12               THE COURT:    Okay.   Well, here's what I'm going to do.

     13   I'm not going to grant the relief being sought today, but I

     14   will continue the hearing to a date in early September.       And

     15   Mr. Draper, you can coordinate with my courtroom deputy, Traci

     16   Ellison, with regard to a setting in early September.

     17          I can assure you it's not going to be until after Labor

     18   Day.    I think Labor Day falls on the 6th, maybe, and I plan to

     19   be far away the first few days of September, far away from

     20   this country.

     21          But here are a few things I want to say.    First, I care

     22   about transparency, and I tend to strictly construe a rule

     23   like this.    I think, you know, it should be very clear for

     24   anyone who's appeared before me that I really like -- I say

     25   open kimono.    I probably shouldn't use that expression, but I




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      1   use that expression a lot.    You know, when you're in Chapter

      2   11, the world changes and you have to be very transparent.

      3        But while I generally feel that way, we have -- as I also

      4   always say, facts matter, contexts matter -- and here we are

      5   twenty months into a case and we're post-confirmation.      This

      6   motion was filed post-confirmation.     So I acknowledge that the

      7   Rule 2015.3(b) has the requirement of filing reports as to

      8   these nondebtor controlled entities until the effective date

      9   of a plan.   We're so -- we're presumably so very close to the

     10   effective date that I think I should exercise my discretion

     11   under Subsection (d) of this rule to, after notice and a

     12   hearing, vary the reporting requirements for cause.      I think

     13   there's cause, and that cause is I think we're oh so close to

     14   the effective date.    That's number one.   Number two, we're

     15   down to 12 staff members.    And I've heard that 150 entities

     16   may be implicated, and I don't think that is a necessary and

     17   reasonable use of staff members at this extremely late

     18   juncture of the case.

     19        And my third reason for cause under Subsection (d) of this

     20   rule is we have had an active, a very active Creditors'

     21   Committee in this case with sophisticated members and

     22   sophisticated professionals who negotiated getting more

     23   information, I think more useful information than this rule

     24   even contemplates with the various form blanks.

     25        Now, obviously, I'm continuing this to September because,




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      1   if we don't have an effective date by early September, well,

      2   context matters, maybe that causes me to view this in a whole

      3   different light.    But that is the ruling of the Court.

      4        You know, I just want to say on behalf of the U.S.

      5   Trustee, I don't know if anyone's listening in, but it was an

      6   unfortunate use of words earlier, I think, saying, you know,

      7   secret deal with them.    And I use unfortunate words all the

      8   time.   I'm not being critical.    But I just want to defend

      9   their honor here.    Oh my goodness, they --

     10        (Phone ringing.)

     11             THE COURT:    -- exercise integrity in every case I see

     12   to the utmost degree, and I suspect they were satisfied that

     13   the Committee was getting so much access to the Debtor, with

     14   the sharing of the privilege and the protocols, that it just

     15   didn't seem necessary in the facts and circumstances of this

     16   case to require strict compliance with 2015.3.

     17        So I'm going to ask Mr. Pomerantz to upload a form of

     18   order reflective of my ruling.     And, again, if --

     19        Whose phone is ringing?    Is there something going on with

     20   our equipment?

     21             THE CLERK:    No.

     22             THE COURT:    I don't know where that phone ringing is

     23   coming from.

     24             THE CLERK:    I can hear it.

     25             THE COURT:    Okay.   So, you'll get a day from Ms.




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      1   Ellison in -- after labor day, and we'll see where we are.

      2   This will be a moot matter as far as I'm concerned if we've

      3   had an effective date at that point.

      4        (Continued phone ringing.)

      5              MR. POMERANTZ:    Your Honor, one clarification I would

      6   ask to have.   I don't think -- I think Your Honor intends that

      7   to be a status conference, so to save the Debtor from, you

      8   know, spending time in doing a pleading, and Mr. Draper as

      9   well, and Your Honor from reading them, I would say that there

     10   should be no pleadings filed in advance.      We will appear

     11   before Your Honor with a status conference.         And to the extent

     12   Your Honor determines there's further briefings or further

     13   issues that need to be decided, you could decide at that

     14   point.   But no further briefing.

     15              THE COURT:    Okay.   I think that is a fair request.

     16        (Ringing stops.)

     17              THE COURT:    And so that -- that is the way we'll set

     18   this up.   Status conference.     No further pleading.

     19              MR. DRAPER:    Your Honor?

     20              THE COURT:    All right?   Mr. Draper?

     21              MR. DRAPER:    Can I make a request, Your Honor?     Can I

     22   change -- can I make a comment about the Court's ruling?

     23   Because I want to be transparent about this.         And I think the

     24   Court's ruling, I would request that you shapeshift it a

     25   little bit.




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      1        If, in fact, you're going to take the position that if the

      2   plan goes effective, this issue -- this -- this motion is moot

      3   and will be denied, I think, quite frankly, why don't we enter

      4   that order now, rather than waiting.     Because that at least

      5   gives me the ability to address the issue.

      6        I don't think the rule has a waiver of it on the effective

      7   date.    Let's -- let's get the issue before the -- before

      8   everybody.   Because, again, as I said, if in fact your

      9   position is that if it goes effective I'm going to deny the

     10   relief and claim it's -- and assert it's moot in a ruling, I'm

     11   fine, let's get the ruling now.     Because -- because my

     12   position is that that waiver -- there is no basis for that

     13   waiver due to time.     The rule requires being filed through a

     14   point.

     15        And, look, again, that way I'm not wasting the Court's

     16   time.    We're not rearguing it.   If we're not having new

     17   pleadings, let's get it over with.

     18              MR. POMERANTZ:   Your Honor, I would reject that.

     19   It's pretty transparent what Mr. Draper wants.      He wants

     20   another appeal --

     21              THE COURT:   Uh-huh.

     22              MR. POMERANTZ:   -- because he wants to go to another

     23   court, and he's unhappy that Your Honor has essentially given

     24   an interlocutory order that he will be stuck with.

     25        So we have, I think, close to a dozen appeals.     We're




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       1   spending millions of dollars.     And I find -- I find Mr.

       2   Draper's request, quite honestly, offensive, that it would

       3   require us to -- a lot more time and money on an issue we

       4   shouldn't.   So, I would ask Your Honor to reject Mr. Draper's

       5   request.

       6              THE COURT:    All right.    I do --

       7              MR. DRAPER:    And again, my --

       8              THE COURT:    -- reject it.   That's exactly where my

       9   brain went, Mr. Draper.     This is an order continuing your

     10    motion.    Okay?   And we'll have a status conference in early

     11    September on your motion.

     12        And you know, again, I'm just letting you know my view it

     13    will be moot if the effective date has occurred, and then

     14    we'll get some sort of order to that effect issued at that

     15    time.   And then I guess you'll have your final order that you

     16    can appeal if you want at that point.

     17        The last thing I'm going to say is this.       Mr. Draper, as

     18    I'm sure you remember, at some point many weeks back -- I

     19    think it was in January, actually -- I ordered that Mr.

     20    Dondero should be on the WebEx, or if we're live in the court

     21    for a hearing, live in the court, any time there's a hearing

     22    where he, his lawyers, have taken a position, filed an

     23    objection or filed the motion himself.       If he and his lawyers

     24    are requesting relief or --

     25               MR. DONDERO:    I'm here.




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      1              THE COURT:    -- objecting to relief, that he has to be

      2   in the courtroom.

      3         I am now going to make the same requirement with regard to

      4   the trusts.    Any time the trusts file a pleading seeking

      5   relief, object to a pleading seeking relief, file any kind of

      6   position paper, I'm going to require a trust representative to

      7   be in court.

      8         Now, I don't know if that's the trustee, Nancy Dondero.        I

      9   don't know if that's Mr. Dondero's wife, a sister, who that

     10   is.   But it'll either be her or whoever the trustee is or Mr.

     11   Dondero as beneficiary.      But it has gotten to that point.

     12   Okay?   And --

     13              MR. DRAPER:    Your Honor?

     14              THE COURT:    And it's not -- it's not personal.     I

     15   have said this before.     I've done this in many cases.   If we

     16   have a party who feels so invested in what's going on that

     17   they're waging litigation, litigation, litigation, at some

     18   point very often I will make this order.     Like, okay, we're

     19   all spending a lot of time on what you want, so you need to

     20   show you're invested in it and be here with the rest of us.

     21   And, you know, potentially we're going to want testimony in

     22   certain contexts.    Okay?

     23         So I don't know who that human being is for the trusts,

     24   but I'm now to the point where I'm making that same order that

     25   I did with regard to Mr. Dondero personally.     All right?




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      1             MR. POMERANTZ:       Your Honor?

      2             THE COURT:    Yes?

      3             MR. POMERANTZ:    Your Honor, just to clarify, that's

      4   Mr. Dondero and the trustee.

      5        And I would also ask Your Honor, I know Mr. Dondero will

      6   say that he was on, and that's what Mr. Taylor is going to

      7   say, he was on audio.    I think, in order to have them actively

      8   participating, they should be on the video the entire hearing.

      9   Because if they're just on the phone on mute, Your Honor is

     10   not able to really tell if they are really listening.        So I

     11   would ask Your Honor to clarify to both Mr. Draper and Mr.

     12   Taylor that, for both the trustee and Mr. Dondero, they should

     13   be on video.

     14             THE COURT:    All right.

     15             MR. DRAPER:    Your Honor, Mr. Dondero is on.     You can

     16   see him down in the lower screen.

     17             THE COURT:    All right.    Just so you know, I mean, the

     18   screen I'm looking at is not quite the same screen you're

     19   looking at.    We have this Polycom.     And I show that there are,

     20   you know, thirty-something people, but I only see the people

     21   who have most recently talked.       Okay?   So, I see you, Mr.

     22   Draper.   I see Mr. Pomerantz.      I see Mr. Clemente.   A few

     23   minutes ago, I saw Mr. Morris.       But, you know, we've set it up

     24   where I'm not overwhelmed with blocks; I'm just seeing the

     25   people when they speak.




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      1              MR. POMERANTZ:    Your Honor, and those were the only

      2   four people whose videos were on during the entire hearing.

      3              THE COURT:    Oh, okay.

      4              MR. POMERANTZ:    So I hope Mr. Draper is not going to

      5   say that Mr. Dondero was on video, because he was not.

      6              THE COURT:    Okay.

      7              MR. DRAPER:    No, you can see -- Mr. Pomerantz, what I

      8   said is you can see him on the screen here.       You can see that

      9   he has dialed in.    I don't see him jumping up and down or his

     10   person.

     11              THE COURT:    Oh, okay.

     12              MR. DRAPER:    But it is clear that somebody dialed in

     13   on his behalf.

     14              MR. POMERANTZ:   Well, --

     15              MR. DRAPER:    Or he dialed in.    He is -- he is

     16   present.

     17              MR. POMERANTZ:    Exactly.   That's my point, Your

     18   Honor, that someone may have dialed in on his behalf.          And I

     19   think Mr. Dondero, for them to have active, meaningful

     20   participation, because I think that's what Your Honor is

     21   getting at, that they should be here, engaged.        And if we were

     22   in court like we were the other day, Mr. Dondero would have

     23   had to sit in Your Honor's courtroom.        And if he is going to

     24   take up the time of Your Honor and all the parties, he and the

     25   trustee should be really engaged, which you cannot be if




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      1   you're only on the phone.

      2               THE COURT:    Okay.   All right.   Well, --

      3               MR. DRAPER:    Your Honor?

      4               THE COURT:    Go ahead, Mr. Draper.

      5               MR. DRAPER:    Mr. Dondero just talked a few moments

      6   ago, so Mr. Pomerantz heard him.         This is -- this is truly

      7   unwarranted.    He's appeared, he's here, and he's made a

      8   comment to the Court.       So, again, we are invested.      He was

      9   present at this hearing.       He heard the hearing.      And so, you

     10   know, I just don't know where this is coming from.           I

     11   understand he missed a hearing before, but he is here for this

     12   one.

     13               THE COURT:    Okay.   Well, I'm not going to get bogged

     14   down in this issue.       I am going to issue an order, though,

     15   that is going to be reflective of what I said, and we'll just

     16   -- we'll make sure we have him check in or whoever the

     17   representative is of the trusts in future hearings and turn

     18   the video on and we'll make sure.

     19          Again, this is -- I used the word frustrated the other

     20   day.    I'm very frustrated.      This is just -- this is -- it's

     21   out of control.    Okay?    I ordered mediation earlier in this

     22   case.    I believed that an earnest effort was put in.           But if

     23   we're not going to have settlement of issues, you know, I'll

     24   address these issues, but everyone who files a pleading,

     25   whether it's Mr. Dondero personally or the trusts, the family




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       1   trusts, and, of course, we're going to get -- I'm going to go

       2   the same direction, actually, with all these other entities.

       3   You know, it's -- I've gotten to where I had my law clerk the

       4   other day prepare me basically what was like a program from a

       5   sports event, you know, who represents which entities, because

       6   it's gotten overwhelming.    And --

       7             MR. POMERANTZ:    Your --

       8             THE COURT:   And I mentioned the other day, I'm very

       9   close to requiring some sort of disclosures about the

     10    ownership of each of these entities, because I -- you know,

     11    the standing is just so tenuous, so tenuous with regard to

     12    certain of these entities.    And I've erred on the side of

     13    being conservative and, you know, okay, we maybe have

     14    prudential standing, constitutional standing, even if it's

     15    kind of hard finding statutory standing under the Bankruptcy

     16    Code.   But it's gotten to the point where it's just costing

     17    too much time and expense for me to not press some of these

     18    issues and hold people accountable.

     19        So, Mr. Pomerantz, were you about to say something?       I

     20    know that we had talked at another hearing about the Court

     21    maybe requiring some sort of disclosures for me to really

     22    understand party in interest status maybe better than I do.

     23              MR. POMERANTZ:    That, Your Honor, was where I was

     24    going to go before Your Honor made the comment.     Your Honor

     25    made that comment a few weeks ago.    I think, since then, quite




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       1   honestly, nothing really has changed.      And I think it would be

       2   helpful -- it would be helpful for the Debtor, and more

       3   importantly, I think it would be helpful to the Court to have

       4   a list that you can refer to every time we are in a hearing of

       5   every entity that has appeared that Mr. Dondero has a

       6   relationship with, who the lawyers are, what the claims they

       7   filed, what the status of the claims they filed, and maybe

       8   even what litigation they are in pending with the Debtor.

       9       We're happy with -- part of it we could prepare.      But I

     10    would think Your Honor should order that from Mr. Dondero's

     11    related entities, because it might cut through a lot of it,

     12    and give Your Honor the information Your Honor needs and the

     13    context and perspective as you're hearing a lot of these

     14    motions.

     15               THE COURT:    All right.   Well, is there anything else

     16    before we move on to the other matter?      I'm about to close the

     17    loop on this by saying I am --

     18               MR. TAYLOR:    Your Honor?   Your Honor?

     19               THE COURT:    Who is that speaking?

     20               MR. TAYLOR:    This is Clay -- this is Clay Taylor,

     21    Your Honor, --

     22               THE COURT:    All right.

     23               MR. TAYLOR:    -- representing Jim Dondero

     24    individually.

     25               THE COURT:    Okay.




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      1              MR. TAYLOR:    And I just wanted to be heard.   I've

      2   just listened in, even though Mr. Dondero was not the movant,

      3   because sometimes issues like this do come up where his name

      4   is thrown about.

      5        First of all, Jim Dondero was indeed, as Mr. Draper said,

      6   was indeed present.      He did indeed try to speak.   I kind of

      7   overrode him.    And because, you know, he needs to speak

      8   through his lawyer most of the time and shouldn't address the

      9   Court directly.    But I wanted to let you know that Mr. Dondero

     10   was indeed on the line, was actively listening, and was

     11   participating.

     12        As far as additional disclosures, it would be, I would

     13   just note, somewhat ironic if the Court denies the motion for

     14   what appears to be mandatory disclosures under Rule 2015.3 but

     15   then imposes additional disclosure requirements on somebody --

     16   on another party, without any rule stating that there is such

     17   disclosures.    It just -- it strikes me as ironic, and I would

     18   like Your Honor to consider that, at least, as Your Honor

     19   says, context matters.

     20        You know, that's the context in which this arises.      And we

     21   would just ask Your Honor to reflect upon that before she

     22   imposes additional duties upon my client.

     23        But there is -- and the Debtor has asked for the response

     24   to be taken as a motion for leave to not comply with a rule,

     25   but yet Mr. Seery is not here.     The UCC regularly




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      1   participates.   Its members are not here.     And so I just, to

      2   the extent Your Honor is going to impose duties upon certain

      3   parties, then what's good for the goose is good for the

      4   gander, Your Honor.

      5              THE COURT:   All right.

      6              MR. POMERANTZ:    Your Honor, I would point out that

      7   Mr. --

      8              THE COURT:   I respect your argument.    I always

      9   respect your arguments, Mr. Taylor.

     10        By the way, you aren't wearing a jacket.      You know, next

     11   time you need to wear a jacket.      And forgive me if I seem

     12   nagging, but I'm letting you all know, if you all are soon

     13   going to be having lots of litigation in the District Court, I

     14   promise you the district judges are way more formal than me

     15   and sticklers for every rule.      You'll also be doing everything

     16   live in the courtroom, too.      I'm just letting you know that.

     17        But while I respect your argument, apples and oranges.          I

     18   mean, the 2015.3 rule, not only is it not -- not -- I wouldn't

     19   say mandatory, since the Court has discretion for cause to

     20   waive the requirement.      But it's a very onerous set of forms

     21   that would have to be filled out for 150 entities by 12 staff

     22   members.   I don't really consider that the same as the

     23   disclosure that I'm now going to require.

     24        But my law clerk and I will -- we'll craft a form of order

     25   that will be specific as far as what I'm going to require.




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      1        And, again, I think it's way beyond the point of this

      2   being necessary.   And just so -- again, I'm wanting to explain

      3   this thoroughly.   You know, standing -- for the nonlawyers; I

      4   don't know how many nonlawyers are on the phone, WebEx -- it's

      5   a subject matter jurisdiction thing.     Okay?   And, you know, if

      6   there's a dispute and someone involved in a dispute

      7   technically doesn't have standing, that means the Court didn't

      8   have subject matter jurisdiction to be adjudicating it.        Okay?

      9   That's first year law school concept.

     10        And it's been mentioned we have lots and lots of appeals,

     11   and I can promise you, if you've never been through the

     12   appellate process, that's the very first thing they'll look at

     13   -- you know, District Court, Fifth Circuit, any Court of

     14   Appeals -- because they have an overwhelming docket.      And if

     15   there's a reason to push out this appeal before then because

     16   of lack of subject matter jurisdiction, which would include

     17   lack of standing, of course they are going to quickly get it

     18   off their plates because they have other things to get to,

     19   like criminal matters that are, you know, their top priority

     20   because of the Constitution.

     21        So this has been an evolving thing with me.     At some

     22   point, I feel like the Courts of Appeals that are involved

     23   with all of these appeals, they might be really, really

     24   zeroing in on the standing of parties more than perhaps even I

     25   have.   So I want to do my job and I want it clear on the




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       1   record, this is why this person has standing or doesn't have

       2   standing.    Okay?    I just feel like we've gotten to that point.

       3   And so we'll issue an order in that regard, and it will, I

       4   promise you, be crystal clear.

       5       Anything else?

       6               MR. POMERANTZ:    Your Honor, one last point.    Mr.

       7   Taylor insinuated that the board is not present here, which is

       8   incorrect.    A member or two members or three members of the

       9   board have been present at every hearing before Your Honor.

     10    And that's without an order requiring them to do so, because

     11    they are -- they are interested, they are engaged.         Mr. Dubel

     12    is on the phone.      He has been on the phone.     I think this may

     13    have been only the second hearing that Mr. Seery has missed,

     14    felt it wasn't necessary to take him away from his running the

     15    company.    So the Debtor has been, through its board members,

     16    fully engaged, and I just wanted Your Honor to know that, that

     17    we would never have a hearing before Your Honor without at

     18    least one member of the independent board listening in and

     19    participating as necessary.

     20                THE COURT:    All right.   Thank you.

     21        All right.       Well, let's move on to the other contested

     22    matters, or adversary proceeding matters, I should say.        And

     23    they're Adversary 21-3006 and 21-3007.       We have Motions for

     24    Leave to Amend Answers.      And do we have Ms. Drawhorn appearing

     25    for that motion or those motions?




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      1                MS. DRAWHORN:    Yes, Your Honor.   Lauren Drawhorn with

      2   Wick Phillips on behalf of Highland Capital Management

      3   Services, Inc. and NexPoint Real Estate Partners, LLP,

      4   formerly known as HCRE Partners, LLC.

      5                THE COURT:    All right.   And who will be making the

      6   argument for the Debtor on this one?

      7                MR. MORRIS:    John Morris, Your Honor; Pachulski Stang

      8   Ziehl & Jones; for the Debtor.

      9                THE COURT:    All right.   Are there any other

     10   appearances on this?

     11        Okay.    Ms. Drawhorn?

     12                MS. DRAWHORN:    Yes, Your Honor.   We are -- so, my

     13   clients are seeking leave to amend the answer to add two

     14   affirmative defenses.        As you know, under Rule 15(a), there is

     15   a bias towards granting leave, and leave should be freely

     16   granted unless there's a substantial reason to deny it.

     17        The main factors that are considered in determining

     18   whether there is a substantial reason to deny a motion for

     19   leave to amend are prejudice, bad faith, and futility.

     20        Here, there is no prejudice to the Plaintiff.       Under the

     21   case law, if the -- as long as a proposed amendment is not

     22   presented on the eve of trial, continuing deadlines or

     23   reopening discovery does not constitute sufficient prejudice

     24   to deny leave.

     25        Here, discovery does not close until July 5th for Highland




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       1   Capital Management Services, and it does not close until July

       2   26th for NexPoint Real Estate Partners.

       3       The Plaintiff has not -- neither party has taken any

       4   depositions in this case.   And we are open and willing to

       5   extend the discovery deadlines if necessary.     We think that

       6   discovery can be extended as necessary without extending any

       7   dispositive motion deadline or the docket call which are set

       8   in August.   Dispositive motions are August 16th for Highland

       9   Capital Management and September 6th for NexPoint Real Estate

     10    Partners, with docket call in those cases being October and

     11    November.

     12        So there's significant time.    If the -- if the party just

     13    wants to conduct additional written discovery, I think that

     14    that -- they would be easily be able to do that.

     15        We're also open to continuing all the deadlines in this

     16    case, and practically speaking, those -- the deadlines may be

     17    continued depending on what happens with the pending motion to

     18    withdraw the reference and the motion to stay.

     19        So we don't think -- we don't see any reason why our

     20    amended additional affirmative defenses will result in any

     21    prejudice to the Plaintiff, and don't see that as a reason --

     22    a substantial reason to deny the motion for leave.

     23        There is no bad faith here.    The motion for leave was

     24    filed two months after our original answer.    Again, this is

     25    not a situation where we're trying to add a new defense on the




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      1   eve of trial.    We're not even waiting until after discovery is

      2   closed to try and add this new defense.     And it's not after

      3   one of our prior defenses failed.     Instead, we've been

      4   conducting additional investigations, preparing for written

      5   discovery.   And as set forth in more detail in the Sauter

      6   declaration that was filed yesterday, we discovered these

      7   additional defenses through that additional investigation.

      8        So there's certainly no bad faith here in adding these two

      9   defenses.    We are just trying to make sure that we can prove

     10   up our defenses and prove up our case on the merits, as we

     11   need to.

     12        And then the last factor, the new affirmative defenses

     13   we're seeking to add, they're not futile.     I cited some cases

     14   in the pleadings.    There are some judges in the Northern

     15   District of Texas that refrain from even evaluating futility

     16   at this stage, at a motion for leave to amend stage,

     17   preferring to address those on a motion for summary judgment

     18   situation.   But even when it is considered, futility looks

     19   more at is there a statute of limitations that prevents the

     20   claim from being successful, or does the court lack subject

     21   matter on its face, based on this defense?     And that's not the

     22   case here.

     23        The Debtor -- the Plaintiff tries to argue on the merits

     24   of our affirmative defenses, and a motion for leave to amend

     25   is not a basis for that.    This isn't a motion for summary




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      1   judgment.    This is just -- just a motion for leave to add

      2   these defense, and they can certainly address the merits later

      3   on in the case.

      4        So we think we provided sufficient notice in our proposed

      5   amendment.    I mean, our proposed amended answer.    To the

      6   extent we need to add any specifics, we are certainly open to.

      7   We've noted them in our reply.    The ambiguity is -- is to the

      8   notes as a whole.    We noted the Highland Capital Management,

      9   there's two notes that are signed by Frank Waterhouse without

     10   indication of corporate capacity, which creates some

     11   ambiguity.    The notes reference other related agreements,

     12   which create some ambiguity.    So we think there's sufficient

     13   pleading of these new defenses to support leave to amend and

     14   address those on the merits.

     15        And then the condition subsequent defenses, while we --

     16   the schedules and the SOFAs, the notes related to that

     17   reference that some loans between parties and related -- to

     18   affiliates and related entities may not be enforceable, we

     19   think that supports our position and this defense here, now

     20   that we've furthered our investigation and heard about this

     21   additional subsequent agreement that supports the condition

     22   subsequent.

     23        And the opposition, the Plaintiff's opposition notes that

     24   there has been some discovery on this defense.       It's similar

     25   to one that's asserted in a related note adversary.      And




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       1   while, again, they try to assert the merits and the

       2   credibility of certain testimony, that's -- that's a decision,

       3   credibility of a witness is a decision for a fact finder and

       4   not for this stage of the proceedings and not for a motion for

       5   leave to amend.

       6       So we don't believe there's a substantial reason to deny

       7   leave.   Again, under Rule 15, leave should be granted freely.

       8   And so we would request that the Court grant our motion for

       9   leave to amend so that we can have our amended answer and

     10    affirmative defenses in this case.

     11               THE COURT:    All right.   Well, Mr. Morris, you know,

     12    the law is not too much in your favor on this one.      So what do

     13    you have to say?

     14               MR. MORRIS:    I have to say a few things first, Your

     15    Honor.   The notes are one of the most significant assets of

     16    the estate.   As the Court will recall at the confirmation

     17    hearing, Mr. Dondero and all of his affiliated entities

     18    objected to confirmation on the ground -- challenging, among

     19    other things, both the liquidation analysis as well as the

     20    projections on feasibility going forward.

     21        One of the assumptions in those projections and in the

     22    liquidation analysis was indeed the collection of these notes

     23    in 2021.   They all sat on their hands, attacked the

     24    projections, attacked the liquidation analysis, but never on

     25    the grounds that the notes wouldn't be collectable in 2001




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      1   [sic], never informing the Court that there was some agreement

      2   by which collection would be called into question, never ever

      3   disclosing to anybody that the plan might not be feasible or

      4   the liquidation analysis might not be accurate because these

      5   notes were uncollectable.

      6        So what happened after that, Your Honor?     We commenced

      7   these actions.   Actually, before the hearing.    We actually

      8   commenced these actions before the confirmation hearing, when

      9   they sat silently on this.

     10        And Mr. Dondero's first answer, because this is all very

     11   important because they say that they're -- they're

     12   piggybacking on Mr. Dondero.    Mr. Dondero's first answer to

     13   the complaint said, I don't have to pay because there is an

     14   agreement by which the Debtor said they would not collect.

     15   It's in the record.    It's attached to my declaration.    And

     16   that was it.   Full stop.   I don't have to pay because the

     17   Debtor agreed that I would not have to collect.

     18        So we served a request for admission.     Admit that you

     19   didn't pay taxes.    He realized, okay, that defense doesn't

     20   work, so he changes it completely and he amends his answer.

     21   Now the amended answer says, I don't -- the Debtor agreed that

     22   I wouldn't have to pay based on conditions subsequent.

     23        And we said, what are those conditions subsequent?      Please

     24   tell us in an interrogatory response.     And under oath, Mr.

     25   Dondero said, I don't have to pay if the Debtor sells their




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      1   assets in the future.    At a favorable price, I think it says.

      2   Again, this is in the record.    And we asked him under oath,

      3   who made that agreement on behalf of the Debtor?      And he said,

      4   I did.

      5          And Your Honor will recall that we had a hearing on that

      6   very defense, on the motion to compel, where they said Mr.

      7   Seery has to come in and testify to the defense that Mr.

      8   Dondero made this agreement with himself.       And then the

      9   following week, on a Tuesday, we had the hearing on the motion

     10   to withdraw the reference, and Your Honor said finish

     11   discovery, because we told you discovery was going to be

     12   concluded on Friday with Mr. Dondero's deposition.      You know

     13   what they did, Your Honor?    The night before the hearing, they

     14   amended Mr. Dondero's interrogatory.     Again, these are sworn

     15   statements.    They amended it again to say he didn't enter the

     16   agreement on behalf of the Debtor; Nancy Dondero, his sister,

     17   did.

     18          And then I took his deposition.   And we're going to get to

     19   that in a moment, because I'm going to put it up on the screen

     20   so you can see these answers, Your Honor.     And I say this by

     21   way of background because it goes to both good faith -- or,

     22   actually, bad faith -- as well as the lack of a bona fide

     23   affirmative defense here.

     24          This is -- there are five notes litigation.    One against

     25   Mr. Dondero.    So that's package number one.    And they're




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       1   represented by the Stinson firm, who is signing all of these

       2   things.   The Stinson firm is out there claiming that in good

       3   faith each of these -- each of these amendments, each of these

       4   amendments to the interrogatories, are in good faith.      They're

       5   not in good faith, Your Honor.    They're just not.

       6       And the Bonds firm.

       7       Then bucket two is what we have here today.       That's HCRE

       8   and Highland Capital Management Services.    They're represented

       9   by Ms. Drawhorn.    I think the Stinson firm has now also

     10    entered an appearance in those two adversary proceedings.

     11        And the other two are against the two Advisors.      More

     12    entities controlled by Dondero.    And Mr. Rukavina, I believe,

     13    last night filed his motion to amend to add these same

     14    defenses.

     15        Okay?   Is this good faith?   I don't think this is good

     16    faith.

     17        Let's look at Mr. Dondero's testimony so that the Court

     18    has an understanding of what we're talking about here.      I

     19    think I have Ms. Canty on the phone, and I'd ask her to go to

     20    Page 178.   3.   Just going to read (garbled) so you can see.

     21    This was Mr. Dondero's testimony the day after telling me that

     22    he amended his interrogatory -- sworn interrogatory answer to

     23    say that he didn't enter the agreement on behalf of the Debtor

     24    but Ms. -- but Ms. Dondero, his sister, did.

     25        Question.    Are we -- 178, please.




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       1             MS. DRAWHORN:    Your Honor, I would --

       2             MR. MORRIS:     Question.   Please --

       3             MS. DRAWHORN:    This is not testimony in this

       4   adversary and I was not -- my clients were not present at this

       5   deposition that Mr. Morris is referring to, so I --

       6             MR. MORRIS:     Your Honor, with all due respect, she's

       7   interrupting me, and I would ask her to allow me to finish my

       8   presentation and then she can make whatever comments she

       9   wants.   Because -- because --

     10              MS. DRAWHORN:    Well, I'm objecting to this testimony

     11    --

     12              THE COURT:    Okay.

     13              MS. DRAWHORN:    -- coming into evidence.

     14              THE COURT:    Okay.   So your objection is -- if you

     15    could just articulate your objection for the record, please,

     16    Ms. Drawhorn.

     17              MS. DRAWHORN:    I would object to this -- this

     18    deposition is not in this proceeding, this adversary

     19    proceeding, either of these two the adversary proceedings, and

     20    my client was not present at this deposition, so I would

     21    object to it as hearsay.

     22              THE COURT:    Response?

     23              MR. MORRIS:     Your Honor, if I may, I think this --

     24    this points to just one of the fundamental problems that we

     25    have here.   As we pointed out in our objection, the Debtor, as




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       1   we sit here right now, still has no notice of the facts and

       2   circumstances surrounding this alleged agreement.                We still

       3   don't know who entered into the agreement on behalf of the

       4   Debtor.   We don't know what the terms of the agreement were.

       5   We don't know when the agreement was entered into.               We don't

       6   -- right?

       7       If they're going to assert that there's an agreement --

       8   and they seem to be piggybacking on this conversation between

       9   Mr. Dondero and his sister.          If there's a different one, they

     10    need to say that right now.          They need to put their cards on

     11    the table and they need to inform the Debtor who entered the

     12    agreement on behalf of the Debtor pursuant to which the Debtor

     13    agreed to waive millions and millions of dollars without

     14    telling anybody.

     15                THE COURT:    Okay.      I overrule the objection.       We can

     16    go through the transcript.

     17                MR. MORRIS:      So, I'm just going to use part of it,

     18    Your Honor.       But on Lines 3 to 7:

     19        "Q      Did    anybody    else     participate   --    did     anybody

     20        participate in any of the conversations other than you

     21        and your sister?

     22        "A      I   don't   believe   it    was   necessary.     It     didn't

     23        include anybody else."

     24        Go down to Line 19, please.

     25        "Q      Was the agreement subject to any negotiation?              Did




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       1       she make any kind of -- any counterproposal of any

       2       kind?

       3       "A      No."

       4       Page 179, Line 2.

       5       "Q      Do you know if she sought any independent advice

       6       before     entering    into        the   agreement      that    you   have

       7       described?

       8       "A      I don't know."

       9       Line 23, please.

     10        "Q      Do you know if there were any resolutions that

     11        were    adopted   by   Highland          to   reflect    the    agreement

     12        that's referred to in the -- in the answer?

     13        "A      Resolutions that -- no.           Not that I'm aware of."

     14        Page 180, Line 5.

     15        "Q      Did you give Nancy a copy of the promissory notes

     16        that were a subject of the agreement?

     17        "A      No."

     18        Continue.

     19        "Q      Did she ask to see any documents before entering

     20        into the agreement that's referred to?

     21        "A      I don't remember."

     22        Page 181, Line 19.

     23        "Q      Under the agreement that you reached with Nancy

     24        that's     referred    to     in     Paragraph    40,     was    it   your

     25        understanding that Highland surrendered its right to




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      1        make    a    demand    for   payment   of    unpaid   principal    and

      2        interest under the notes?

      3        "A     Essentially, I think so."

      4        Page 219.      I'll just summarize 219, Your Honor.          Mr.

      5   Dondero has no recollection of telling Mr. Waterhouse, the

      6   chief financial officer, or any other employee of Highland

      7   that he'd entered into this agreement with his sister pursuant

      8   to which the Debtor agreed to not collect almost $10 million

      9   of principal and interest.

     10        Now let's -- let's go -- I think it's really -- because it

     11   took me an awfully long time to get there.             On Page 214 at

     12   Lines 16 through 24.        This is what the agreement was, because

     13   this is -- this is -- this is his third try to describe the

     14   agreement.       Right?    The first time -- it's just his third try,

     15   and this is what the agreement is, Your Honor.

     16        "Q     Did you and Nancy agree in January or February

     17        2019 that if Highland sold either MGM or Cornerstone or

     18        Trussway for an amount that was equal to at least one

     19        dollar more than cost, that Highland would forgive your

     20        obligations under the three notes?

     21        "A     I believe that is correct."

     22        That's -- that's the agreement.             It took him three times

     23   to get there, but look at -- look at that.             He and his sister

     24   did that.

     25        And I do want to point out, Your Honor, that in their




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       1   opposition that they filed last night, the Defendants claim

       2   that Ms. Dondero was authorized because she was -- she was the

       3   trustee of Dugaboy and Dugaboy holds the majority of the

       4   limited partnership interests in the Debtor and therefore she

       5   had the authority to enter into the agreement on behalf of the

       6   Debtor.

       7       There is that flippant -- there is just that unsupported

       8   statement out there.   Section 4.2(b) of the limited

       9   partnership agreement says, and I quote, "No limited partner

     10    shall take part in the control of the partnership's business,

     11    transact any business in the partnership's name, or have the

     12    power to sign documents for or otherwise bind the partnership,

     13    other than as specifically set forth in the agreement."

     14        So I look forward to hearing what basis there was to

     15    submit a document to this Court that Nancy Dondero had the

     16    authority to bind the Debtor in an agreement with her brother

     17    pursuant to which tens of millions of dollars was apparently

     18    forgiven.

     19        Can we go to Page 238?    This is the last piece, Your

     20    Honor.    The Debtor's outside auditors were

     21    PricewaterhouseCoopers.   There's management representation

     22    letters signed by both Mr. Dondero and Mr. Waterhouse

     23    attesting that they had given their auditors all of the

     24    information necessary to conduct the audit.    We will get to

     25    that in due course, but these are very important questions




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      1   right here.

      2        What page are we on?          Is it 238?    Okay.    So, Line 16, I

      3   believe.

      4        "Q    You knew at the time -- you knew at the time the

      5        audited     financials      were   finalized   that    Highland   was

      6        carrying on its balance sheet notes and other amounts

      7        due from affiliates?

      8        "A    Yep."

      9        And if we could just keep going, Your Honor, you will see:

     10        "Q    Did      you          personally      tell       anybody       at

     11        PricewaterhouseCoopers             in     connection     with     the

     12        preparation    of     the    audited     financial   statements   for

     13        2018 that you and your sister had entered into the

     14        agreement with your sister Nancy in January or February

     15        of 2019?

     16        "A    Not that I recall."

     17        There's a lot more here, Your Honor.            I'm really just

     18   touching the surface.       I am going to take Nancy's deposition

     19   later this month.     But there is -- this is wrong.            This is

     20   just all so wrong.        For three different reasons.         At least.

     21   This is not a viable defense and will never be a viable

     22   defense.

     23        The audited financial statements carry these loans as

     24   assets on the books, without qualification, and they were

     25   subject to Mr. Dondero and Mr. Waterhouse's representations.




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       1       There is partial performance.    These entities that we're

       2   talking about today, they made payments on these notes.     How

       3   do you make payments on the notes and then come to this Court

       4   and say the notes are ambiguous?    How do you -- how do you

       5   make payments on the notes and come to this Court and tell

       6   this Court, I just learned that there was an agreement by

       7   which I don't have to pay, subject to conditions precedent in

       8   the future.

       9       Mr. Sauter submits a declaration in support of this

     10    motion.   He has no personal knowledge.   He states in Paragraph

     11    14 that his review of the Defendants' books and records did

     12    not reveal any background facts regarding the notes.     Mr.

     13    Dondero is the maker on all of the notes except for two of

     14    them.   Mr. Dondero owns and controls the Defendants.    Mr.

     15    Dondero was not employed or otherwise affiliated with the

     16    Debtor after these actions were commenced.    Mr. Sauter takes

     17    Mr. Seery to task for telling the Debtor's employees not to

     18    take actions that were adverse, and he uses that as his excuse

     19    for not knowing these facts.   He is the general counsel.      He

     20    was served with a complaint that alleged that his clients were

     21    liable for millions and millions of dollars.     His boss is

     22    James Dondero.   He had unfettered access to James Dondero.

     23    Mr. Dondero is the one who signed the notes, except for two of

     24    them.   There is absolutely no excuse for not doing the

     25    diligence to find out from Mr. Dondero that this defense




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      1   existed.

      2        And you know why it didn't happen?     Because the defense is

      3   not real.   It is completely fabricated.    It continues to

      4   change and evolve every single time I -- every single time I

      5   talk about these note cases, it's a new defense, it's a

      6   different defense, the contours change, somebody else is

      7   involved.   This is an abuse of process, Your Honor.     It is bad

      8   faith.   It just really is.   And somebody's got to start to

      9   take responsibility and say, I won't do this.     I won't do

     10   this.

     11        Somebody's got to stand up and say that, because, I'm

     12   telling you, it's not enough, Your Honor, that the Debtor is

     13   going to collect all of its fees under the notes at the end of

     14   this process.   It's not enough,    because we're now giving an

     15   interest-free loan.    These are -- these are notes that are

     16   part of the Debtor's plan that nobody objected to, that nobody

     17   suggested were the subject of some condition subsequent.

     18        This is not your normal, you know, gee, I'd like leave to

     19   amend the complaint.    They're simply following what Mr.

     20   Dondero did.    And I would really ask the Court to press the

     21   Defendants to identify specifically who made the agreement on

     22   behalf of the Debtors, when was the agreement made, is there

     23   any document that they know of today that reflects this

     24   agreement, and what were the terms of the agreement?      Is it

     25   really that he would sell -- if he sells MGM for a dollar over




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       1   cost, $70 million of notes get forgiven?       How is that

       2   possible?    How is that possible?      It doesn't pass the good

       3   faith test.    The Court should deny the motion.

       4        Thank you, Your Honor.

       5               THE COURT:    Mr. Morris, in all of your listing of

       6   allegedly problematic things, one trail my brain was going

       7   down is this:    Is this adversary going to morph even further

       8   to add fraudulent transfer allegations?       I mean, if notes --

       9               MR. MORRIS:    Here's the --

     10                THE COURT:    -- were forgiven or agreements were made

     11    --

     12                MR. MORRIS:    Yeah, I --

     13                THE COURT:    -- that they would be forgiven if, you

     14    know, assets are sold at a dollar more than cost, is the

     15    Debtor going to say, well, okay, if this is an agreement,

     16    there was a fraudulent transfer?

     17                MR. MORRIS:    Your Honor, that is an excellent

     18    question, one which I was discussing with my partners just

     19    this morning.    You know, we have to -- we're balancing a

     20    number of things on our side, including the delay that that

     21    might entail; including, you know, what happens if we go down

     22    that path.    You know, the benefit of suing under the notes, of

     23    course, is that he's contractually obligated to pay all of our

     24    fees.

     25         And so we're balancing all of those things as these -- as




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      1   these defenses metastasize.    But it's something that we're

      2   considering, and we reserve the right to do exactly that, as

      3   these defenses continue to get -- and it would be fraudulent

      4   transfer, it would be breach of fiduciary duty against Nancy

      5   Dondero, it would be breach of fiduciary duty against Jim

      6   Dondero.   I'm sure that there are other claims, Your Honor.

      7   But if they want to -- if I'm forced to go down that path, I'm

      8   certainly going to use every tool that I have available to

      9   recover these amounts from the -- for the Debtor and their

     10   creditors.   This is just an abuse of process.

     11        How do you -- how does one enter into agreements of this

     12   type without telling your CFO, without telling your auditors,

     13   without putting it in writing?     And I asked Mr. Dondero, what

     14   benefit did the Debtor get from all of this?     And you know

     15   what his answer was, Your Honor?     Because it's really -- it's

     16   appalling.   It was going to give him heightened focus on

     17   getting the job done because of this agreement that he entered

     18   into with his sister, Nancy, acting on behalf of the Debtor,

     19   with no information, with no documents, with no notes, with no

     20   advice, with no corporate resolutions.     The Debtor was going

     21   to get Mr. Dondero's heightened focus to sell MGM, Trussway,

     22   or Cornerstone for one dollar above cost.

     23        I think the fraudulent transfer claim is probably a pretty

     24   solid one.   But why do we have to do this?    Why do we have to

     25   do this?




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      1             THE COURT:   Well, one of the reasons I'm asking is I

      2   would not set the motion to withdraw the reference status

      3   conference on an expedited basis, which I was asked to do a

      4   few days ago in these two adversary proceedings, and I can't

      5   remember when I've set it, but now I'm even worried, if I

      6   grant this motion, is it going to be premature to have that

      7   status conference in a month or so, whenever I've set it,

      8   because if I grant this motion I'm wondering, am I going to

      9   have your motion to amend to add fraudulent transfer claims?

     10   It's -- you know, I want to give as complete a package to the

     11   District Court as I can whenever I have that motion to

     12   withdraw the reference.

     13        All right.   Ms. Drawhorn, back to you.    As I said --

     14             MS. DRAWHORN:   Yes.

     15             THE COURT:   -- before inviting Mr. Morris to make his

     16   argument, I know the law is very much on your clients' favor

     17   as far as the law construing Rule 15(a).     But my goodness, I'm

     18   wondering if your client needs -- your client needs to be

     19   careful what they're asking for here, after what I've just

     20   heard.

     21        Anyway, what -- you get the last word on this.

     22             MS. DRAWHORN:   Yes.   Thank you, Your Honor.   My

     23   response is that Mr. Morris's argument was all on the merits

     24   of the defenses, and certainly he is free to argue on the

     25   merits, but that's not a determination for today and that's




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      1   not a determination for the motion for leave to amend.      That's

      2   a determination for if he files a dispositive motion.

      3        Like I said, we are still in the discovery phase.      Mr.

      4   Morris mentioned at least three parties that will be -- likely

      5   be deposed and potentially give us the additional information

      6   that he's asking for to support this defense.     He mentioned

      7   PricewaterhouseCoopers; Nancy Dondero, who he's already got

      8   scheduled in a different adversary; Frank Waterhouse.

      9        So it's too early, as you know, to look at the merits.

     10   That's not -- that's not what's the focus of a motion for

     11   leave to amend.

     12        As to the -- the what amendment, what agreement, what are

     13   the conditions subsequent, I believe we provided sufficient

     14   information in our reply.    And if the Court would like us to

     15   update our proposed amended answer, if the Court is inclined

     16   to grant our motion, we can certainly do that.      But I think

     17   the Plaintiff seems to be well aware of what the defenses are,

     18   especially after his argument today on why he thinks it's not

     19   a valid defense.

     20        And then, on the due diligence, we did -- we did do due

     21   diligence.   That's why we're seeking to amend the answer,

     22   obviously, and add these claims.

     23        If the Court -- if the Plaintiff wants to file a motion to

     24   amend later, then we can address those amendments then.

     25        But I think, on the Rule 15 standard, we have met our




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       1   burden and there's no substantial reason to deny the motion to

       2   amend to add these defenses.

       3               THE COURT:   All right.   By the way, have your

       4   clients, have they filed proofs of claim?      And I'm asking for

       5   a different reason than maybe I was asking earlier.      NexPoint

       6   Real Estate Partners?

       7               MS. DRAWHORN:   They're -- NexPoint Real Estate

       8   Partners, LLC, formerly known as HCRE Partners, does have a

       9   proof of claim on file.     It's unrelated to the notes.      And it

     10    is subject to a contested matter that's pending -- that's a

     11    separate matter that's before the Court being addressed.

     12           And then HCMS initially filed a proof of claim that was

     13    objected to in the Debtor's first omnibus objection and then

     14    was disallowed.    There was no response to that omnibus

     15    objection, so there's no longer a proof of claim for Highland

     16    Capital Management Services.

     17                THE COURT:   Okay.   Again, I'm just thinking ahead to

     18    this report and recommendation I'm eventually going to have to

     19    make on the motions to withdraw the reference.       And as I

     20    alluded to, if this morphs to the point of including

     21    fraudulent transfer claims, that certainly --

     22                MS. DRAWHORN:   And Your Honor, one --

     23                THE COURT:   It's going to affect the report and

     24    recommendation.    And, you know, proofs of claim affect that,

     25    too.    So, --




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       1             MS. DRAWHORN:   Uh-huh.    Yes.    And I understand that,

       2   Your Honor.   And the issue, I think, with you -- we need to

       3   have this motion resolved, because it -- unless the Court is

       4   going to continue discovery or stay.        You know, one of the

       5   reasons why we had initially requested the expedited hearing

       6   was because of the discovery is continued -- continuing to --

       7   discovery deadlines are continuing to move.       And obviously

       8   whatever the Court decides on this motion for leave to amend

       9   will determine what the scope of that discovery is.

     10        Similarly, if the Debtor decides to amend, that could

     11    change the scope of discovery as well.

     12        So we are open to continuing deadlines, and I think, you

     13    know, might end up filing a motion to continue.       I haven't

     14    conferred with Mr. Morris yet.      I suspect he's opposed, based

     15    on our prior conversations.   But that's something that might

     16    be helpful, especially if the Court is concerned on how it

     17    will affect the motion to withdraw the reference, to -- maybe

     18    we continue some of these upcoming deadlines, and that might

     19    appease, you know, solve some of your concerns.

     20              THE COURT:   All right.    Well, Rule 15(a), of course,

     21    is the governing rule here, and the case law is abundant that

     22    courts "should freely give leave when justice so requires."

     23    And the law is also abundantly clear that the rule "evinces a

     24    bias in favor of granting leave to amend."       And again and

     25    again, cases say that leave should be granted unless there's




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       1   substantial reason to deny leave, and courts may consider

       2   factors such as delay or prejudice to the non-movant, bad

       3   faith or dilatory motives on the part of the movant, repeated

       4   failure to cure deficiencies, or futility of the amendment.

       5       While the Debtor has presented arguments that there might

       6   be bad faith here on the part of the Movants and there might

       7   be futility in allowing the amendments because of various

       8   strong arguments and defenses the Debtor believes it has to

       9   this issue of agreements with regard to the notes that

     10    allegedly provide affirmative defenses, the Court believes the

     11    rule requires me to allow leave to amend the answer.

     12        Now, a couple of things.     I am going to require, though,

     13    that the amended answer be more specific than has been

     14    suggested.   I am going to agree that if new affirmative

     15    defenses are made that there was this agreement to forgive

     16    when certain conditions happened, then there does need to be

     17    identification of who the human beings were that were involved

     18    in making the agreement, the date of any agreement or

     19    agreements, and disclose what documents substantiate the

     20    agreement or reflect the agreement.      All right?   So if that

     21    could --

     22               MR. MORRIS:    Your Honor?

     23               THE COURT:    Yes?

     24               MR. MORRIS:    John Morris.   I apologize for

     25    interrupting, but just a fourth thing is what is the




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      1   agreement?    I mean, what is the agreement?

      2               THE COURT:    Well, okay.   That's fair enough.   What is

      3   the agreement?    I guess --

      4               MR. MORRIS:    And -- and --

      5               THE COURT:    -- that needs to be spelled out.    I mean,

      6   I guess I was assuming that that would be spelled out in --

      7   but maybe it's not.       So we'll go ahead and add that.

      8          As far as extension of the discovery, Ms. Drawhorn has

      9   offered that.    I think it would be reasonable if the Debtor or

     10   Plaintiff wants that.       Do you want an extension of discovery?

     11               MR. MORRIS:     What I really want, Your Honor, is a

     12   direction for them to serve this amended answer within 24 or

     13   48 hours and grant leave to the Debtor to promptly file

     14   written discovery.       We've got Nancy Dondero -- if it turns out

     15   -- and maybe Ms. Drawhorn can just answer the question right

     16   now.    Who entered the agreement on behalf of the Debtor?

     17   Because I'm already taking Nancy Dondero's deposition on the

     18   28th.    And it seems to me, if they would just answer the

     19   question of whether Ms. Dondero is the person who did that, I

     20   could just add a notice of deposition and take the deposition

     21   on that date, too, and it would be, really, more efficient for

     22   everybody.

     23               THE COURT:    Ms. Drawhorn, who was the human being?

     24               MS. DRAWHORN:    Yes.   It was -- yes, Nancy Dondero

     25   entered into the -- the subsequent agreement.




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      1               MR. MORRIS:     Okay.    Super.

      2               THE COURT:    All right.    You said you've already --

      3               MR. MORRIS:     So, --

      4               THE COURT:    -- got a depo scheduled of her?

      5               MS. DRAWHORN:    Well, what's the date --

      6               MR. MORRIS:     I do --

      7               MS. DRAWHORN:    -- Mr. Morris?

      8               MR. MORRIS:     I believe it's the 28th.   Your co-

      9   counsel can confirm, but I think it's the 28th.

     10          And I'll just get another deposition notice for that one,

     11   and we'll figure out a time to take Mr. Sauter's deposition,

     12   too.

     13          But I don't think that there is a need, frankly, for --

     14   having been told by Mr. Dondero that there's no documents

     15   related to this, having the Court just ordered the Defendants

     16   to disclose the identity of any documents that relate to this

     17   agreement, I don't think we need to extend the discovery

     18   deadline at all.    I can take Ms. Dondero's deposition, I can

     19   take Mr. Dondero's deposition, and I can take Mr. Sauter's

     20   deposition in due course over the next four weeks.

     21               THE COURT:    All right.    Well, Ms. Drawhorn, we'll say

     22   that this amended answer needs to be filed by midnight Friday

     23   night, 11:59.    That gives you a day and a half to get it done.

     24   All right.    If you could please --

     25               MS. DRAWHORN:    Yes, Your Honor.




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      1              THE COURT:    Please upload an order, Ms. Drawhorn,

      2   granting your motion with these specific requirements that

      3   I've orally worked in.

      4        I think clients need to be careful what they ask for.         I'm

      5   very concerned.    And I know it was just argument and I'll hear

      6   evidence, but of all of the things that I guess -- well, I'm

      7   concerned about a lot of things, but do we have audited

      8   financial statements that didn't disclose these agreements

      9   with regard to --

     10              MR. MORRIS:    Yes, Your Honor.

     11              THE COURT:    I mean, that's -- I'm just -- you know,

     12   there's a lot to be concerned about on that point alone, I

     13   would think.   But, all right.       If there's nothing further, we

     14   are adjourned.    Thank you.

     15              THE CLERK:    All rise.

     16        (Proceedings concluded at 11:58 a.m.)

     17                                  --oOo--

     18

     19                                CERTIFICATE

     20        I certify that the foregoing is a correct transcript from
          the electronic sound recording of the proceedings in the
     21   above-entitled matter.
     22      /s/ Kathy Rehling                                  06/12/2021

     23   ______________________________________             ________________
          Kathy Rehling, CETD-444                                Date
     24   Certified Electronic Court Transcriber
     25




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                     IN THE UNITED STATES BANKRUPTCY COURT
  1                   FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
  2
                                      )   Case No. 19-34054-sgj-11
  3    In Re:                         )   Chapter 11
                                      )
  4    HIGHLAND CAPITAL               )   Dallas, Texas
       MANAGEMENT, L.P.,              )   December 10, 2020
  5                                   )   9:30 a.m. Docket
                 Debtor.              )
  6                                   )
                                      )
  7    HIGHLAND CAPITAL               )   Adversary Proceeding 20-3190-sgj
       MANAGEMENT, L.P.,              )
  8                                   )
                 Plaintiff,           )   - MOTION FOR PRELIMINARY
  9                                   )     INJUNCTION
       v.                             )   - MOTION FOR TEMPORARY
 10                                   )     RESTRAINING ORDER
       JAMES D. DONDERO,              )
 11                                   )
                 Defendant.           )
 12                                   )
 13                        TRANSCRIPT OF PROCEEDINGS
                  BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
 14                     UNITED STATES BANKRUPTCY JUDGE.

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 25




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      1   the protocols have been followed.

      2        As Your Honor knows, when we've had an issue under the

      3   protocols, I remember several months ago when we argued about

      4   certain distributions being made, the Committee certainly was

      5   not shy about bringing it to Your Honor's attention.

      6        So we have been very vigilant and very diligent in holding

      7   the Debtor accountable under the protocols.         And we believe

      8   that -- although, again, when we've had an issue, we've come

      9   to Your Honor.    We believe that the protocols have worked as

     10   they were intended to and as they were designed, Your Honor.

     11        So I can assure you that the Committee has been very

     12   vigilant and the Committee will continue to be very vigilant.

     13   These issues were all raised in the context of negotiating the

     14   protocols.    That was before Your Honor.      Mr. Dondero was

     15   involved with that.     It was very difficult negotiations, Your

     16   Honor.

     17        But this does seem like somebody now trying to renegotiate

     18   what it was that the parties agreed to and Your Honor approved

     19   early on in this case.

     20        So, Your Honor, rest assured, the Committee has been very

     21   vigilant and will continue to be very vigilant.

     22              THE COURT:   All right.     And I guess the last thing

     23   I'll say on that point is, while of course we always want

     24   transparency --

     25        (Interruption.)




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      1               THE COURT:    While we, of course, always want

      2   transparency and notice and opportunity to object, I mean,

      3   these are not your typical run-of-the-mill assets.          They're

      4   not a parcel of real property or a building somewhere or

      5   inventory somewhere or intellectual property.         I mean, these

      6   are -- you know, again, we have a unique business here.            And I

      7   think that was very much recognized in the process of

      8   negotiating the protocols, that this is not the type of

      9   business where you do a 363 motion on 21 days' notice any time

     10   you feel like, oh, today's a great day to trade this or that

     11   in whatever fund.

     12        Well, we will go forward on this motion, because Mr.

     13   Dondero is entitled to his day in court to make his argument,

     14   put on his evidence, and try to convince me that this is not

     15   just trying to renegotiate something Mr. Dondero agreed to 11

     16   months ago on the eve of confirmation.        But I want to make

     17   sure -- oh, we're getting --

     18        (Echoing.)

     19        (Clerk advises Court.)

     20               THE COURT:   Okay.   You're on mute.    You're on mute,

     21   Mr. Lynn.

     22               MR. LYNN:    Your Honor, may I explain briefly?       This

     23   is very distressing.      Mr. Morris says that it is the ordinary

     24   course of this Debtor's business to sell a subsidiary.            This

     25   is not the ordinary course of the Debtor's business.          There is




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      1   nothing in the protocols that says that the independent board

      2   and just the creditors on the Creditors' Committee may make

      3   decisions concerning major sales.       We will present evidence to

      4   that effect when it occurs, and we believe strongly -- and I

      5   want to state, Your Honor, I didn't participate in

      6   negotiations of those protocols.       I wasn't involved.     And I've

      7   looked at them.    There's nothing that says that this can occur

      8   without going to a hearing.      And there is nothing in the

      9   protocols that defines ordinary course of business to involve

     10   this.

     11        This motion was not filed because Mr. Dondero wanted to

     12   get in the way.    It was filed because I thought it was the

     13   right thing to do because I thought that this was contrary to

     14   the way bankruptcy and Chapter 11 should work.         And it was

     15   reasoned by me, with Mr. Dondero's consent.         And I very, very

     16   much am upset to hear things people say that he's trying to

     17   get in the way with this.      He is not.    He's asking for

     18   something that is very, very, very reasonable.         If they have

     19   nothing to hide, and I hope they don't and don't believe they

     20   do, but if the Debtor has nothing to hide, what is wrong with

     21   notice and a chance for hearing?

     22              MR. POMERANTZ:    Your Honor, this is Jeff Pomerantz.

     23   If I briefly may be heard.

     24              THE COURT:    Go ahead.

     25              MR. POMERANTZ:    I actually did negotiate the




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      1   Court next Wednesday, he needs to testify.         And if NexPoint,

      2   through whoever their decision-maker is, is wanting to urge a

      3   position to the Court, they need a human being to testify.

      4   And I'll hear Seery and I'll hear Dondero and I'll hear

      5   whoever that person is, and that's what's going to matter, you

      6   know, most to me.     Yeah, we have some legal issues, certainly,

      7   but I like to hear business people explain things, no offense

      8   to the lawyers.    But it's always very helpful to hear the

      9   business people in addition to the lawyers.         All right.     So,

     10   Mr. Morris, you're going to upload that TRO for me.

     11              MR. MORRIS:    Yes, Your Honor.

     12              THE COURT:    Mr. Wright, you can upload your order

     13   setting your motion for hearing next Wednesday at 1:30.            And I

     14   think we have our game plan for now.        Anything else?    All

     15   right.   We're adjourned.

     16              THE CLERK:    All rise.

     17        (Proceedings concluded at 11:33 a.m.)

     18                                   --oOo--

     19

     20                                CERTIFICATE

     21        I certify that the foregoing is a correct transcript to
          the best of my ability from the electronic sound recording of
     22   the proceedings in the above-entitled matter.
     23      /s/ Kathy Rehling                                   12/11/2020

     24   ______________________________________              ________________
          Kathy Rehling, CETD-444                                 Date
     25   Certified Electronic Court Transcriber




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                                                                     EXHIBIT 33



The following constitutes the ruling of the court and has the force and effect therein described.




Signed June 17, 2021
______________________________________________________________________



                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION


         In re:                                                        §
                                                                       § Chapter 11
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                       § Case No. 19-34054-sgj11
                                          Debtor.                      §
                                                                       §

                                     ORDER REQUIRING DISCLOSURES


                  I.     Introduction.

                  This Order is issued by the court sua sponte pursuant to Section 105 of the Bankruptcy Code

     and the court’s inherent ability to efficiently monitor its docket and evaluate the standing of parties

     who ask for relief in the above-referenced case. More specifically, the Order is directed at clarifying

     the party-in-interest status or standing of numerous parties who are regularly filing pleadings in the

     above-referenced 20-month-old Chapter 11 bankruptcy case. The court has determined that there is



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      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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  a need to: (a) fully understand whether such parties (defined below) have statutory or constitutional

  standing with regard to recurring matters on which they frequently file lengthy and contentious

  pleadings and, if so, (b) ascertain whether their interests are sufficiently aligned such that the parties

  might be required to file joint pleadings hence forth, rather than each file pleadings that are similar

  in content. The court has commented many times that certain active parties (i.e., Mr. James Dondero

  and numerous non-debtor entities that he controls—hereinafter the “Non-Debtor Dondero-Related

  Entities”) seem to have tenuous standing. Mr. Dondero is, of course, the Debtor’s co-founder,

  former President, Chief Executive Officer (“CEO”), and indirect beneficial equity owner. 2 Since

  standing is a subject matter jurisdiction concern, the court has determined that it is in the interests

  of judicial economy to gain some clarity with regard to the standing of the various Non -Debtor

  Dondero-Related Entities. It is also in the interests of judicial economy, the interests of other parties

  in this case, and in the interest of reducing administrative expenses of this estate that there be

  consolidation of pleadings, wherever possible, of the Non-Debtor Dondero-Related Entities.




  2
    In addition to being the former CEO, Mr. Dondero represents that he is a “creditor, indirect equity security holder,
  and party in interest” in the Debtor’s bankruptcy. This court has stated on various occasions that this assertion is
  ostensibly true, but somewhat tenuous. Mr. Dondero filed five proofs of claim in the Debtor’s bankruptcy case. Two
  of those proofs of claim were withdrawn with prejudice on November 23, 2020 [DE # 1460]. The other three are
  unliquidated, contingent claims, each of which stated that Mr. Dondero would “update his claim in the n ext ninety
  days.” Ninety days has long-since passed since those proofs of claim were filed and Mr. Dondero has not updated
  those claims to this court’s knowledge. With regard to Mr. Dondero’s assertion that he is an “indirect equity security
  holder,” the details have been represented to the court many times to be as follows (undisputed): Mr. Dondero holds
  no direct equity interest in the Debtor. Mr. Dondero instead owns 100% of Strand Advisors, Inc. (“Strand”), the
  Debtor’s general partner. Strand, however, holds only 0.25% of the total limited partnership interests in the Debtor
  through its ownership of Class A limited partnership interests. The Class A limited partnership interests are junior in
  priority of distribution to the Debtor’s Class B and Class C limited partnership interests. The Class A interests are
  also junior to all other claims filed against the Debtor. Finally, Mr. Dondero’s recovery on his indirect equity interest
  is junior to any claims against Strand itself. Consequently, before Mr. Dondero can recover on his indirect equity
  interest, the Debtor’s estate must be solvent, priority distributions to Class B and Class C creditors must be satisfied,
  and all claims against Strand must be paid.

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          II.      Background: The Chapter 11 Case.3

          On October 16, 2019 (the “Petition Date”), Highland filed a voluntary petition for relief

  under Chapter 11 of the Bankruptcy Code. Highland is a registered investment advisor that is in the

  business of buying, selling, and managing assets on behalf of its managed investment vehicles. It

  manages billions of dollars of assets—to be clear, the assets are spread out in numerous, separate

  fund vehicles. While the Debtor has continued to operate and manage its business as a debto r-in-

  possession, the role of Mr. Dondero vis-à-vis the Debtor was significantly limited early in the

  bankruptcy case and ultimately terminated. The Debtor’s current CEO is an individual selected by

  the creditors named James P. Seery.

          Specifically, early in the case, the Official Unsecured Creditors Committee (“UCC”) and

  the U.S. Trustee (“UST”) desired to have a Chapter 11 Trustee appointed—absent some major

  change in corporate governance 4—due to conflicts of interest and the alleged self-serving, improper

  acts of Mr. Dondero and possibly other officers (for example, allegedly engaging, for years, in

  fraudulent schemes to put Highland’s assets out of the reach of creditors). Under this pressure, the

  Debtor negotiated a term sheet and settlement with the UCC (the “January 2020 Corporate

  Governance Settlement”), which was executed by Mr. Dondero and approved by a court order on

  January 9, 2020 (the “January 2020 Corporate Governance Order”).5 The settlement and term sheet

  contemplated a complete overhaul of the corporate governance structure of the Debtor. Mr.

  Dondero resigned from his role as an officer and director of the Debtor and of its general partner.

  Three new independent directors (the “Independent Board”) were appointed to govern the Debtor’s



  3
    For a more detailed factual description of some of the disputed issues in this case, see the Memorandum of Opinion
  and Order Granting in Part Plaintiff's Motion to Hold James Dondero in Civil Contempt of Court for Alleged Violation
  of TRO, entered June 7, 2021, DE # 190, in AP # 20-3190.
  4
    The UST was steadfast in wanting a Trustee.
  5
    See DE ## 281 & 339.


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  general partner Strand Advisors, Inc.—which, in turn, managed the Debtor. All of the new

  Independent Board members were selected by the UCC and are very experienced within either the

  industry in which the Debtor operates, restructuring, or both (Retired Bankruptcy Judge Russell

  Nelms, John Dubel, and James P. Seery). As noted above, one of the Independent Board members,

  James P. Seery (“Mr. Seery”), was ultimately appointed as the Debtor’s new CEO and CRO.6 As

  for Mr. Dondero, while not originally contemplated as part of the January 2020 Corporate

  Governance Settlement, the Debtor proposed at the hearing on the January 2020 Corporate

  Governance Settlement that Mr. Dondero remain on as an unpaid employee of the Debtor and also

  continue to serve as and retain the title of a portfolio manager for certain separate non-Debtor

  investment vehicles/entities whose funds are managed by the Debtor. The court approved this

  arrangement when the UCC ultimately did not oppose it. Mr. Dondero’s authority with the Debtor

  was subject to oversight by the Independent Board, and Mr. Seery was given authority to oversee

  the day-to-day management of the Debtor, including the purchase and sale of assets held by the

  Debtor and its subsidiaries, as well as the purchase and sale of assets that the Debtor manages for

  various separate non-Debtor investment vehicles/entities. Significant to the court and the UCC was

  a provision in the order, at paragraph 9, stating that “Mr. Dondero shall not cause any Related Entity

  to terminate any agreements with the Debtor.”

             To be sure, this was a complex arrangement. Apparently, there were well-meaning

  professionals in the case that thought that having the founder and “face” behind the Highland brand

  still involved with the business might be value-enhancing for the Debtor and its creditors (even

  though Mr. Dondero was perceived as not being the type of fiduciary needed to steer the ship

  through bankruptcy). For sake of clarity, it should be understood that there are at least hundreds of



  6
      “CRO” means Chief Restructuring Officer. See DE # 854, entered July 16, 2020.

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  entities—the lawyers have sometimes said 2,000 entities—within the Highland byzantine

  organizational structure (sometimes referred to as the “Highland complex”), most of which are not

  subsidiaries of the Debtor, nor otherwise owned by Highland. And only Highland itself is in

  bankruptcy. However, these entities are very much intertwined with Highland—in that they have

  shared services agreements, sub-advisory agreements, payroll reimbursement agreements, or

  perhaps, in some cases, less formal arrangements with Highland. Through these agreements

  Highland (through its own employees) has historically provided resources such as fund managers,

  legal and accounting services, IT support, office space, and other overhead. Many of these non-

  Debtor entities appear to be under the de facto control of Mr. Dondero—as he is the president and

  portfolio manager for many or most of them—although Mr. Dondero and certain of these entities

  stress that these entities have board members with independent decision making power and are not

  the mere “puppets” of Mr. Dondero. This court has never been provided a complete organizational

  chart that shows ownership and affiliations of all 2,000 Non-Debtor Dondero-Related Entities, but

  the court has, on occasion, been shown information about some of them and is aware that a great

  many of them were formed in non-U.S. jurisdictions, such as the Cayman Islands.

          Eventually, the Debtor’s new Independent Board and management concluded that it was

  untenable for Mr. Dondero to continue to be employed by the Debtor in any capacity . Various

  events occurred that led to the termination of his employment with the Debtor. For one thing, Mr.

  Dondero prominently opposed certain actions taken by the Debtor through its CEO and Independent

  Board including: (a) objecting to a significant settlement that the Debtor had reached in court-

  ordered mediation7 with creditors Acis Capital Management and Josh and Jennifer Terry (the “Acis


  7
   The court appointed Retired Bankruptcy Judge Allan Gropper, S.D.N.Y., and Attorney Sylvia Maye r, Houston,
  Texas (both with the American Arbitration Association), to be co-mediators over multiple disputes in the Bankruptcy
  Case, including the Acis dispute. The co-mediators, among other things, attempted to mediate disputes/issues with
  Mr. Dondero.

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  Settlement”)—which settlement helped pave the way toward a consensual Chapter 11 plan, and (b)

  pursuing, through one of his family trusts (the Dugaboy Investment Trust), a proof of claim alleging

  that the Debtor (including Mr. Seery) had mismanaged one of the Debtor’s subsidiaries, Highland

  Multi Strategy Credit Fund, L.P. (“MSCF”) with respect to the sale of certain of its assets during

  the bankruptcy case (in May of 2020).8 The Debtor’s Independent Board and management

  considered these two actions to create a conflict of interest— if Mr. Dondero was going to litigate

  significant issues against the Debtor in court, that was his right, but he could not continue to work

  for the Debtor (among other things, having access to its computers and office space) while litigating

  these issues with the Debtor in court.

           But the termination of his employment was not the end of the friction between the Debtor

  and Mr. Dondero. In fact, literally a week after his termination, litigation posturing and disputes

  began erupting between Mr. Dondero and certain Non-Debtor Dondero-Related Entities, on the one

  hand, and the Debtor on the other.

           At the present time, 11 adversary proceedings have been filed related to this bankruptcy

  case involving Non-Debtor Dondero-Related Entities. Additionally, Non-Debtor Dondero-Related

  entities have filed 11 appeals of bankruptcy court orders. Non-Debtor Dondero-Related entities

  have begun filing lawsuits relating to the bankruptcy case in other fora that are the subject of

  contempt motions.

           III.     The Non-Debtor Dondero-Related Entities.

           The following are the Non-Debtor Dondero-Related Entities encompassed by this Order

  and their known counsel9:


  8
   See, e.g., Proof of Claim No. 177 and DE # 1154.
  9
    There are three other entities that the court is not including in this Order at this time, since, although they have
  appeared in the past, they are no longer active in the case because of either resolving issues with the Debtor or other
  reasons: (a) Highland CLO Funding Ltd. (previously represented by the law firm of King and Spaulding); (b) Hunter

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      A. James D. Dondero
      Mr. Dondero has had three law firms representing him in the bankruptcy proceedings: Bonds

  Ellis Eppich Schafer Jones LLP; Stinson L.L.P.; and Crawford Wishnew Lang.

      As earlier mentioned, Mr. Dondero has three pending proofs of claim that are unliquidated,

  contingent claims. Each of these claims state that Mr. Dondero would “update his claim in the next

  ninety days.” Ninety days has long-since passed since those proofs of claim were filed and Mr.

  Dondero has not updated those claims to this court’s knowledge. While this court is unclear what

  the alleged amount of Mr. Dondero’s three unliquidated, contingent proofs of claim might be, the

  court takes judicial notice that the Debtor has filed an adversary proceeding (Adv. Proc. # 21 -

  3003) alleging that Mr. Dondero is liable to three bankruptcy estate on three demand notes , on

  which the total amount due and owing is $9,004,013.07. Mr. Dondero has also been sued along

  with CLO Holdco, Grant Scott, Charitable DAF Holdco, Charitable DAF Fund, Highland Dallas

  Foundation, and the Get Good Trust for alleged fraudulent transfers in Adv. Proc. # 20-3195.

      As far as equity interests in the Debtor, the Debtor is a Delaware limited partnership. The

  general partner is named Strand Advisors, Inc. (“Strand”). Mr. Dondero owns 100% of Strand

  Advisors, Inc. (“Strand”), the Debtor’s general partner, but gave up control of Strand pursuant to

  a court-approved corporate governance agreement reached in this case in January 2020, to which

  Mr. Dondero agreed. As of the Petition Date, the Debtor’s limited partnership interests were held:

  (a) 99.5% by an entity called Hunter Mountain Investment Trust; (b) 0.1866% by The Dugaboy

  Investment Trust (Mr. Dondero’s family trust—described below), (c) 0.0627% by the retired co-

  founder of the Debtor, Mark Okada, personally and through family trusts, and (d) 0.25% by Strand.

  These limited partnership interests were in three classes (Class A, Class B, and Class C). The


  Mountain Trust (previously represented by Sullivan Hazeltine Allinson and Rochelle McCullough); and (c) NexBank
  (previously represented by Alston & Bird).

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  Class A interests were held by The Dugaboy Investment Trust, Mark Okada, and Strand. The

  Class B and C interests were held by Hunter Mountain Investment Trust and Hunter Mountain.

  The significance of this is that the Class A limited partnership interests are junior in priority of

  distribution to the Debtor’s Class B and Class C limited partnership interests. The Class A interests

  are also junior to all other claims filed against the Debtor. And, of course, Mr. Dondero’s recovery

  on his equity interest in Strand is junior to any claims against Strand itself. Consequently, before

  Mr. Dondero can recover on his indirect equity interest, the Debtor’s estate must be solvent,

  priority distributions to Class B and Class C creditors must be satisfied, and all claims against

  Strand must be paid.

      B. The Dugaboy Investment Trust (“Dugaboy”) and Get Good Nonexempt Trust (“Get
         Good”)
      The Dugaboy and Get Good Trusts are represented by the law firm Heller Draper & Horn.

      Mr. Dondero is the beneficiary of Dugaboy and the settlor of Get Good (and family members

  are the beneficiaries). It has been represented in pleadings that Get Good is a trust established

  under the laws of the State of Texas. It has been represented in pleadings that Dugaboy is a trust

  established under the laws of the State of Delaware. At least as of the Petition Date, an individual

  named Grant Scott (a long-time friend of Mr. Dondero’s, who is a patent lawyer and resides in

  Colorado) is the trustee of both. Mr. Dondero’s sister may also be a trustee of Dugaboy.

      As mentioned above, Dugaboy owns a 0.1866% of the Class A junior limited partnership

  interest in the Debtor.

      Get Good has filed a proof of claim in this Bankruptcy Proceeding (submitted by Grant Scott).

  Dugaboy has filed several proofs of claim in this Bankruptcy Proceeding (all were submitted by

  Grant Scott). The court is not aware of the nature or amount of these claims, except the court has

  been apprised that: (a) one Dugaboy proof of claim alleges that Highland is obligated on a debt


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  owed to Dugaboy by an entity known as Highland Select, allegedly because Highland is Highland

  Select’s general partner and might also be its alter ego; and (b) another proof of claim asserts

  postpetition mismanagement by the Debtor of assets of one or more Debtor subsidiaries. While

  the court knows nothing about the Get Good proof of claim, it does know that the Get Good Trust

  (along with others, including Grant Scott) has been sued for alleged fraudulent transfers in an

  adversary proceeding in this case (Adv. Proc. # 20-3195)—which may affect the allowability of

  its proof of claim.

     C. Highland Capital Management Fund Advisors, L.P. (“HCMFA”) and NexPoint Advisors,
        L.P. (“NPA”) (sometimes collectively referred to as the “Advisors”)
     These entities have been represented by the K&L Gates law firm at times and currently are

  represented by the law firm of Munsch Hardt Kopf & Harr. The entities are registered investment

  advisors that previously had shared services agreements with the Debtor.

     It has been represented that Mr. Dondero directly or indirectly owns and/or effectively controls

  each of the Advisors. He is the President of each of them.

     It is the court’s understanding that both of these entities withdrew their original proofs of claim.

  However, the Advisors filed an application for an administrative expense claim on January 24,

  2021, relating to services the Advisors allege the Debtor did not perform under a shared services

  agreement. The Debtor has since filed an objection to the claim and the matter is set for trial on

  September 28, 2021. Further, the Debtor has filed an adversary proceeding (Adv. Pro. # 21-3004)

  alleging that HCMFA owes the Debtor an aggregate of $7,687,653.07 pursuant to two promissory

  notes and the Debtor has filed an adversary proceeding (Adv. Pro. # 21-3005) alleging that NPA

  owes the Debtor $23,071,195.03 pursuant to a promissory note.




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     D. Highland Funds I and its series Highland Healthcare Opportunities Fund, Highland/iBoxx
        Senior Loan ETF, Highland Opportunistic Credit Fund, and Highland Merger Arbitrage
        Fund, Highland Funds II and its series Highland Small-Cap Equity Fund, Highland
        Socially Responsible Equity Fund, Highland Fixed Income Fund, and Highland Total
        Return Fund, NexPoint Capital, Inc., NexPoint Strategic Opportunities Fund, Highland
        Income Fund, Highland Global Allocation Fund, and NexPoint Real Estate Strategies
        Fund
     These entities are represented by the K&L Gates law firm. They are apparently each managed

  by the Advisors and these funds are specifically managed by Mr. Dondero as portfolio manager.

          The court has no idea who owns these companies (assuming they should be regarded as

  separate companies). The court does not know which, if any of them, have filed proofs of claims.

     E. Charitable DAF Holdco, Ltd. (“DAF Holdco”), Charitable DAF Fund, LP (“DAF”),
        Highland Dallas Foundation, Inc., (“Highland Dallas Foundation”)
     These entities are represented by the law firms of Kelly Hart Pitre and Sbaiti & Company

  PLCC.

     It has been represented to the court that the DAF is managed by DAF Holdco, which is the

  managing member of the DAF. It has further been represented to the court that DAF Holdco is

  owned by three different purported charitable foundations: Highland Dallas Foundation, Inc.,

  Highland Santa Barbara Foundation, Inc., and Highland Kansas City Foundation, Inc.

  (collectively, the “Highland Foundations”). DAF Holdco is an exempted company incorporated

  in the Cayman Islands. Grant Scott has apparently, until recently, served as its managing member.

  The DAF is an exempted company incorporated in the Cayman Islands. Highland Dallas

  Foundation is a Delaware nonprofit, nonstock corporation.

     Mr. Dondero is the president and one of the three directors of each of the Highland

  Foundations. Apparently, Grant Scott was recently replaced by a former Highland employee

  named Mark Patrick (who is now an employee of Skyview Group, an entity created by former

  Highland employees). Although the Debtor is the non-discretionary investment advisor to the


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  DAF, the Debtor does not have the right or ability to control or direct the DAF or CLO Holdco.

  Instead, the DAF takes and considers investment and payment advice from the Debtor, but ultimate

  decisions are in the control of Mr. Patrick, presumably at Mr. Dondero’s direction.

     The court is not aware whether these entities have filed proofs of claim. However, they, along

  with Messrs. Dondero and Scott, CLO Holdco and the Get Good have been sued for fraudulent

  transfers in Adv. Proc. # 20-3195.

     F. CLO Holdco, Ltd.
     This entity was previously represented by the law firm of Kane Russell Coleman & Logan and

  more recently is represented by the law firm of Sbaiti & Company PLLC.

     CLO Holdco is a wholly owned and controlled subsidiary of the DAF. CLO Holdco is an

  exempted company incorporated in the Cayman Islands. CLO Holdco has filed two proofs of

  claim in this Bankruptcy Proceeding. Both proofs of claim were submitted by Grant Scott in his

  capacity as Director of CLO Holdco.

     CLO Holdco, along with Messrs. Dondero and Scott, DAF Holdco, DAF Fund, Highland

  Dallas Foundation, and the Get Good have been sued for fraudulent transfers in Adv. Proc. # 20-

  3195.

     G. NexPoint Real Estate Finance Inc., NexPoint Real Estate Capital, LLC, NexPoint
        Residential Trust, Inc., NexPoint Hospitality Trust, NexPoint Real Estate Partne rs, LLC,
        NexPoint Multifamily Capital Trust, Inc., VineBrook Homes, Trust, Inc., NexPoint Real
        Estate Advisors, L.P., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate
        Advisors III, L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors
        V, L.P., NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII, L.P.,
        NexPoint Real Estate Advisors VIII, L.P., and any funds advised by any of the foregoing
        and any of their subsidiaries (sometimes collectively referred to as “NPRE”)
     These entities are represented by the law firm of Wick Phillips Gould & Martin, LLP.

     The entity known as HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC) is

  alleged to owe the Debtor over $11 million pursuant to five promissory notes (as asserted in Adv.


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  Pro. # 21-3007). The court understands this same entity has filed a proof of claim relating to its

  alleged interest in “SE Multifamily Holdings, LLC,” which has been objected to and has not been

  resolved.

       The court has no idea who owns or manages these companies or what exact function they play

  in the Highland complex of companies. The court does not know anything about the substance of

  the proof of claims.

       H. Highland Capital Management Services, Inc.
       This entity appears to be represented by both Wick Phillips Gould & Martin, LLP (which also

  represents NPRE) and Stinson L.L.P. (which also sometimes represents Mr. Dondero personally).

       This entity earlier filed two proofs of claim that were objected to and disallowed. Also, this

  entity is alleged to owe the Debtor approximately $7.7 million pursuant to five different

  promissory notes (as asserted in Adv. Pro. # 21-3006). The court has no idea who owns or manages

  this company or what exact function it plays in the Highland complex of companies.

          IV.      Disclosure Requirement

          Accordingly, in furtherance of this court’s desire to be more clear about the standing of

  various of these entities, and to assess whether their interests may be sufficiently aligned, in some

  circumstances, so as to require joint pleadings (rather than have a proliferation of similar pleadings)

  it is hereby ORDERED that:

          Within 21 days of the entry of this Order, the Non-Debtor Dondero-Related Entities named

  in this Order shall file a Notice in this case disclosing thereon: (a) who owns the entity (showing

  percentages);10 (b) whether Mr. Dondero or his family trusts have either a direct or indirect



  10
   With regard to any minor children who may be beneficiaries of trusts, actual names should not be used (Child 1,
  Child 2, etc. would be sufficient).


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  ownership interest in the entity and, if so, what percentage of ultimate ownership; (c) who are the

  officers, directors, managers and/or trustees of the Non-Debtor Dondero-Related Entity; and (d)

  whether the entity is a creditor of the Debtor (explaining in reasonable detail the amount and

  substance of its claims).

                                       ### End of Order ###




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                 IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

 In Re: HIGHLAND CAPITAL                §
 MANAGEMENT, L.P.,                      §
             Debtor                     §
 ______________________________________ §
                                        §
 JAMES DONDERO, et al.,                 §
                                        §
             Appellants,                §
                                        §
 v.                                     §           Civil Action No. 3:21-CV-0879-K
                                        §
 HON. STACEY G. C. JERNIGAN,            §
                                        §
             Appellee.                  §

                  MEMORANDUM OPINION AND ORDER

       Appellants James Dondero, Highland Capital Management Fund Advisors, L.P.,

 NexPoint Advisors, L.P., The Dugaboy Investment Trust, The Get Good Trust, and

 NexPoint Real Estate Partners, LLC. f/k/a HCRE Partners, LLC’s (collectively

 “Appellants”) appeal the Bankruptcy Court’s Order Denying [Appellants’] Motion to

 Recuse Pursuant to 28 U.S.C. § 455 which was entered March 23, 2021. See generally

 Am. Notice of Appeal (Doc. No. 1-1); Appellants’ Br. (Doc. No. 16). Because the

 Court lacks jurisdiction over this appeal, the Court hereby dismisses this appeal.




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       I.     Relevant Background

       Appellants filed a Motion to Recuse under § 455 with the Bankruptcy Court,

 asking United States Bankruptcy Judge Stacey G. C. Jernigan (the “Bankruptcy Judge”)

 to recuse herself from presiding over the bankruptcy proceeding of Debtor Highland

 Capital Management, L.P. In an 11-page Order Denying Motion to Recuse Pursuant

 to 28 U.S.C. § 455 (“Recusal Order”), the Bankruptcy Judge denied the Motion while

 also reserving the right to supplement or amend the ruling. See Am. Notice of Appeal

 (Doc. No. 1-1) at 5-15. The Bankruptcy Court entered the Recusal Order on March

 23, 2021. See id.; Appellants’ Br. (Doc. No. 16). On April 18, 2021, the Clerk of the

 Bankruptcy Court transmitted the Notice of Appeal filed by Appellants on April

 6, 2021. See generally Doc. No. 1. It is the Recusal Order that forms the basis of this

 appeal. See id. Appellants designated the Bankruptcy Judge as “Appellee”. See id.

       Before appellate briefing began, Debtor Highland Capital Management, L.P.

 moved the Court for leave to intervene in this appeal. See Mot. to Intervene (Doc. No.

 2). Debtor Highland Capital Management, L.P. argued that it is the real party-in-

 interest, not the Bankruptcy Judge. Mot. to Intervene at 3. After the Motion to

 Intervene was fully briefed and ripe, the Court granted the Motion and allowed Debtor

 Highland Capital Management, L.P. (“Debtor/Intervenor”) to file a responsive brief as

 accorded to an appellee under the bankruptcy rules. See generally Order (Doc. No. 10).




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          Appellants then filed their Appellants’ Brief identifying and arguing two issues

 on appeal:      (1) whether the Bankruptcy Court abused its discretion in denying

 Appellants’ Motion to Recuse Pursuant to 28 U.S.C. § 455 as untimely; and (2)

 whether the Bankruptcy Court abused its discretion in denying Appellants’ Motion to

 Recuse Pursuant to 28 U.S.C. § 455 on the merits.                  Appellants’ Br. at 1.

 Intervenor/Debtor filed an Appellee’s Brief in response (Doc. No. 20), and Appellants

 filed their Reply Brief (Doc. No. 23). The Bankruptcy Record on Appeal does not

 reflect that a final judgment has been entered by the Bankruptcy Court in this matter.

          Upon an initial review of the appellate briefing, the Court sua sponte questioned

 its jurisdiction over this appeal. See FW/PBS, Inc. v. City of Dallas, 493 U.S. 215, 230-

 31 (1990); see also Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574, 583 (1999)

 (“[S]ubject-matter delineations must be policed by the courts on their own initiative

 even at the highest level.”). The Court issued an Order (Doc. No. 28) directing the

 parties to file briefs, respectively, addressing this Court’s jurisdiction over an appeal of

 the Bankruptcy Judge’s order denying a motion to recuse when final judgment has not

 yet been entered. The parties timely filed their respective jurisdictional briefs, and the

 Court has carefully considered the arguments, the applicable and binding law, and

 relevant portions of the record. The Court turns now to this threshold jurisdictional

 issue.




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         II.       Applicable Law

         Section 455 of Chapter 28 of the United States Code provides, in relevant part,

 that:

               (a) Any justice, judge, or magistrate judge of the United States shall
               disqualify himself in any proceeding in which his impartiality might
               reasonably be questioned.
               (b) He shall also disqualify himself in the following circumstances:
                   (1) Where he has a personal bias or prejudice concerning a party,
                   or personal knowledge of disputed evidentiary facts concerning
                   the proceedings.

 28 U.S.C. § 455(a) & (b)(1). Bankruptcy Rule 5004(a) provides that “A bankruptcy

 judge shall be governed by 28 U.S.C. § 455, and disqualified from presiding over the

 proceeding or contested matter in which the disqualifying circumstances arises or, if

 appropriate, shall be disqualified from presiding over the case.” FED. R. BANKR. P.

 5004(a).

         District courts have jurisdiction over appeals from the following entered by a

 bankruptcy judge:

        (1) from final judgments, orders, and decrees;
        (2) from interlocutory orders and decrees under section 1121(d) of title 11
 increasing or reducing the time periods referred to in section 1121 of such title; and
        (3) with leave of the court , from other interlocutory orders and decrees.

 28 U.S.C. § 158(a).




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       III.   Analysis

              A.     Recusal Order is an Interlocutory Order and Not Immediately
                     Appealable as a Matter of Right

       It is well-established law in the Fifth Circuit that a court’s order denying a recusal

 motion is not a final order, is not an appealable interlocutory order, and is not an

 appealable collateral order, therefore it is reviewable on appeal only from final

 judgment. Willis v. Kroger, 263 F.3d 163, 163 (5th Cir. 2001); United States v. Henthorn,

 68 F.3d 465, 465 (5th Cir. 1995); Chitimacha Tribe of La. v. Harry L. Laws Co., Inc., 690

 F.2d 1157, 1164 n.3 (5th Cir. 1982); In re Corrugated Container Antitrust Litig., 614 F.2d

 958, 960 (5th Cir. 1980); Martin v. Driskell, 2021 WL 4784756, at *1 (5th Cir. July

 12, 2021); In re Gordon, 2019 WL 11816606, at *1 (5th Cir. Apr. 10, 2019); Stancu v.

 Hyatt Corp./Hyatt Regency Dallas, Civ. Action No. 3:18-CV-1737-E-BN, 2020 WL

 853859, at *2 (N.D. Tex. Jan. 30, 2020), adopted by 2020 WL 833645 (Feb. 20,

 2020)(Brown, J.); Prather v. Dudley, Civ. Action No. 9:06cv100, 2006 WL 3317124,

 at *2 (E.D. Tex. Oct. 18, 2006); Hardy v. Fed. Express Corp., No. Civ.A 97-1620, 1998

 WL 104686, at *1 (E.D. La. Mar. 6, 1998). Moreover, both the Fifth Circuit and

 district courts in this Circuit have applied this very clear, decades-old law in appeals

 taken from a bankruptcy court’s order denying a motion to recuse. In re Dorsey, 489 F.

 App’x 763, 764 (5th Cir. 2012); In re Schweitzer, Civ. Action No. 07-4036, 2007 WL




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 2965045, at *1 (E.D. La. Oct. 9, 2007); In re Moerbe, No. 03-57260-LMC/04-5043-

 LMC/SA-04-CA-801-FB, 2005 WL 3337634, at *3 (W.D. Tex. Sept. 1, 2005).

       In this case, the Bankruptcy Record on Appeal does not establish that a final

 judgment has been entered. The law in the Fifth Circuit specifies that a court’s order

 on a motion to disqualify the judge “is not an appealable final order” and “a party ‘must

 await final judgment to appeal [a] judge’s refusal to recuse.’” In re Dorsey, 489 F. App’x

 at 764 (holding court was without jurisdiction to review bankruptcy court’s decision

 on motion to recuse because, although final judgment had been entered, the appeal of

 it had not yet been resolved). Appellants attempt to get around this law by arguing

 that the courts have considered the “finality” of an order on a motion to recuse only

 under 28 U.S.C. § 1291 (which applies to jurisdiction of courts of appeals over appeals

 from final orders of district courts) and not § 158(a) (which applies to jurisdiction of

 district court over appeals from bankruptcy court orders). Appellants contend this is

 crucial because the bankruptcy appellate statute, § 158(a), applies here and that statute

 contemplates the more liberal and flexible “finality” standard accorded to bankruptcy

 courts, rather than the finality standard under § 1291 pertaining to district court

 orders. Resp. Br. (Doc. No. 31) at 2-7.

       The Court rejects Appellants’ suggestion that the Court should or even can

 construe this Recusal Order under a different “finality” standard mere because the




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 Bankruptcy Court entered it.     There is nothing in the Court’s own research, nor

 anything provided by Appellants, to suggest that the Court should ignore this binding

 precedent and apply a more liberal and flexible “finality” standard to this appeal of the

 Recusal Order merely because it is an order of the Bankruptcy Court. Indeed, courts

 in this Circuit have not hesitated in applying this well-settled law to an appeal of a

 bankruptcy court order on a motion to recuse. See, e.g., In re Schweitzer, 2007 WL

 2965045, at *1 (court found jurisdiction lacking over appeal from bankruptcy court’s

 order denying motion to recuse because “the law is quite clear that an order denying a

 motion to disqualify a judge is an interlocutory order from which no appeal lies prior

 to final judgment in the case.”); In re Moerbe, 2005 WL 3337634, at *3 (“Because an

 order denying a motion to recuse or disqualify a judge is interlocutory, not final, and

 is not immediately appealable, it would seem to follow that the [the bankruptcy court’s]

 order in this case granting recusal but denying its permanency is likewise

 interlocutory.”). The Court finds no justification for straying from the well-settled law

 in the Fifth Circuit and finds that the Bankruptcy Court’s Recusal Order is not a final

 appealable order.

       The Court also finds that the Recusal Order is not subject to the collateral order

 doctrine and it is not an interlocutory order that is not immediately appealable.

 Appellants ask the Court to treat the Recusal Order as subject to the collateral order




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 doctrine.   The Court rejects this request as there is no legal basis for doing so.

 Appellants again ignore very clear Fifth Circuit law that a court order denying a recusal

 motion is not an appealable collateral order. Willis, 263 F.3d at 163 (citing Nobby

 Lobby, 970 F.2d at 85-86 & n.3); Henthorn, 68 F.3d at 465; Chitimacha Tribe of La., 690

 F.2d at 1164 n.3; In re Corrugated Container Antitrust Litig., 614 F.2d at 960; In re Dorsey,

 489 F. App’x at 764; Martin, 2021 WL 4784756, at *1; In re Gordon, 2019 WL

 11816606, at *1.       There is no justification to stray from this well-settled law.

 Moreover, the Recusal Order is not an appealable interlocutory order under § 1292(a).

 Nobby Lobby, 970 F.2d at 85-86 & n.3; In re Dorsey, 489 F. App’x at 764.

        For these reasons, the Court finds, as it must, that the Recusal Order is an

 interlocutory order from which no appeal lies prior to the Bankruptcy Court entering

 a final judgment. See Willis, 263 F.3d at 163; Nobby Lobby, 970 F.2d at 85-86 & n.3;

 In re Corrugated Container Antitrust Litig., 614 F.2d at 960. Therefore, the Court lacks

 jurisdiction over this appeal.

               B.     Leave to Bring an Interlocutory Appeal

        Appellants’ last hope for their appeal is securing leave of this Court to bring an

 interlocutory appeal of the Recusal Order. 28 U.S.C. § 158(a)(3) (district courts may

 hear appeals “with leave of the court, from other interlocutory orders” of the

 bankruptcy court). Appellants were required to file a motion for leave to appeal




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 contemporaneously with their notice of appeal. FED. R. BANKR. P. 8004(a).             The

 motion for leave to appeal must also include certain contents. Id. 8004(b). Despite

 these unambiguous requirements of the Bankruptcy Rules, Appellants did not comply

 with them. Their failure, however, does not foreclose the appeal entirely because

 Bankruptcy Rule 8004(d) permits the Court to “treat the notice of appeal as a motion

 for leave and either grant it or deny it.”       FED. R. BANKR. P. 8004(c).       In their

 jurisdictional brief, Appellants ask the Court to treat their Notice of Appeal as a motion

 for leave to appeal should the Court find the Recusal Order is an interlocutory order.

 Appellants’ Resp. (Doc. No. 29) at 8. The Court turns now to this analysis.

       Section 158(a)(3) does not articulate the standard a district court must use in

 deciding whether to grant leave in its discretion, but “[c]ourts in the Fifth Circuit . . .

 have applied 28 U.S.C. § 1292(b), the standard governing interlocutory appeals

 generally.” In re Hallwood Energy, L.P., Civ. Action No. 3:12-CV-1902-G, 2013 WL

 524418, at *2 (N.D. Tex. Feb. 11, 2013)(Fish, SJ) (citing In re Ichinose, 946 F.2d 1169,

 1177 (5th Cir. 1991); Panda Energy Int’l, Inc. v. Factory Mut. Ins., 2011 WL 610016, at

 *3 (N.D. Tex. Feb. 14, 2011)(Kinkeade, J.)); accord Rivas v. Weisbart, 2019 WL

 5579726, at *2 (E.D. Tex. Oct. 28, 2019); Celadon Trucking Servs., Inc. v. Moser, 2019

 WL 4226854, at *2 (E.D. Tex. Sept. 4, 2019).           There are three elements of the

 § 1292(b) standard: “(1) a controlling issue of law must be involved; (2) the question




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 must be one where there is substantial ground for difference of opinion; and (3) an

 immediate appeal must materially advance the ultimate termination of the litigation.”

 In re Ichinose, 946 F.2d at 1177. An appeal of an interlocutory order is appropriate only

 where all three elements are satisfied. See In re Genter, Civ. Action No. 3:19-CV-1951-

 E, 2020 WL 3129637, at *2 (N.D. Tex. June 12, 2020)(Brown, J.) (citing Arparicio v.

 Swan Lake, 643 F.2d 1109, 1110 n.2 (5th Cir. 1981)). “The Fifth Circuit disfavors

 interlocutory appeals and leave to appeal is sparingly granted.” Id. (internal citations

 omitted); In re Hallwood Energy, 2013 WL 524418, at *2 (“[I]nterlocutory appeals are

 ‘sparingly granted’ and reserved for ‘exceptional’ cases.”) (internal citations omitted).

 The decision whether to grant an interlocutory appeal is firmly within the district

 court’s discretion. Panda Energy Int’l, 2011 WL 610016, at *3.

        In this case, there is no controlling question of law with substantial grounds for

 disagreement for which resolution would materially advance the end of the bankruptcy

 litigation. It is well-settled that a recusal motion under § 455 is left to the sound

 discretion of the judge. Chitimacha Tribe of La. v. Harry L. Laws Co., 690 F.2d 1157,

 1166 (5th Cir. 1982); see In re Pendergraft, 745 F. App’x 517, 520 (5th Cir. 2018) (citing

 Trevino v. Johnson, 168 F.3d 173, 178 (5th Cir. 1999)). “[C]ontrolling issue of law is

 one that has ‘the potential for substantially accelerating the disposition of the litigation’

 and does not concern ‘matters that are entrusted to the discretion of the bankruptcy




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 court.’” In re Moerbe, 2005 WL 3337634, at *4 (W.D. Tex. Sept. 1, 2005) (quoting In

 re Aquatic Dev. Group, Inc., 196 B.R. 666, 669 (S.D.N.Y. 1996)). The Recusal Order

 was an exercise of the Bankruptcy Judge’s discretion, so there is no controlling issue of

 law presented. Cf. In re Tullius, 2011 WL 5006673, at *3 (W.D. Tex. Oct. 20, 2011).

 Appellants also cannot satisfy the second factor because the Court cannot find there

 exists substantial ground for difference of opinion as to the Recusal Motion.

           [C]ourts have found substantial ground for difference of opinion
           where a trial court rules in a manner which appears contrary to
           the rulings of all Courts of Appeals which have reached the issue,
           if the circuits are in dispute on the question and the Court of
           Appeals of the circuit has not yet spoken on the point, if
           complicated questions arise under foreign law, or if novel and
           difficult questions of first impression are presented.

 Ryan v. Flowserve Corp., 444 F.Supp.2d 718, 723-24 (N.D. Tex. 2006)(Boyle, J.)

 (internal citation omitted).   The Recusal Order does not fall within any of those

 categories. Simply because Appellants believe the Bankruptcy Court ruled incorrectly

 does not demonstrate substantial ground for disagreement. Id. at 724. Finally, the

 third element eludes Appellants as well. An interlocutory appeal of the Recusal Order

 will in no way materially advance the ultimate end to this bankruptcy matter.

       The Fifth Circuit strongly disfavors interlocutory appeals and, accordingly, they

 are rarely granted and reserved for “exceptional cases”. See, e.g., In re Genter, 2020 WL

 3129637, at *2. Appellants failed to satisfy any of the three § 1292(b) criteria. Id.




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 Therefore, in its discretion, the Court denies Appellants leave to take an interlocutory

 appeal of the Bankruptcy Court’s Recusal Order.

        Finally, the Court turns to the remaining arguments Appellants assert. First, the

 Court declines to sua sponte withdraw the reference of Appellants’ motion for the

 bankruptcy judge to recuse herself.       The case Appellants cite in support of this

 suggestion is inapposite here. In the unpublished Fifth Circuit opinion, Maddox v.

 Cockrell, 2003 U.S. App. LEXIS 28958 (5th Cir. 2003), the appellant sought leave to

 appeal the dismissal of his 28 U.S.C. § 2254 petition. See generally Maddox v. Cockrell,

 2003 U.S. App. LEXIS 28958.          The magistrate judge recommended dismissal the

 § 2254 petition and the district judge adopted the recommendation and dismissed the

 petition. See id. at *1-2. The Fifth Circuit did not address the merits of the dismissal,

 but, instead, sua sponte vacated the district court’s final judgment and remanded with

 instructions to assign the case to a different district judge. Id. at *2. The Fifth Circuit’s

 reasoning—the district judge was the spouse of the magistrate judge and the pro se

 prisoner likely did not know nor could he have reasonably known this. Id. Unlike the

 unusual and exceptional facts in Maddox, the Court does not find this appeal to justify

 sua sponte withdrawing the reference of and ruling on Appellants’ motion to recuse.

        The Court also finds no justification for treating Appellants’ notice of appeal as

 a petition for writ of mandamus, which Appellants also request. A question of recusal




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 is reviewable on a petition for writ of mandamus. United States v. Gregory, 656 F.2d

 1132, 1136 (5th Cir. 1981); In re Placid Oil Co., 802 F.2d 783, 786 (5th Cir. 1986); In

 re Cameron Int’l Corp., 393 F. App’x 133, 134-35 (5th Cir. 2010). “However, the writ

 will not lie in the absence of exceptional circumstances, and the party seeking the writ

 has the burden of proving a clear and indisputable right to it.” In re Placid Oil Co., 802

 F.2d at 786 (citing Gregory, 656 F.2d at 1136); accord In re Cameron Int’l Corp., 393 F.

 App’x at 134-35. Appellants fail to make the required showing. The Court refuses to

 construe Appellants’ appeal as a petition for writ of mandamus.

              C.     Conclusion

       The well-established precedent in the Fifth Circuit is that no jurisdiction lies

 over an appeal of a motion to recuse until final judgment has been entered. Appellants

 make arguments about potential inefficiency and wasted resources if they must wait to

 appeal the Recusal Order until the final judgment has been entered.            But these

 arguments are not novel.     The Court is certain those same arguments have been

 advanced in other courts considering this same issue and those courts have rejected

 them, as this Court does here. Appellants would have this Court carve out an exception

 to the well-settled law for them without any justifiable basis other than because they

 think the Bankruptcy Judge was wrong. Appellants must await final judgment, or other




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 final resolution, of their bankruptcy proceeding in order to appeal the Recusal Order.

 This Court has no jurisdiction to hear this appeal.

       IV.    Conclusion

       The Recusal Order is not a final, appealable order, is not subject to the collateral

 order doctrine, and is not an appealable interlocutory order under § 1292(a) and the

 Court is without jurisdiction over this appeal of the Bankruptcy Court’s Recusal

 Order. The Court further denies Appellants leave to appeal the Recusal Order under

 § 1292(b), denies Appellants’ request to withdraw the reference of their motion to

 recuse, and denies Appellants’ request to construe their appeal as a petition for writ of

 mandamus. Accordingly, the Court dismisses this appeal for lack of jurisdiction.

       SO ORDERED.

       Signed February 9th, 2022.

                                          ______________________________________
                                          ED KINKEADE
                                          UNITED STATES DISTRICT JUDGE




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                                                                                                                     (1926-2013)




                                                               May 19, 2022


           Mrs. Nan R. Eitel
           Office of the General Counsel
           Executive Office for U.S. Trustees
           20 Massachusetts Avenue, NW
           8th Floor
           Washington, DC 20530
                       Re:         Highland Capital Management, L.P. – USBC Case No. 19-34054sgj11
           Dear Nan,
                    The purpose of this letter is to request that your office investigate the circumstances
           surrounding the sale of claims by members of the Official Committee of Unsecured Creditors
           (“Creditors’ Committee”) in the bankruptcy of Highland Capital Management, L.P. (“Highland”
           or “Debtor”). As described in detail below, there is sufficient evidence to warrant an immediate
           investigation into whether non-public inside information was furnished to claims purchasers.
           Further, there is reason to suspect that selling Creditors’ Committee members may have violated
           their fiduciary duties to the estate by tying themselves to claims sales at a time when they should
           have been considering meaningful offers to resolve the bankruptcy. Indeed, three of four
           Committee members sold their claims without advance disclosure, in violation of applicable
           guidelines from the U.S. Trustee’s Office. This letter contains a description of information and
           evidence we have been able to gather, and which we hope your office will take seriously.
                    By way of background, Highland, an SEC-registered investment adviser, filed for
           Chapter 11 bankruptcy protection in the United States Bankruptcy Court for the District of
           Delaware on October 16, 2019, listing over $550 million in assets and net $110 million in
           liabilities. The case eventually was transferred to the Northern District of Texas, to Judge Stacey
           G.C. Jernigan. Highland’s decision to seek bankruptcy protection primarily was driven by an
           expected net $110 million arbitration award in favor of the “Redeemer Committee.” 1 After
           nearly 30 years of successful operations, Highland and its co-founder, James Dondero, were
           advised by Debtor’s counsel that a court-approved restructuring of the award in Delaware was in
           Highland’s best interest.

           1
             The “Redeemer Committee” was a group of investors in a Debtor-managed fund called the “Crusader Fund” that
           sought to redeem their interests during the global financial crisis. To avoid a run on the fund at low-watermark
           prices, the fund manager temporarily suspended redemptions, which resulted in a dispute between the investors and
           the fund manager. The ultimate resolution involved the formation of the “Redeemer Committee” and an orderly
           liquidation of the fund, which resulted in the investors receiving their investment plus a return versus the 20 cents on
           the dollar they would have received had the fund been liquidated when the redemption requests were made.




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       I became involved in Highland’s bankruptcy through my representation of The Dugaboy
Investment Trust (“Dugaboy”), an irrevocable trust of which Mr. Dondero is the primary
beneficiary. Although there were many issues raised by Dugaboy and others in the case where
we disagreed with the Court’s rulings, we will address those issues through the appeals process.
       From the outset of the case, the Creditors’ Committee and the U.S. Trustee’s Office in
Dallas pushed to replace the existing management of the Debtor. To avoid a protracted dispute
and to facilitate the restructuring, on January 9, 2020, Mr. Dondero reached an agreement with
the Creditors’ Committee to resign as the sole director of the Debtor’s general partner, on the
condition that he would be replaced by three independent directors who would act as fiduciaries
of the estate and work to restructure Highland’s business so it could continue operating and
emerge from bankruptcy as a going concern. The agreement approved by the Bankruptcy Court
allowed Mr. Dondero, UBS (which held one of the largest claims against the estate), and the
Redeemer Committee each to choose one director and also established protocols for operations
going forward. Mr. Dondero chose The Honorable Former Judge Russell F. Nelms, UBS chose
John Dubel, and the Redeemer Committee chose James Seery. 2 It was expected that the new,
independent management would not only preserve Highland’s business but would also preserve
jobs and enable continued collaboration with charitable causes supported by Highland and Mr.
Dondero.
        Judge Jernigan confirmed Highland’s Fifth Amended Plan of Reorganization on February
22, 2021 (the “Plan”). We have appealed certain aspects of the Plan and will rely upon the Fifth
Circuit Court of Appeals to determine whether our arguments have merit. I write instead to call
to your attention the possible disclosure of non-public information by Committee members and
other insiders and to seek review of actions by Committee members that may have breached their
fiduciary duties—both serious abuses of process.
           1.      The Bankruptcy Proceedings Lacked The Required Transparency, Due In
                   Part To the Debtor’s Failure To File Rule 2015.3 Reports
        Congress, when it drafted the Bankruptcy Code and created the Office of the United
States Trustee, intended to ensure that an impartial party oversaw the enforcement of all rules
and guidelines in bankruptcy. Since that time, the Executive Office for United States Trustees
(the “EOUST”) has issued guidance and published rules designed to effectuate that purpose. To
that end, EOUST recently published a final rule entitled “Procedures for Completing Uniform
Periodic Reports in Non-Small Business Cases Filed Under Chapter 11 of Title 11” (the
“Periodic Reporting Requirements”). The Periodic Reporting Requirements reaffirmed the
EOUST’s commitment to maintaining “uniformity and transparency regarding a debtor’s
financial condition and business activities” and “to inform creditors and other interested parties
of the debtor’s financial affairs.” 85 Fed. Reg. 82906. The goal of the Periodic Reporting
Requirements is to “assist the court and parties in interest in ascertaining, [among other things],
the following: (1) Whether there is a substantial or continuing loss to or diminution of the
bankruptcy estate; . . . (3) whether there exists gross mismanagement of the bankruptcy estate; . .
. [and] (6) whether the debtor is engaging in the unauthorized disposition of assets through sales
or otherwise . . . .” Id.
        Transparency has long been an important feature of federal bankruptcy proceedings. The
EOUST instructs that “Debtors-in-possession and trustees must account for the receipt,
administration, and disposition of all property; provide information concerning the estate and the
estate’s administration as parties in interest request; and file periodic reports and summaries of a
debtor’s business, including a statement of receipts and disbursements, and such other
2
    See Appendix, pp. A-3 - A-14.



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information as the United States Trustee or the United States Bankruptcy Court requires.” See
http://justice.gov/ust/chapter-11-information (citing 11 U.S.C. § 1106(a)(1), 1107(a)). And
Federal Rule of Bankruptcy Procedure 2015.3(a) states that “the trustee or debtor in possession
shall file periodic financial reports of the value, operations, and profitability of each entity that is
not a publicly traded corporation or a debtor in a case under title 11, and in which the estate
holds a substantial or controlling interest.” This rule requires the trustee or a debtor in
possession to file a report for each non-debtor affiliate prior to the first meeting of creditors and
every six months thereafter until the effective date of a plan of reorganization. Fed R. Bankr. P.
2015.3(b). Importantly, the rule does not absolve a debtor from filing reports due prior to the
effective date merely because a plan has become effective. 3 Notably, the U.S. Trustee has the
duty to ensure that debtors in possession properly and timely file all required reports. 28 U.S.C.
§ 1112(b)(4)(F), (H).
        The entire purpose of these guidelines and rules is to ensure that external stakeholders
can fairly evaluate the progress of bankruptcy proceedings, including compliance with legal
requirements. In fact, 11 U.S.C. § 1102(b)(3) requires a creditors’ committee to share
information it receives with those who “hold claims of the kind represented by the committee”
but who are not appointed to the committee. In the case of the Highland bankruptcy, the
transparency that the EOUST mandates and that creditors’ committees are supposed to facilitate
has been conspicuously absent. I have been involved in a number of bankruptcy cases
representing publicly-traded debtors with affiliated non-debtor entities, much akin to Highland’s
structure here. In those cases, when asked by third parties (shareholders or potential claims
purchasers) for information, I directed them to the schedules, monthly reports, and Rule 2015.3
reports. In this case, however, no Rule 2015.3 reports were filed, and financial information that
might otherwise be gleaned from the Bankruptcy Court record is unavailable because a large
number of documents were filed under seal or heavily redacted. As a result, the only means to
make an informed decision as to whether to purchase creditor claims and what to pay for those
claims had to be obtained from non-public sources.
        It bears repeating that the Debtor and its related and affiliated entities failed to file any of
the reports required under Bankruptcy Rule 2015.3. There should have been at least four such
reports filed on behalf of the Debtor and its affiliates during the bankruptcy proceedings. The
U.S. Trustee’s Office in Dallas did nothing to compel compliance with the rule.
        The Debtor’s failure to file the required Rule 2015.3 reports was brought to the attention
of the Debtor, the Bankruptcy Court, and the U.S. Trustee’s Office. During the hearing on Plan
confirmation, the Debtor was questioned about the failure to file the reports. The sole excuse
offered by the Debtor’s Chief Restructuring Officer and Chief Executive Officer, Mr. Seery, was
that the task “fell through the cracks.” 4 This excuse makes no sense in light of the years of
bankruptcy experience of the Debtor’s counsel and financial advisors. Nor did the Debtor or its
counsel ever attempt to show “cause” to gain exemption from the reporting requirement. That is
because there was no good reason for the Debtor’s failure to file the required reports. In fact,
although the Debtor and the Creditors’ Committee often refer to the Debtor’s structure as a
“byzantine empire,” the assets of the estate fall into a handful of discrete investments, most of
which have audited financials and/or are required to make monthly or quarterly net-asset-value
or fair-value determinations.5 Rather than disclose financial information that was readily
3
  After notice and a hearing, the bankruptcy court may grant relief from the Rule 2015.3 disclosure requirement “for
cause,” including that “the trustee or debtor in possession is not able, after a good faith effort, to comply with th[e]
reporting requirements, or that the information required by subdivision (a) is publicly available.” Fed. R. Bankr.
2015.3(d).
4
  See Doc. 1905 (Feb. 3, 2021 Hr’g Tr. at 49:5-21).
5
  During a deposition, the Debtor’s Chief Restructuring Officer, Mr. Seery, identified most of the Debtor’s assets
“[o]ff the top of [his] head” and acknowledged that he had a subsidiary ledger that detailed the assets held by entities



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available, the Debtor appears to have taken deliberate and strategic steps to avoid transparency,
and the U.S. Trustee’s Office did nothing to rectify the problem.
         By contrast, the Debtor provided the Creditors’ Committee with robust weekly
information regarding (i) transactions involving assets held directly on the Debtor’s balance
sheet or the balance sheet of the Debtor’s wholly owned subsidiaries, (ii) transactions involving
entities managed by the Debtor and in which the Debtor holds a direct or indirect interest, (iii)
transactions involving entities managed by the Debtor but in which the Debtor does not hold a
direct or indirect interest, (iv) transactions involving entities not managed by the Debtor but in
which the Debtor holds a direct or indirect interest, (v) transactions involving entities not
managed by the Debtor and in which the Debtor does not hold a direct or indirect interest, (vi)
transactions involving non-discretionary accounts, and (vii) weekly budget-to-actuals reports
referencing non-Debtor affiliates’ 13-week cash flow budget. In other words, the Committee had
real-time, actual information with respect to the financial affairs of non-debtor affiliates, and this
is precisely the type of information that should have been disclosed to the public pursuant to
Rule 2015.3.
        After the claims at issue were sold, I filed a Motion to Compel compliance with the
reporting requirement. Judge Jernigan held a hearing on the motion on June 10, 2021.
Astoundingly, the U.S. Trustee’s Office took no position on the Motion and did not even bother
to attend the hearing. Ultimately, on September 7, 2021, the Court denied the Motion as “moot”
because the Plan had by then gone effective. I have appealed that ruling because, again, the Plan
becoming effective does not alleviate the Debtor’s burden of filing the requisite reports.
        The U.S. Trustee’s Office also failed to object to the Court’s order confirming the
Debtor’s Plan, in which the Court appears to have released the Debtor from its obligation to file
any reports after the effective date of the Plan that were due for any period prior to the effective
date, an order that likewise defeats any effort to demand transparency from the Debtor. The U.S.
Trustee’s failure to object to this portion of the Court’s order is directly at odds with the spirit
and mandate of the Periodic Reporting Requirements, which recognize the U.S. Trustee’s duty to
ensure that debtors timely file all required reports.
        2.      There Was No Transparency Regarding The Financial Affairs Of Non-
                Debtor Affiliates Or Transactions Between The Debtor And Its Affiliates
        The Debtor’s failure to file Rule 2015.3 reports for affiliate entities created additional
transparency problems for interested parties and creditors wishing to evaluate assets held in non-
Debtor subsidiaries. In making an investment decision, it would be important to know if the
assets of a subsidiary consisted of cash, marketable securities, other liquid assets, or operating
businesses/other illiquid assets. The Debtor’s failure to file Rule 2015.3 reports hid from public
view the composition of the assets and the corresponding liabilities at the subsidiary level.
During the course of proceedings, the Debtor sold $172 million in assets, which altered the asset
mix and liabilities of the Debtor’s affiliates and controlled entities. Although Judge Jernigan
held that such sales did not require Court approval, a Rule 2015.3 report would have revealed the
mix of assets and the corresponding reduction in liabilities of the affiliated or controlled entity.
In the Appendix, I have included a schedule of such sales.
       Of particular note, the Court authorized the Debtor to place assets that it acquired with
“allowed claim dollars” from HarbourVest (a creditor with a contested claim against the estate)
into a specially-created non-debtor entity (“SPE”).6 The Debtor’s motion to settle the

below the Debtor. See Appendix, p. A-19 (Jan. 29, 2021 Dep. Tr. at 22:4-10; 23:1-29:10).
6
  Prior to Highland’s bankruptcy, HarbourVest had invested $80 million into a Highland fund called Acis Loan
Funding, later rebranded as Highland CLO Funding, Ltd. (“HCLOF”). A dispute later arose between HarbourVest



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HarbourVest claim valued the asset acquired (HarbourVest’s interest in HCLOF) at $22 million.
In reality, that asset had a value of $40 million, and had the asset been placed in the Debtor
entity, its true value would have been reflected in the Debtor’s subsequent reporting. By instead
placing the asset into an SPE, the Debtor hid from public view the true value of the asset as well
as information relating to its disposition; all the public saw was the filed valuation of the asset.
The U.S. Trustee did not object to the Debtor’s placement of the HarbourVest assets into an SPE
and apparently just deferred to the judgment of the Creditors’ Committee about whether this was
appropriate.7 Again, when the U.S. Trustee’s Office does not require transparency, lack of
transparency significantly increases the need for non-public information. Because the
HarbourVest assets were placed in a non-reporting entity, no potential claims buyer without
insider information could possibly ascertain how the acquisition would impact the estate.
        3.       The Plan’s Improper Releases And Exculpation Provisions Destroyed Third-
                 Party Rights
        In addition, the Debtor’s Plan contains sweeping release, exculpation provisions, and a
channeling injunction requiring that any permitted causes of action to be vetted and resolved by
the Bankruptcy Court. On their face, these provisions violate Pacific Lumber, in with the United
States Court of Appeals for the Fifth Circuit rejected similarly broad exculpation clauses. The
U.S. Trustee’s Office in Dallas has, in all cases but this one, vigorously protected the rights of
third parties against such exculpation clauses. In this case, the U.S. Trustee’s Office objected to
the Plan, but it did not pursue that objection at the confirmation hearing (nor even bother to
attend the first day of the hearing), 8 nor did it appeal the order of the Bankruptcy Court
approving the Plan and its exculpation clauses.
        As a result of this failure, third-party investors in entities managed by the Debtor are now
barred from asserting or channeled into the Bankruptcy Court to assert any claim against the
Debtor or its management for transactions that occurred at the non-debtor affiliate level. Those
investors’ claims are barred notwithstanding that they were not notified of the releases and have
never been given any information with which to evaluate their potential claims, nor given the
opportunity to “opt out.” Conversely, the releases insulate claims purchasers from the risk of
potential actions by investors in funds managed by the Debtor (for breach of fiduciary duty,
diminution in value, or otherwise). These releases are directly at odds with investors’
expectations when they invest in managed funds—i.e., that fund managers will act in a fiduciary
capacity to maximize investors’ returns and that investors will have recourse for any failure to do
so. While the agreements executed by investors may limit the exposure of fund managers,
typically those provisions require the fund manager to obtain a third-party fairness opinion where
there is a conflict between the manager’s duty to the estate and his duty to fund investors.
       As an example, the Court approved the settlement of UBS’s claim against the Debtor and
two funds managed by the Debtor (collectively referred to as “MultiStrat”). Pursuant to that
settlement, MultiStrat agreed to pay UBS $18.5 million and represented that it was advised by
“independent legal counsel” in the negotiation of the settlement. 9 That representation is untrue;

and Highland, and HarbourVest filed claims in the Highland bankruptcy approximating $300 million in relation to
damages allegedly due to HarbourVest as a result of that dispute. Although the Debtor initially placed no value on
HarbourVest’s claim (the Debtor’s monthly operating report for December 2020 indicated that HarbourVest’s
allowed claims would be $0), eventually the Debtor entered into a settlement with HarbourVest—approved by the
Bankruptcy Court—which entitled HarbourVest to $80 million in claims. In return, HarbourVest agreed to convey
its interest in HCLOF to the SPE designated by the Debtor and to vote in favor of the Debtor’s Plan.
7
  Dugaboy has appealed the Bankruptcy Court’s ruling approving the placement of the HarbourVest assets into a
non-reporting SPE.
8
  See Doc. 1894 (Feb. 2, 2021 Hr’g Tr. at 10:7-14).
9
  See Doc. 2389 (Order Approving Debtor’s Settlement With UBS Securities LLC and UBS AG London Branch) at



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MultiStrat did not have separate legal counsel and instead was represented only by the Debtor’s
counsel.10 If that representation and/or the terms of the UBS/MultiStrat settlement in some way
unfairly impacted MultiStrat’s investors, they now have no recourse against the Debtor. The
release and exculpation provisions in Highland’s Plan do not afford third parties any meaningful
recourse to third parties, even when they are negatively impacted by misrepresentations of the
type contained in the UBS/MultiStrat settlement or when their interests are impaired by fund
managers’ failure to obtain fairness opinions to resolve conflicts of interest.
        The U.S. Trustee’s Office recently has argued in the context of the bankruptcy of Purdue
Pharmaceuticals that release and exculpations clauses akin to those contained in Highland’s Plan
violate both the Bankruptcy Code and the Due Process Clause of the United States
Constitution.11 It has been the U.S. Trustee’s position that where, as here, third parties whose
claims are being released did not receive notice of the releases and had no way of knowing,
based on the Plan’s language, what claims were extinguished, third-party releases are contrary to
law.12 This position comports with Fifth Circuit case law, which makes clear that releases must
be consensual, and that the released party must make a substantial contribution in exchange for
any release.      Highland’s Plan does not provide for consent by third parties (or an opt-out
provision), nor does it require that released parties provide value for their releases. Under these
circumstances, it is difficult to understand why the U.S. Trustee’s Office in Dallas did not lodge
an objection to the Plan’s release and exculpation provisions. Several parties have appealed this
issue to the Fifth Circuit.
        4.       The Lack Of Transparency Facilitated Potential Insider Trading
         The biggest problem with the lack of transparency at every step is that it created a need
for access to non-public confidential information. The Debtor (as well as its advisors and
professionals) and the Creditors’ Committee (and its counsel) were the only parties with access
to critical information upon which any reasonable investor would rely. But the public did not.
        In the context of this non-transparency, it is notable that three of the four members of the
Creditors’ Committee and one non-committee member sold their claims to two buyers, Muck
Holdings LLC (“Muck”) and Jessup Holdings LLC (“Jessup”). The four claims that were sold
comprise the largest four claims in the Highland bankruptcy by a substantial margin, 13
collectively totaling almost $270 million in Class 8 claims and $95 million in Class 9 claims 14:
  Claimant                         Class 8 Claim             Class 9 Claims             Date Claim Settled
  Redeemer Committee               $136,696,610              N/A                        October 28, 2020
  Acis Capital                     $23,000,000               N/A                        October 28, 2020
  HarbourVest                      $45,000,000               $35,000,000                January 21, 2021
  UBS                              $65,000,000               $60,000,000                May 27, 2021
  TOTAL:                           $269,6969,610             $95,000,000
       Muck is owned and controlled by Farallon Capital Management (“Farallon”), and we
have reason to believe that Jessup is owned and controlled by Stonehill Capital Management
(“Stonehill”). As the purchasers of the four largest claims in the bankruptcy, Muck (Farallon)

Ex. 1, §§ 1(b), 11; see Appendix, p. A-57.
10
   The Court’s order approving the UBS settlement is under appeal in part based on MultiStrat’s lack of independent
legal counsel.
11
   See Memorandum of Law in Support of United States Trustee’s Expedited Motion for Stay of Confirmation
Order, In re Purdue Pharma, L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.), Doc. 3778 at 17-25.
12
   See id. at 22.
13
   See Appendix, p. A-25.
14
   Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.



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and Jessup (Stonehill) will oversee the liquidation of the Reorganized Debtor and the payment
over time to creditors who have not sold their claims.
        This is concerning because there is substantial evidence that Farallon and Stonehill may
have been provided material, non-public information to induce their purchase of these claims. 15
In particular, there are three primary reasons we believe that non-public information was made
available to facilitate these claims purchases:
                 The scant publicly-available information regarding the Debtor’s estate ordinarily
                  would have dissuaded sizeable investment in purchases of creditors’ claims;
                 The information that actually was publicly available ordinarily would have
                  compelled a prudent investor to conduct robust due diligence prior to purchasing
                  the claims;

                 Yet these claims purchasers spent in excess of $100 million (and likely closer to
                  $150 million) on claims, ostensibly without any idea of what they were
                  purchasing.
         We believe the claims purchases of Stonehill and Farallon can be summarized as follows:
     Creditor             Class 8         Class 9        Purchaser                       Purchase Price
     Redeemer            $137.0          $0.0            Stonehill                      $78.016
     ACIS                $23.0           $0.0            Farallon                       $8.0
     HarbourVest         $45.0           $35.0           Farallon                       $27.0
     UBS                 $65.0           $60.0           Stonehill and Farallon         $50.017


       To elaborate on our reasons for suspicion, an analysis of publicly-available information
would have revealed to any potential investor that:
                 There was a $200 million dissipation in the estate’s asset value, which started at a
                  scheduled amount of $556 million on October 16, 2019, then plummeted to $328
                  million as of September 30, 2020, and then increased only slightly to $364 million
                  as of January 31, 2021.18

15
   A timeline of relevant events can be found at Appendix, p. A-26.
16
   See Appendix, pp. A-70 – A-71. Because the transaction included “the majority of the remaining investments held
by the Crusader Funds,” the net amount paid by Stonehill for the Claims was approximately $65 million.
17
   Based on the publicly-available information at the time Stonehill and Farallon purchased the UBS claim, the
purchase made no economic sense. At the time, the publicly-disclosed Plan Analysis estimated that there would be
a 71.32% distribution to Class 8 creditors and a 0.00% distribution to Class 9 creditors, which would mean that
Stonehill and Farallon paid $50 million for claims worth only $46.4 million. See Appendix, p. A-28. If, however,
Stonehill and Farallon had access to information that only came to light later—i.e., that the estate was actually worth
much, much more (between $472-600 million as opposed to $364 million)—then it makes sense that they would pay
what they did to buy the UBS claim.
18
   Compare Jan. 31, 2021 Monthly Operating Report [Doc. 2030], with Disclosure Statement (approved on Nov. 24,
2020) [Doc. 1473]. The increase in value between September 2020 and January 2021 is attributable to the Debtor’s
settlement with HarbourVest, which granted HarbourVest a Class 8 claim of $45 million and a Class 9 Claim of $35
million, and in exchange the Debtor received HarbourVest’s interest in HCLOF, which we believe was worth
approximately $44.3 million as of January 31, 2021. See Appendix, p. A-25. It is also notable that the January 2021



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                 The total amount of allowed claims against the estate increased by $236 million;
                  indeed, just between the time the Debtor’s disclosure statement was approved on
                  November 24, 2020, and the time the Debtor’s exhibits were introduced at the
                  confirmation hearing, the amount of allowed claims increased by $100 million.

                 Due to the decrease in the value of the Debtor’s assets and the increase in the
                  allowed claims amount, the ultimate projected recovery for creditors in
                  bankruptcy went from 87.44% to 62.99% in just a matter of months. 19
No prudent investor or hedge fund investing third-party money would purchase substantial
claims out of the Highland estate based on this publicly-available information without
conducting thorough due diligence to be satisfied that the assets of the estate would not continue
to deteriorate or that the allowed claims against the estate would not continue to grow.
        There are other good reasons to investigate whether Muck and Jessup (through Farallon
and Stonehill) had access to material, non-public information that influenced their claims
purchasing. In particular, there are close relationships between the claims purchasers, on the one
hand, and the selling Creditors’ Committee members and the Debtor’s management, on the other
hand. What follows is our understanding of those relationships:
                 Farallon and Stonehill have long-standing, material, undisclosed relationships
                  with the members of the Creditors’ Committee and Mr. Seery. 20 Mr. Seery
                  formerly was the Global Head of Fixed Income Loans at Lehman Bros. until its
                  collapse in 2009. While at Lehman, Mr. Seery did a substantial amount of
                  business with Farallon. After the Lehman collapse, Mr. Seery joined Sidley &
                  Austin as co-head of the corporate restructuring and bankruptcy group, where he
                  worked with Matt Clemente, counsel to the Creditors’ Committee in these
                  bankruptcy proceedings.

                 In addition, Grovesnor, one of the lead investors in the Crusader Fund from the
                  Redeemer Committee (which appointed Seery as its independent director) both
                  played a substantial role on the Creditors’ Committee and is a large investor in
                  Farallon and Stonehill.
                 According to Farallon principals Raj Patel and Michael Linn, while at Sidley, Mr.
                  Seery represented Farallon in its acquisition of claims in the Lehman estate.

                 Also while at Sidley, Mr. Seery represented the Steering Committee in the
                  Blockbuster Video bankruptcy; Stonehill (through its Managing Member, John
                  Motulsky) was one of the five members of the Steering Committee.

                 Mr. Seery left Sidley in 2013 to become the President and Senior Investment
                  Partner of River Birch Capital, a hedge fund founded by his former Lehman
                  colleagues. He left River Birch in October 2017 just before the fund imploded.
                  In 2017, River Birch and Stonehill Capital were two of the biggest note holders in
                  the Toys R Us bankruptcy and were members of the Toys R Us creditors’

monthly financial report values Class 8 claims at $267 million, an exponential increase over their estimated value of
$74 million in December 2020.
19 See Appendix, pp. A-25, A-28.
20
   See Appendix, pp. A-2; A-62 – A-69.



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                   committee.

It does not seem a coincidence that two firms with such significant ties to Mr. Seery have
purchased $365 million in claims. The nature of the relationships and the absence of public data
warrants an investigation into whether the claims purchasers may have had access to non-public
information.
         Other transactions occurring during the Highland bankruptcy also reinforce the suspicion
that insider trading occurred. In particular, it appears that one of the claims buyers, Stonehill,
used non-public information obtained incident to the bankruptcy to purchase stock in NexPoint
Strategic Opportunities Fund (NYSE: NHF), a publicly traded, closed-end ’40 Act fund with
many holdings in common with assets held in the Highland estate outlined above. Stonehill is a
registered investment adviser with $3 billion under management that has historically owned very
few equity interests, particularly equity interests in a closed-end fund. As disclosed in SEC
filings, Stonehill acquired enough stock in NHF during the second quarter of 2021 to make it
Stonehill’s eighth largest equity position.
        The timing of the acquisitions of claims by Farallon and Stonehill also warrants
investigation. In particular, although notices of the transfer of the claims were filed immediately
after the confirmation of the Debtor’s Plan and prior to the effective date of the Plan, it seems
likely that negotiations began much earlier. Transactions of this magnitude do not take place
overnight and typically require robust due diligence. We know, for example, that Muck was
formed on March 9, 2021, more than a month before it filed notice that it was purchasing the
Acis claim. If the negotiation or execution of a definitive agreement for the purchase began
before or contemporaneously with Muck’s formation, then there is every reason to investigate
whether selling Creditors’ Committee members and/or Debtor management provided Farallon
with critical non-public information well before the Creditors’ Committee members sold their
claims and withdrew from the Committee. Indeed, Mr. Patel and Mr. Linn have stated to others
that they purchased the Acis and HarbourVest claims in late January or early February. We
believe an investigation will reveal whether negotiations of the sale and the purchase of claims
from Creditors’ Committee members preceded the confirmation of the Debtor’s Plan and the
resignation of those members from the Committee.
        Likewise, correspondence from the fund adviser to the Crusader Fund indicates that the
Crusader Fund and the Redeemer Committee had “consummated” the sale of the Redeemer
Committee’s claims and other assets on April 30, 2021, “for $78 million in cash, which was paid
in full to the Crusader Funds at closing.”21 We also know that there was a written agreement
among Stonehill, the Crusader Fund, and the Redeemer Committee that potentially dates back to
the fourth quarter of 2020. Presumably such an agreement, if it existed, would impose
affirmative and negative covenants upon the seller and grant the purchaser discretionary approval
rights during the pendency of the sale. An investigation by your office is necessary to determine
whether there were any such agreement, which would necessarily conflict with the Creditors’
Committee members’ fiduciary obligations.
       The sale of the claims by the members of the Creditors’ Committee also violates the
guidelines provided to committee members that require a selling committee member to obtain
approval from the Bankruptcy Court prior to any sale of such member’s claim. The instructions
provided by the U.S. Trustee’s Office (in this instance the Delaware Office) state:




21
     See Appendix, pp. A-70 – A-71.



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In this case, no Court approval was ever sought or obtained, and the Dallas U.S. Trustee’s Office
took no action to enforce this guideline. The Creditors’ Committee members were sophisticated
entities, and they were privy to inside information that was not available to other unsecured
creditors. For example, valuations of assets placed into a specially-created affiliated entities,
such as the assets acquired in the HarbourVest settlement, and valuations of assets held by other
entities owned or controlled by the Debtor, were available to the selling Creditors’ Committee
members, but not other creditors or parties-in-interest.
       While claims trading itself is not necessarily prohibited, the circumstances surrounding
claims trading often times prompt investigation due to the potential for abuse. This case
warrants such an investigation due to the following:
        a)     The selling parties were three of the four Creditors’ Committee members, and
               each one had access to information they received in a fiduciary capacity;
        b)     Some of the information they received would have been available to other parties-
               in-interest if Rule 2015.3 had been enforced;
        c)     The sales allegedly occurred after the Plan was confirmed, and certain other
               matters immediately thereafter came to light, such as the Debtor’s need for an exit
               loan (although the Debtor testified at the confirmation hearing that no loan was
               needed) and the inability of the Debtor to obtain Directors and Officer insurance;
        d)     The Debtor settled a dispute with UBS and obligated itself (using estate assets) to
               pursue claims and transfers and to transfer certain recoveries to UBS, as opposed
               to distributing those recoveries to creditors, and the Debtor used third-party assets
               as consideration for the settlement22;
        e)     The projected recovery to creditors changed significantly between the approval of
               the Disclosure Statement and the confirmation of the Debtor’s Plan; and

        f)     There was a suspicious purchase of stock by Stonehill in NHF, a closed-end fund
               that is publicly traded on the New York stock exchange. The Debtor’s assets and
               the positions held by the closed-end fund are similar.
        Further, there is reason to believe that insider claims-trading negatively impacted the
estate’s ultimate recovery. Immediately prior to the Plan confirmation hearing, Judge Jernigan
suggested that the Creditors’ Committee and Mr. Dondero attempt to reach a settlement. Mr.
Dondero, through counsel, made numerous offers of settlement that would have maximized the
estate’s recovery, even going so far as to file a proposed Plan of Reorganization. The Creditors’
Committee did not timely respond to these efforts. It was not until The Honorable Former Judge
D. Michael Lynn, counsel for Mr. Dondero, reminded the Creditors’ Committee counsel that its




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members had a fiduciary duty to respond that a response was forthcoming. Mr. Dondero’s
proposed plan offered a greater recovery than what the Debtor had reported would be the
expected Plan recovery. The Creditors’ Committee’s failure to timely respond to that offer
suggests that some members may have been contractually constrained from doing so, which
itself warrants investigation.
        We encourage the EOUST to question and explore whether, at the time that Mr.
Dondero’s proposed plan was filed, the Creditors’ Committee members already had committed
to sell their claims and therefore were contractually restricted from accepting Mr. Dondero’s
materially better offer. If that were the case, the contractual tie-up would have been a violation
of the Committee members’ fiduciary duties. The reason for the U.S. Trustee’s guideline
concerning the sale of claims by Committee members was to allow a public hearing on whether
Committee members were acting within the bounds of their fiduciary duties to the estate incident
to the sale of any claim. The failure to enforce this guideline has left open questions about sale
of Committee members’ claims that should have been disclosed and vetted in open court.
       In summary, the failure of the U.S. Trustee’s Office to demand appropriate reporting and
transparency created an environment where parties needed to obtain and use non-public
information to facilitate claims trading and potential violations of the fiduciary duties owed by
Creditors’ Committee members. At the very least, there is enough credible evidence to warrant
an investigation. It is up to the bankruptcy bar to alert your office to any perceived abuses to
ensure that the system is fair and transparent. The Bankruptcy Code is not written for those who
hold the largest claims but, rather, it is designed to protect all stakeholders. A second Neiman
Marcus should not be allowed to occur.
       We would appreciate a meeting with your office at your earliest possible convenience to
discuss the contents of this letter and to provide additional information and color that we believe
will be valuable in making a determination about whether and what to investigate. In the
interim, if you need any additional information or copies of any particular pleading, we would be
happy to provide those at your request.

                                                     Very truly yours,

                                                     /s/Douglas S. Draper

                                                     Douglas S. Draper

DSD:dh




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                 Relationships Among Debtor’s CEO/CRO, the UCC, and Claims Purchasers
                    Provided initial
                     seed capital
                                                                                                                  Hellman
                                           River          One of the largest
Lehman                                                                          Toys ‘R                              &
                                           Birch            note holders
 Bros.                                                                           Us BK                           Friedman
                                           Cap.




                                                                                       One of the largest
                                       Pres. and Senior




                                                                                         note holders
                                        Invest. Officer                                                            John                               Joseph
Creditor




                                                                                                                                    Law school
                                                                                                                  Motulsky          classmates        Nesler
                                        [2013 – 2017]



                                                                                                                                                 Longtime General
Farallon                                  Jim Seery                            Stonehill                                                             Counsel
  Cap.                                     Debtor’s                              Cap.
 Mgmt.                                     CEO and                              Mgmt.
                                             CRO
                                                                                                                                                      Grosvenor
                                                                                                                                                        Cap.
                                   Partner and Head of                                                                                                 Mgmt.
                                      NY BK Section
                                                                                                                        Redeemer
                                       [2009 – 2013]                                                                    Committe
                                                                                                                         e of the
                                                                                                                        Crusader
                                                                                                                          Fund
Blockbuste                                                                      HCMLP
   r BK                                   Sidley &                             Creditors
                    Counsel to             Austin           Counsel to UCC
                                                                               Committe
 Steering                                                  (Matt Clemente)        e                         Committee
Committee       Steering Committee
                                                                                                             Member
                    (Jim Seery)


                                                                                                                  UBS

                                                      Acquired Acis Claim                                                      *Is there an affiliate relationship
                                                                               Acis Cap.                                       between Stonehill, Grosvenor, and
                                                                                Mgmt.                                          Farallon? Has it been adequately
                                                                                                                               disclosed to the Court and investors?
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                          Seery Jan. 29, 2021 Testimony




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                             Sale of Assets of Affiliates or Controlled Entities

    Asset                                                   Sales Price
    Structural Steel Products                               $50 million
    Life Settlements                                        $35 million
    OmniMax                                                 $50 million
    Targa                                                   $37 million


          These assets were sold over the contemporaneous objections of James Dondero, who was the
           Portfolio Manager and key-man on the funds.
          Mr. Seery admitted1 that he must comply with the Bankruptcy Code, the Federal Rules of
           Bankruptcy Procedure, and the Protocols for the sale of major assets of the estate. We believe
           that a competitive bid process and court approval should have been required for the sale of each
           of these assets (as was done for the sale of the building at 2817 Maple Ave. [a $9 million asset]
           and the sale of the interest in PetroCap [a $3 million asset]).




1
    See Mr. Seery’s Jan. 29, 2021 deposition testimony, Appendix p. A-20.


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                               20 Largest Unsecured Creditors

 Name of Claimant                    Allowed Class 8     Allowed Class 9
 Redeemer Committee of the
 Highland Crusader Fund              $136,696,610.00
 UBS AG, London Branch and UBS
 Securities LLC
                                     $65,000,000.00      $60,000,000
 HarbourVest entities                $45,000,000.00      $35,000,000
 Acis Capital Management, L.P. and
 Acis Capital Management GP, LLC     $23,000,000.00
 CLO Holdco Ltd                      $11,340,751.26
 Patrick Daugherty
                                                         $2,750,000 (+$750,000 cash payment
                                     $8,250,000.00       on Effective Date of Plan)
 Todd Travers (Claim based on
 unpaid bonus due for Feb 2009)      $2,618,480.48
 McKool Smith PC                     $2,163,976.00
 Davis Deadman (Claim based on
 unpaid bonus due for Feb 2009)      $1,749,836.44
 Jack Yang (Claim based on unpaid
 bonus due for Feb 2009)             $1,731,813.00
 Paul Kauffman (Claim based on
 unpaid bonus due for Feb 2009)      $1,715,369.73
 Kurtis Plumer (Claim based on
 unpaid bonus due for Feb 2009)      $1,470,219.80
 Foley Gardere                       $1,446,136.66
 DLA Piper                           $1,318,730.36
 Brad Borud (Claim based on unpaid
 bonus due for Feb 2009)             $1,252,250.00
 Stinson LLP (successor to Lackey
 Hershman LLP)                       $895,714.90
 Meta-E Discovery LLC                $779,969.87
 Andrews Kurth LLP                   $677,075.65
 Markit WSO Corp                     $572,874.53
 Duff & Phelps, LLC                  $449,285.00
 Lynn Pinker Cox Hurst               $436,538.06
 Joshua and Jennifer Terry
                                     $425,000.00
 Joshua Terry
                                     $355,000.00
 CPCM LLC (bought claims of
 certain former HCMLP employees)     Several million
 TOTAL:                              $309,345,631.74     $95,000,000




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                                   Timeline of Relevant Events

 Date          Description
 10/29/2019    UCC appointed; members agree to fiduciary duties and not sell claims.
 9/23/2020     Acis 9019 filed
 9/23/2020     Redeemer 9019 filed
 10/28/2020    Redeemer settlement approved
 10/28/2020    Acis settlement approved
 12/24/2020    HarbourVest 9019 filed
 1/14/2021     Motion to appoint examiner filed
 1/21/2021     HarbourVest settlement approved; transferred its interest in HCLOF to HCMLP
               assignee, valued at $22 million per Seery
 1/28/2021     Debtor discloses that it has reached an agreement in principle with UBS
 2/3/2021      Failure to comply with Rule 2015.3 raised
 2/24/2021     Plan confirmed
 3/9/2021      Farallon Cap. Mgmt. forms “Muck Holdings LLC” in Delaware
 3/15/2021     Debtor files Jan. ‘21 monthly operating report indicating assets of $364 million,
               liabilities of $335 million (inclusive of $267,607,000 in Class 8 claims, but exclusive
               of any Class 9 claims), the last publicly filed summary of the Debtor's assets. The
               MOR states that no Class 9 distributions are anticipated at this time and Class 9
               recoveries are not expected.
 3/31/2021     UBS files friendly suit against HCMLP under seal
 4/8/2021      Stonehill Cap. Mgmt. forms “Jessup Holdings LLC” in Delaware
 4/15/2021     UBS 9019 filed
 4/16/2021     Notice of Transfer of Claim - Acis to Muck (Farallon Capital)
 4/29/2021     Motion to Compel Compliance with Rule 2015.3 Filed
 4/30/2021     Notice of Transfer of Claim - Redeemer to Jessup (Stonehill Capital)
 4/30/2021     Notice of Transfer of Claim - HarbourVest to Muck (Farallon Capital)
 4/30/2021     Sale of Redeemer claim to Jessup (Stonehill Capital) "consummated"
 5/27/2021     UBS settlement approved; included $18.5 million in cash from Multi-Strat
 6/14/2021     UBS dismisses appeal of Redeemer award
 8/9/2021      Notice of Transfer of Claim - UBS to Jessup (Stonehill Capital)
 8/9/2021      Notice of Transfer of Claim - UBS to Muck (Farallon Capital)

Critical unknown dates and information:

      The date on which Muck entered into agreements with HarbourVest and Acis to acquire their
       claims and what negative and affirmative covenants those agreements contained.
      The date on which Jessup entered into an agreement with the Redeemer Committee and the
       Crusader Fund to acquire their claim and what negative and affirmative covenants the agreement
       contained.
      The date on which the sales actually closed versus the date on which notice of the transfer was
       filed (i.e., did UCC members continue to serve on the committee after they had sold their claims).



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                 Debtor’s October 15, 2020 Liquidation Analysis [Doc. 1173-1]

                                                                 Plan Analysis     Liquidation
                                                                                   Analysis
 Estimated cash on hand at 12/31/2020                            $26,496           $26,496
 Estimated proceeds from monetization of assets [1][2]           198,662           154,618
 Estimated expenses through final distribution [1][3]            (29,864)          (33,804)
 Total estimated $ available for distribution                    195,294           147,309

 Less: Claims paid in full
 Administrative claims [4]                                       (10,533)          (10,533)
 Priority Tax/Settled Amount [10]                                (1,237)           (1,237)
 Class 1 – Jefferies Secured Claim                               -                 -
 Class 2 – Frontier Secured Claim [5]                            (5,560)           (5,560)
 Class 3 – Priority non-tax claims [10]                          (16)              (16)
 Class 4 – Retained employee claims                              -                 -
 Class 5 – Convenience claims [6][10]                            (13,455)          -
 Class 6 – Unpaid employee claims [7]                            (2,955)           -
 Subtotal                                                        (33,756)          (17,346)
 Estimated amount remaining for distribution to general          161,538           129,962
 unsecured claims
 Class 5 – Convenience claims [8]                                -                 17,940
 Class 6 – Unpaid employee claims                                -                 3,940
 Class 7 – General unsecured claims [9]                          174,609           174,609
 Subtotal                                                        174,609           196,489
 % Distribution to general unsecured claims                      92.51%            66.14%
 Estimated amount remaining for distribution                     -                 -
 Class 8 – Subordinated claims                                   no distribution   no distribution
 Class 9 – Class B/C limited partnership interests               no distribution   no distribution
 Class 10 – Class A limited partnership interests                no distribution   no distribution


Notable notations/disclosures in the Oct. 15, 2020 liquidation analysis include:

       Note [9]: General unsecured claims estimated using $0 allowed claims for HarbourVest and
        UBS. Ultimately, those two creditors were awarded $105 million of general unsecured claims
        and $95 million of subordinated claims.




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                             Updated Liquidation Analysis (Feb. 1, 2021)2
                                                                   Plan Analysis      Liquidation
                                                                                      Analysis
    Estimated cash on hand at 1/31/2020 [sic]                      $24,290            $24,290
    Estimated proceeds from monetization of assets [1][2]          257,941            191,946
    Estimated expenses through final distribution [1][3]           (59,573)           (41,488)
    Total estimated $ available for distribution                   222,658            174,178

    Less: Claims paid in full
    Unclassified [4]                                               (1,080)            (1,080)
    Administrative claims [5]                                      (10,574)           (10,574)
    Class 1 – Jefferies Secured Claim                              -                  -
    Class 2 – Frontier Secured Claim [6]                           (5,781)            (5,781)
    Class 3 – Other Secured Claims                                 (62)               (62)
    Class 4 – Priority non-tax claims                              (16)               (16)
    Class 5 – Retained employee claims                             -                  -
    Class 6 – PTO Claims [5]                                       -                  -
    Class 7 – Convenience claims [7][8]                            (10,280)           -
    Subtotal                                                       (27,793)           (17,514)
    Estimated amount remaining for distribution to general         194,865            157,235
    unsecured claims
    % Distribution to Class 7 (Class 7 claims including in Class   85.00%             0.00%
    8 in Liquidation scenario)
    Class 8 – General unsecured claims [8] [10]                    273,219            286,100
    Subtotal                                                       273,219            286,100
    % Distribution to general unsecured claims                     71.32%             54.96%
    Estimated amount remaining for distribution                    -                  -
    Class 9 – Subordinated claims                                  no distribution    no distribution
    Class 10 – Class B/C limited partnership interests             no distribution    no distribution
    Class 11 – Class A limited partnership interests               no distribution    no distribution


Notable notations/disclosures in the Feb. 1, 2021 liquidation analysis include:

          claim amounts in Class 8 assume $0 for IFA and HM, $50.0 million for UBS and $45 million
           HV.
          Assumes RCP claims will offset against HCMLP's interest in fund and will not be paid from
           Debtor assets




2
    Doc. 1895.


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                Summary of Debtor’s January 31, 2021 Monthly Operating Report3


                                                 10/15/2019           12/31/2020             1/31/2021
    Assets
    Cash and cash equivalents                       $2,529,000          $12,651,000           $10,651,000
    Investments, at fair value                    $232,620,000        $109,211,000          $142,976,000
    Equity method investees                       $161,819,000        $103,174,000          $105,293,000
    mgmt and incentive fee receivable               $2,579,000           $2,461,000            $2,857,000
    fixed assets, net                               $3,754,000           $2,594,000            $2,518,000
    due from affiliates                           $151,901,000        $152,449,000          $152,538,000
    reserve against notices receivable                                ($61,039,000)         ($61,167,000)
    other assets                                   $11,311,000           $8,258,000            $8,651,000
                               Total Assets       $566,513,000        $329,759,000          $364,317,000

    Liabilities and Partners' Capital
    pre-petition accounts payable                   $1,176,000            $1,077,000           $1,077,000
    post-petition accounts payable                                         $900,000            $3,010,000
    Secured debt
                                   Frontier         $5,195,000           $5,195,000           $5,195,000
                                  Jefferies        $30,328,000                   $0                   $0
    Accrued expenses and other liabilities         $59,203,000          $60,446,000          $49,445,000
    Accrued re-organization related fees                                 $5,795,000           $8,944,000
    Class 8 general unsecured claims               $73,997,000          $73,997,000         $267,607,000
    Partners' Capital                             $396,614,000         $182,347,000          $29,039,000
           Total liabilities and partners'
                                    capital       $566,513,000         $329,757,000         $364,317,000


Notable notations/disclosures in the Jan. 31, 2021 MOR include:

          Class 8 claims totaled $267 million, a jump from $74 million in the prior month’s MOR
          The MOR stated that no Class 9 recovery was expected, which was based on the then existing
           $267 million in Class 8 Claims.
          Currently, there are roughly $310 million of Allowed Class 8 Claims.




3
 [Doc. 2030] Filed on March 15, 2021, the last publicly disclosed information regarding the value of assets in the
estate.


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                                  Value of HarbourVest Claim




                           HarbourVest NAV Value v. Purchase Price
$60.0



$50.0



$40.0



$30.0



$20.0



$10.0



  $-
  9/29/2020   10/29/2020   11/29/2020   12/29/2020   1/29/2021     2/28/2021   3/31/2021   4/30/2021   5/31/2021

                                             NAV        Purchase Price




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                               Estate Value as of August 1, 2021 (in millions)4
    Asset                                                              Low                        High
    Cash as of 6/30/2021                                               $17.9                      $17.9
                                                      Targa Sale       $37.0                      $37.0
                                                8/1 CLO Flows          $10.0                      $10.0
                                                Uchi Bldg. Sale        $9.0                       $9.0
                                                       Siepe Sale      $3.5                       $3.5
                                                  PetroCap Sale        $3.2                       $3.2
                                        HarbourVest trapped cash       $25.0                      $25.0
    Total Cash                                                         $105.6                     $105.6
    Trussway                                                           $180.0                     $180.0
    Cornerstone (125mm; 16%)                                           $18.0                      $18.0
    HarbourVest CLOs                                                   $40.0                      $40.0
    CCS Medical (in CLOs and Highland Restoration)                     $20.0                      $20.0
    MGM (direct ownership)                                             $32.0                      $32.0
    Multi-Strat (45% of 100mm; MGM; CCS)                               $45.0                      $45.0
    Korea Fund                                                         $18.0                      $18.0
    Celtic (in Credit-Strat)                                           $12.0                      $40.0
    SE Multifamily                                                     $0.0                       $20.0
    Affiliate Notes                                                    $0.0                       $70.0
    Other                                                              $2.0                       $10.0
    TOTAL                                                              $472.6                     $598.6



                                               Assets and Claims
    $700.0
    $600.0
    $500.0
    $400.0
    $300.0
    $200.0
    $100.0
       $-




                Total Assets          Class 8 Claims        Class 9 Claims        Unsecured Creditors' Claims




4
  Values are based upon historical knowledge of the Debtor’s assets (including cross-holdings) and publicly filed
information.


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              Hellman & Friedman Seeded Farallon Capital Management




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             Hellman & Friedman Owned a Portion of Grosvenor until 2020




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                   Farallon was a Significant Borrower for Lehman




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                   Mr. Seery Represented Stonehill While at Sidley




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 Stonehill Founder (Motulsky) and Grosvenor’s G.C. (Nesler) Were Law School Classmates




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          Investor Communication to Highland Crusader Funds Stakeholders




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               Relationships Among Debtor’s CEO/CRO, the UCC, and Claims Purchasers
                 Provided initial
                  seed capital
                                                                                                                 Hellman
                                        River          One of the largest
Lehman                                                                         Toys ‘R                              &
                                        Birch            note holders
 Bros.                                                                          Us BK                           Friedman
                                        Cap.




                                                                                      One of the largest
                                    Pres. and Senior




                                                                                        note holders
                                     Invest. Officer                                                              John                               Joseph
Creditor




                                                                                                                                   Law school
                                                                                                                 Motulsky          classmates        Nesler
                                     [2013 – 2017]



                                                                                                                                                Longtime General
Farallon                               Jim Seery                               Stonehill                                                            Counsel
  Cap.                                  Debtor’s                                 Cap.
 Mgmt.                                  CEO and                                 Mgmt.
                                          CRO
                                                                                                                                                     Grosvenor
                                                                                                                                                       Cap.
                                Partner and Head of                                                                                                   Mgmt.
                                   NY BK Section
                                                                                                                       Redeemer
                                    [2009 – 2013]                                                                      Committe
                                                                                                                        e of the
                                                                                                                       Crusader

Blockbuste                                                                      HCMLP
   r BK                                Sidley &                                Creditors
                 Counsel to             Austin           Counsel to UCC
                                                                               Committe
 Steering                                               (Matt Clemente)           e                        Committee
Committee    Steering Committee
                                                                                                            Member
                 (Jim Seery)


                                                                                                                 UBS

                                                   Acquired Acis Claim                                                        *Is there an affiliate relationship
                                                                               Acis Cap.                                      between Stonehill, Grosvenor, and
                                                                                Mgmt.                                         Farallon? Has it been adequately
                                                                                                                              disclosed to the Court and investors?
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                           Seery Jan. 29, 2021 Testimony




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                             Sale of Assets of Affiliates or Controlled Entities

    Asset                                                   Sales Price
    Structural Steel Products                               $50 million
    Life Settlements                                        $35 million
    OmniMax                                                 $50 million
    Targa                                                   $37 million


       •   These assets were sold over the contemporaneous objections of James Dondero, who was the
           Portfolio Manager and key-man on the funds.
       •   Mr. Seery admitted 1 that he must comply with the Bankruptcy Code, the Federal Rules of
           Bankruptcy Procedure, and the Protocols for the sale of major assets of the estate. We believe
           that a competitive bid process and court approval should have been required for the sale of each
           of these assets (as was done for the sale of the building at 2817 Maple Ave. [a $9 million asset]
           and the sale of the interest in PetroCap [a $3 million asset]).




1
    See Mr. Seery’s Jan. 29, 2021 deposition testimony, Appendix p. A-20.


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                               20 Largest Unsecured Creditors

 Name of Claimant                    Allowed Class 8     Allowed Class 9
 Redeemer Committee of the
 Highland Crusader Fund              $136,696,610.00
 UBS AG, London Branch and UBS
 Securities LLC
                                     $65,000,000.00      $60,000,000
 HarbourVest entities                $45,000,000.00      $35,000,000
 Acis Capital Management, L.P. and
 Acis Capital Management GP, LLC     $23,000,000.00
 CLO Holdco Ltd                      $11,340,751.26
 Patrick Daugherty
                                                         $2,750,000 (+$750,000 cash payment
                                     $8,250,000.00       on Effective Date of Plan)
 Todd Travers (Claim based on
 unpaid bonus due for Feb 2009)      $2,618,480.48
 McKool Smith PC                     $2,163,976.00
 Davis Deadman (Claim based on
 unpaid bonus due for Feb 2009)      $1,749,836.44
 Jack Yang (Claim based on unpaid
 bonus due for Feb 2009)             $1,731,813.00
 Paul Kauffman (Claim based on
 unpaid bonus due for Feb 2009)      $1,715,369.73
 Kurtis Plumer (Claim based on
 unpaid bonus due for Feb 2009)      $1,470,219.80
 Foley Gardere                       $1,446,136.66
 DLA Piper                           $1,318,730.36
 Brad Borud (Claim based on unpaid
 bonus due for Feb 2009)             $1,252,250.00
 Stinson LLP (successor to Lackey
 Hershman LLP)                       $895,714.90
 Meta-E Discovery LLC                $779,969.87
 Andrews Kurth LLP                   $677,075.65
 Markit WSO Corp                     $572,874.53
 Duff & Phelps, LLC                  $449,285.00
 Lynn Pinker Cox Hurst               $436,538.06
 Joshua and Jennifer Terry
                                     $425,000.00
 Joshua Terry
                                     $355,000.00
 CPCM LLC (bought claims of
 certain former HCMLP employees)     Several million
 TOTAL:                              $309,345,631.74     $95,000,000




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                                   Timeline of Relevant Events

 Date          Description
 10/29/2019    UCC appointed; members agree to fiduciary duties and not sell claims.
 9/23/2020     Acis 9019 filed
 9/23/2020     Redeemer 9019 filed
 10/28/2020    Redeemer settlement approved
 10/28/2020    Acis settlement approved
 12/24/2020    HarbourVest 9019 filed
 1/14/2021     Motion to appoint examiner filed
 1/21/2021     HarbourVest settlement approved; transferred its interest in HCLOF to HCMLP
               assignee, valued at $22 million per Seery
 1/28/2021     Debtor discloses that it has reached an agreement in principle with UBS
 2/3/2021      Failure to comply with Rule 2015.3 raised
 2/24/2021     Plan confirmed
 3/9/2021      Farallon Cap. Mgmt. forms “Muck Holdings LLC” in Delaware
 3/15/2021     Debtor files Jan. ‘21 monthly operating report indicating assets of $364 million,
               liabilities of $335 million (inclusive of $267,607,000 in Class 8 claims, but exclusive
               of any Class 9 claims), the last publicly filed summary of the Debtor's assets. The
               MOR states that no Class 9 distributions are anticipated at this time and Class 9
               recoveries are not expected.
 3/31/2021     UBS files friendly suit against HCMLP under seal
 4/8/2021      Stonehill Cap. Mgmt. forms “Jessup Holdings LLC” in Delaware
 4/15/2021     UBS 9019 filed
 4/16/2021     Notice of Transfer of Claim - Acis to Muck (Farallon Capital)
 4/29/2021     Motion to Compel Compliance with Rule 2015.3 Filed
 4/30/2021     Notice of Transfer of Claim - Redeemer to Jessup (Stonehill Capital)
 4/30/2021     Notice of Transfer of Claim - HarbourVest to Muck (Farallon Capital)
 4/30/2021     Sale of Redeemer claim to Jessup (Stonehill Capital) "consummated"
 5/27/2021     UBS settlement approved; included $18.5 million in cash from Multi-Strat
 6/14/2021     UBS dismisses appeal of Redeemer award
 8/9/2021      Notice of Transfer of Claim - UBS to Jessup (Stonehill Capital)
 8/9/2021      Notice of Transfer of Claim - UBS to Muck (Farallon Capital)

Critical unknown dates and information:

   •   The date on which Muck entered into agreements with HarbourVest and Acis to acquire their
       claims and what negative and affirmative covenants those agreements contained.
   •   The date on which Jessup entered into an agreement with the Redeemer Committee and the
       Crusader Fund to acquire their claim and what negative and affirmative covenants the agreement
       contained.
   •   The date on which the sales actually closed versus the date on which notice of the transfer was
       filed (i.e., did UCC members continue to serve on the committee after they had sold their claims).



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                 Debtor’s October 15, 2020 Liquidation Analysis [Doc. 1173-1]

                                                                 Plan Analysis     Liquidation
                                                                                   Analysis
 Estimated cash on hand at 12/31/2020                            $26,496           $26,496
 Estimated proceeds from monetization of assets [1][2]           198,662           154,618
 Estimated expenses through final distribution [1][3]            (29,864)          (33,804)
 Total estimated $ available for distribution                    195,294           147,309

 Less: Claims paid in full
 Administrative claims [4]                                       (10,533)          (10,533)
 Priority Tax/Settled Amount [10]                                (1,237)           (1,237)
 Class 1 – Jefferies Secured Claim                               -                 -
 Class 2 – Frontier Secured Claim [5]                            (5,560)           (5,560)
 Class 3 – Priority non-tax claims [10]                          (16)              (16)
 Class 4 – Retained employee claims                              -                 -
 Class 5 – Convenience claims [6][10]                            (13,455)          -
 Class 6 – Unpaid employee claims [7]                            (2,955)           -
 Subtotal                                                        (33,756)          (17,346)
 Estimated amount remaining for distribution to general          161,538           129,962
 unsecured claims
 Class 5 – Convenience claims [8]                                -                 17,940
 Class 6 – Unpaid employee claims                                -                 3,940
 Class 7 – General unsecured claims [9]                          174,609           174,609
 Subtotal                                                        174,609           196,489
 % Distribution to general unsecured claims                      92.51%            66.14%
 Estimated amount remaining for distribution                     -                 -
 Class 8 – Subordinated claims                                   no distribution   no distribution
 Class 9 – Class B/C limited partnership interests               no distribution   no distribution
 Class 10 – Class A limited partnership interests                no distribution   no distribution


Notable notations/disclosures in the Oct. 15, 2020 liquidation analysis include:

    •   Note [9]: General unsecured claims estimated using $0 allowed claims for HarbourVest and
        UBS. Ultimately, those two creditors were awarded $105 million of general unsecured claims
        and $95 million of subordinated claims.




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                              Updated Liquidation Analysis (Feb. 1, 2021) 2
                                                                   Plan Analysis      Liquidation
                                                                                      Analysis
    Estimated cash on hand at 1/31/2020 [sic]                      $24,290            $24,290
    Estimated proceeds from monetization of assets [1][2]          257,941            191,946
    Estimated expenses through final distribution [1][3]           (59,573)           (41,488)
    Total estimated $ available for distribution                   222,658            174,178

    Less: Claims paid in full
    Unclassified [4]                                               (1,080)            (1,080)
    Administrative claims [5]                                      (10,574)           (10,574)
    Class 1 – Jefferies Secured Claim                              -                  -
    Class 2 – Frontier Secured Claim [6]                           (5,781)            (5,781)
    Class 3 – Other Secured Claims                                 (62)               (62)
    Class 4 – Priority non-tax claims                              (16)               (16)
    Class 5 – Retained employee claims                             -                  -
    Class 6 – PTO Claims [5]                                       -                  -
    Class 7 – Convenience claims [7][8]                            (10,280)           -
    Subtotal                                                       (27,793)           (17,514)
    Estimated amount remaining for distribution to general         194,865            157,235
    unsecured claims
    % Distribution to Class 7 (Class 7 claims including in Class   85.00%             0.00%
    8 in Liquidation scenario)
    Class 8 – General unsecured claims [8] [10]                    273,219            286,100
    Subtotal                                                       273,219            286,100
    % Distribution to general unsecured claims                     71.32%             54.96%
    Estimated amount remaining for distribution                    -                  -
    Class 9 – Subordinated claims                                  no distribution    no distribution
    Class 10 – Class B/C limited partnership interests             no distribution    no distribution
    Class 11 – Class A limited partnership interests               no distribution    no distribution


Notable notations/disclosures in the Feb. 1, 2021 liquidation analysis include:

      •    claim amounts in Class 8 assume $0 for IFA and HM, $50.0 million for UBS and $45 million
           HV.
      •    Assumes RCP claims will offset against HCMLP's interest in fund and will not be paid from
           Debtor assets




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    Doc. 1895.


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                 Summary of Debtor’s January 31, 2021 Monthly Operating Report 3


                                                 10/15/2019           12/31/2020            1/31/2021
    Assets
    Cash and cash equivalents                      $2,529,000           $12,651,000           $10,651,000
    Investments, at fair value                   $232,620,000         $109,211,000          $142,976,000
    Equity method investees                      $161,819,000         $103,174,000          $105,293,000
    mgmt and incentive fee receivable              $2,579,000            $2,461,000            $2,857,000
    fixed assets, net                              $3,754,000            $2,594,000            $2,518,000
    due from affiliates                          $151,901,000         $152,449,000          $152,538,000
    reserve against notices receivable                                ($61,039,000)         ($61,167,000)
    other assets                                   $11,311,000           $8,258,000            $8,651,000
                             Total Assets        $566,513,000          $329,759,000         $364,317,000

    Liabilities and Partners' Capital
    pre-petition accounts payable                   $1,176,000            $1,077,000           $1,077,000
    post-petition accounts payable                                         $900,000            $3,010,000
    Secured debt
                                   Frontier         $5,195,000           $5,195,000           $5,195,000
                                  Jefferies        $30,328,000                   $0                   $0
    Accrued expenses and other liabilities         $59,203,000          $60,446,000          $49,445,000
    Accrued re-organization related fees                                 $5,795,000           $8,944,000
    Class 8 general unsecured claims              $73,997,000           $73,997,000         $267,607,000
    Partners' Capital                            $396,614,000          $182,347,000          $29,039,000
           Total liabilities and partners'
                                    capital      $566,513,000          $329,757,000         $364,317,000


Notable notations/disclosures in the Jan. 31, 2021 MOR include:

      •    Class 8 claims totaled $267 million, a jump from $74 million in the prior month’s MOR
      •    The MOR stated that no Class 9 recovery was expected, which was based on the then existing
           $267 million in Class 8 Claims.
      •    Currently, there are roughly $310 million of Allowed Class 8 Claims.




3
 [Doc. 2030] Filed on March 15, 2021, the last publicly disclosed information regarding the value of assets in the
estate.


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                                     Value of HarbourVest Claim




                             HarbourVest NAV Value v. Purchase Price
  $60.0



  $50.0



  $40.0



  $30.0



  $20.0



  $10.0



    $-
    9/29/2020   10/29/2020   11/29/2020   12/29/2020   1/29/2021   2/28/2021   3/31/2021   4/30/2021   5/31/202

                                               NAV        Purchase Price




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                               Estate Value as of August 1, 2021 (in millions) 4
 Asset                                                                 Low                        High
 Cash as of 6/30/2021                                                  $17.9                      $17.9
                                                     Targa Sale        $37.0                      $37.0
                                               8/1 CLO Flows           $10.0                      $10.0
                                               Uchi Bldg. Sale         $9.0                       $9.0
                                                     Siepe Sale        $3.5                       $3.5
                                                 PetroCap Sale         $3.2                       $3.2
                                       HarbourVest trapped cash        $25.0                      $25.0
 Total Cash                                                            $105.6                     $105.6
 Trussway                                                              $180.0                     $180.0
 Cornerstone (125mm; 16%)                                              $18.0                      $18.0
 HarbourVest CLOs                                                      $40.0                      $40.0
 CCS Medical (in CLOs and Highland Restoration)                        $20.0                      $20.0
 MGM (direct ownership)                                                $32.0                      $32.0
 Multi-Strat (45% of 100mm; MGM; CCS)                                  $45.0                      $45.0
 Korea Fund                                                            $18.0                      $18.0
 Celtic (in Credit-Strat)                                              $12.0                      $40.0
 SE Multifamily                                                        $0.0                       $20.0
 Affiliate Notes                                                       $0.0                       $70.0
 Other                                                                 $2.0                       $10.0
 TOTAL                                                                 $472.6                     $598.6



                                               Assets and Claims
  $700.0
  $600.0
  $500.0
  $400.0
  $300.0
  $200.0
  $100.0
      $-




                Total Assets          Class 8 Claims        Class 9 Claims        Unsecured Creditors' Claims




4
  Values are based upon historical knowledge of the Debtor’s assets (including cross-holdings) and publicly filed
information.


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               HarbourVest Motion to Approve Settlement [Doc. 1625]




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                           UBS Settlement [Doc. 2200-1]




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              Hellman & Friedman Seeded Farallon Capital Management




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            Hellman & Friedman Owned a Portion of Grosvenor until 2020




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                    Farallon was a Significant Borrower for Lehman




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                    Mr. Seery Represented Stonehill While at Sidley




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 Stonehill Founder (Motulsky) and Grosvenor’s G.C. (Nesler) Were Law School Classmates




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          Investor Communication to Highland Crusader Funds Stakeholders




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                                                                                  Alvarez & Marsal CRF
                                                                            Management, LLC 2029 Century
                                                                                     Park East Suite 2060 Los
                                                                                           Angeles, CA 90067




    July 6, 2021


    Re: Update & Notice of Distribution


    Dear Highland Crusader Funds Stakeholder,

            As you know, in October 2020, the Bankruptcy Court approved a settlement of the
    Redeemer Committee’s and the Crusader Funds’ claims against Highland Capital Management
    L.P. (“HCM”), as a result of which the Redeemer Committee was allowed a general unsecured
    claim of $137,696,610 against HCM and the Crusader Funds were allowed a general unsecured
    claim of $50,000 against HCM (collectively, the “Claims”). In addition, as part of the settlement,
    various interests in the Crusader Funds held by HCM and certain of its affiliates are to be
    extinguished (the “Extinguished Interests”), and the Redeemer Committee and the Crusader Funds
    received a general release from HCM and a waiver by HCM of any claim to distributions or fees
    that it might otherwise receive from the Crusader Funds (the “Released Claims” and, collectively
    with the Extinguished Interests, the “Retained Rights”).

           A timely appeal of the settlement was taken by UBS (the “UBS Appeal) in the United States
    District Court for the Northern District of Texas, Dallas Division. However, the Bankruptcy Court
    subsequently approved a settlement between HCM and UBS, resulting in dismissal of the UBS
    Appeal with prejudice on June 14, 2021.

           On April 30, 2021, the Crusader Funds and the Redeemer Committee consummated the sale
    of the Claims against HCM and the majority of the remaining investments held by the Crusader
    Funds to Jessup Holdings LLC (“Jessup”) for $78 million in cash, which was paid in full to the
    Crusader Funds at closing. The sale specifically excluded the Crusader Funds’ investment in
    Cornerstone Healthcare Group Holding Inc. and excluded certain specified provisions of the
    settlement agreement with HCM (the “Settlement Agreement”), including, but not limited to, the
    Retained Rights. The sale of the Claims and investments was made with no holdbacks or escrows.

           The sale to Jessup resulted from a solicitation of offers to purchase the Claims commenced
    by Alvarez & Marsal CRF Management LLC (“A&M CRF”), as Investment Manager of the
    Crusader Funds, in consultation with the Redeemer Committee. Ultimately, the Crusader Funds
    and the Redeemer Committee entered exclusive negotiations with Jessup, culminating in the sale
    to Jessup.

           A&M CRF, pursuant to the Plan and Scheme and with the approval of House Hanover, the
    Redeemer Committee and the Board of the Master Fund, now intends to distribute the proceeds
    from the Jessup transaction ($78 million), net of any applicable tax withholdings and with no
    reserves for the Extinguished Claims or the Released Claims. In addition, the distribution will
    include approximately $9.4 million in proceeds that have been redistributed due to the cancellation

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        and extinguishment of the interests and shares in the Crusader Funds held by HCM, Charitable
        DAF and Eames in connection with the Settlement Agreement, resulting in a total gross
        distribution of $87.4 million. Distributions will be based on net asset value as of June 30, 2021.

               Please note that A&M CRF intends to make the distributions by wire transfer no later than
        July 31, 2021. Please confirm your wire instructions on or before July 20, 2021. If there are any
        revisions to your wire information, please use the attached template to provide SEI and A&M CRF
        your updated information on investor letterhead. This information should be sent on or before July
        20, 2021 to Alvarez & Marsal CRF and SEI at CRFInvestor@alvarezandmarsal.com and AIFS-
        IS_Crusader@seic.com, respectively.

              The wire payments will be made to the investor bank account on file with an effective and record
       date of July 1, 2021. Should you have any questions, please contact SEI or A&M CRF at the e-mail
       addresses listed above.



Sincerely,


Alvarez & Marsal CRF Management, LLC


By: ___         _______
    Steven Varner
    Managing Director




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On investor letterhead, please use the template below to provide Alvarez & Marsal CRF
Management, LLC and SEI your updated wire information.


  Information Needed                                    Wire Information Input
  Investor name (as it reads on monthly statements)

  Fund(s) Invested

  Contact Information (Phone No. and Email)

  Updated Wire Information
   • Beneficiary Bank
   • Bank Address
   • Beneficiary (Account) Name
   • ABA/Routing #
   • Account #
   • SWIFT Code

  International Wires
    • Correspondent Bank
    • ABA/Routing #
    • SWIFT Code




Signed By: ______________________________                           Date: _______________




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                      IN THE UNITED STATES BANKRUPTCY COURT
   1                   FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
   2
                                      )    Case No. 19-34054-sgj-11
   3   In Re:                         )    Chapter 11
                                      )
   4   HIGHLAND CAPITAL               )    Dallas, Texas
       MANAGEMENT, L.P.,              )    Thursday, January 14, 2021
   5                                  )    9:30 a.m. Docket
                 Debtor.              )
   6                                  )    - MOTION TO PREPAY LOAN
                                      )      [1590]
   7                                  )    - MOTION TO COMPROMISE
                                      )      CONTROVERSY [1625]
   8                                  )    - MOTION TO ALLOW CLAIMS OF
                                      )      HARBOURVEST [1207]
   9                                  )
  10                        TRANSCRIPT OF PROCEEDINGS
                   BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
  11                     UNITED STATES BANKRUPTCY JUDGE.

  12   WEBEX APPEARANCES:

  13   For the Debtor:                Jeffrey Nathan Pomerantz
                                      PACHULSKI STANG ZIEHL & JONES, LLP
  14                                  10100 Santa Monica Blvd.,
                                        13th Floor
  15                                  Los Angeles, CA 90067-4003
                                      (310) 277-6910
  16
       For the Debtor:                John A. Morris
  17                                  Gregory V. Demo
                                      PACHULSKI STANG ZIEHL & JONES, LLP
  18                                  780 Third Avenue, 34th Floor
                                      New York, NY 10017-2024
  19                                  (212) 561-7700

  20   For the Official Committee     Matthew A. Clemente
       of Unsecured Creditors:        SIDLEY AUSTIN, LLP
  21                                  One South Dearborn Street
                                      Chicago, IL 60603
  22                                  (312) 853-7539

  23   For CLO Holdco, Ltd.:          John J. Kane
                                      KANE RUSSELL COLEMAN LOGAN, P.C.
  24                                  901 Main Street, Suite 5200
                                      Dallas, TX 75202
  25                                  (214) 777-4261




                                                                            APP. 3045
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                                                                              22


       1   purchase or sale of a security.        And, again, I would ask the

       2   Court to listen carefully to this because that's what it

       3   appears to be and that's what the evidence is going to show to

       4   the Court.

       5              THE COURT:    All right.    Mr. Draper, let me clarify

       6   something I'm not sure if I heard you say or not.          Were you

       7   saying that the Court still needs to drill down on the issue

       8   of whether the Debtor can acquire HarbourVest's interest in

       9   HCLOF?

      10              MR. DRAPER:    No.

      11              THE COURT:    Okay.   I was confused whether you were

      12   saying I needed to take an independent look at that, now that

      13   the objection has been withdrawn of Holdco.         You are not

      14   pressing that issue?

      15              MR. DRAPER:    No, I am not.     Basically, I think it's

      16   the fairness of the settlement.        I think the transferability

      17   of the interest is separate and apart from the fairness of the

      18   settlement itself.      I think the fairness -- the

      19   transferability was a contractual issue between two parties

      20   that the Court does not have to drill down on.

      21              THE COURT:    All right.    I have another question for

      22   you.   I want to clarify your client's standing.         Tell me --

      23   I'm looking through a chart I printed out a while back.            I

      24   guess Dugaboy Investment Trust filed a couple of proofs of

      25   claim; is that right?




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                                                                             23


      1              MR. DRAPER:    Yes.

      2              THE COURT:    Okay.   What --

      3              MR. DRAPER:    And objections are pending.

      4              THE COURT:    Pardon?

      5              MR. DRAPER:    Objections to those claims are pending

      6   before the Court, Your Honor, --

      7              THE COURT:    Okay.

      8              MR. DRAPER:    -- and have not been litigated.

      9              THE COURT:    And what about Get Good Trust?

     10              MR. DRAPER:    Get Good Trust has a proof of claim also

     11   that objections are pending to.       Pending.

     12              THE COURT:    Okay.   I don't want to get too

     13   sidetracked here, but I know standing was -- was mentioned as

     14   a legal argument today.     What is the basis for those proofs of

     15   claim?

     16              MR. DRAPER:    The first one is, with respect to the

     17   proof of claim for Dugaboy, there is an investment that

     18   Dugaboy made that was then funneled, we believe, up to the

     19   Debtor.   And the -- the loan that exists, we believe is a

     20   Debtor loan, as opposed to a loan to the entity that we made

     21   the loans to.

     22        And, again, it's a matter that the Court is going to hear.

     23   The claim may or may not be allowed.        It has not been

     24   disallowed yet.

     25        The second part to the Dugaboy ownership is we own an




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                                                                                 24


       1   interest in the Debtor.      And so we are, in fact, a party in

       2   interest.

       3               THE COURT:    Okay.

       4               MR. DRAPER:    It may be a small interest, but it is an

       5   interest.

       6               THE COURT:    It has a limited partnership interest in

       7   the Debtor?

       8               MR. DRAPER:    Yes.

       9               THE COURT:    Is that correct?

      10               MR. DRAPER:    Yes.

      11               THE COURT:    Okay.   Well, I'll move forward.         Thank

      12   you.

      13          Does that cover -- any other opening statements?            I think

      14   that covered everyone who was -- who filed some sort of

      15   pleading today.    No.

      16               MR. WILSON:    Your Honor, John Wilson on behalf of --

      17               THE COURT:    I'm sorry.    I'm sorry.

      18               MR. WILSON:    -- Mr. Dondero.

      19               THE COURT:    I missed Mr. Dondero's counsel.          I knew

      20   we had visited at some point this morning.           I just got

      21   confused there.    Go ahead, Mr. Wilson.

      22               MR. WILSON:    No problem, Your Honor.      I was just

      23   going to say that we will reserve our comments until after the

      24   conclusion of the testimony.

      25               THE COURT:    All right.    Very well.




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                                                                             171


       1              MR. BONDS:   Thank you, Your Honor.

       2        (Proceedings concluded at 2:04 p.m.)

       3                                  --oOo--

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      20                                CERTIFICATE

      21        I certify that the foregoing is a correct transcript from
           the electronic sound recording of the proceedings in the
      22   above-entitled matter.
      23     /s/ Kathy Rehling                                    01/16/2021

      24   ______________________________________              ________________
           Kathy Rehling, CETD-444                                 Date
      25   Certified Electronic Court Transcriber




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                        UNITED STATES BANKRUPTCY COURT

                     FOR THE NORTHERN DISTRICT OF TEXAS
             BEFORE THE HONORABLE STACEY G. JERNIGAN, JUDGE
 In Re:                             )               Case No. 19-34054-sgj11
                                    )
 HIGHLAND CAPITAL MANAGEMENT, L.P., )
                                    )
                     Debtor.        )
                                    )
                                    )
 OFFICIAL COMMITTEE OF UNSECURED    )               Adv. Proc. No. 20-03195-sgj
 CREDITORS,                         )
                                    )               PLAINTIFF'S MOTION for
                     Plaintiff,     )               CONTINUANCE
                                    )
                v.                  )
                                    )
 CLO HOLDCO, LTD., et al.,          )
                                    )
                     Defendants.    )
                                    )
                                    )
 HIGHLAND CAPITAL MANAGEMENT, L.P., )               Adv. Proc. No. 21-03003-sgj
                                    )
                     Plaintiff,     )
                                    )               DEFENDANT DONDERO'S MOTION
                v.                  )               to COMPEL DISCOVERY, the
                                    )               TESTIMONY of JAMES P.
 JAMES DONDERO,                     )               SEERY, JR.
                                    )
                     Defendant.     )               May 20, 2021
                                    )               Dallas, Texas (Via WebEx)

  Appearances in 21-03003:
  For Plaintiff Highland           John A. Morris
  Capital Management,              Pachulski Stang Ziehl & Jones LLP
                                   10100 Santa Monica Boulevard, 13th Floor
                                   Los Angeles, California 90067
  For Defendant-Movant             Michael P. Aigen
  James Dondero:                   Stinson, L.L.P.
                                   3102 Oak Lawn Avenue, Suite 777
                                   Dallas, Texas 75219

                                   Bryan C. Assink
                                   Bonds Ellis Eppich Schafer Jones LLP
                                   420 Throckmorton Street, Suite 1000
                                   Forth Worth, Texas 76102
                    Appearances continued on next page.


                              PALMER REPORTING SERVICES
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                                                                                    APP. 3050
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                         Adversary 21-3003, Motion to Compel Discovery                        20

1    it just maybe fell through the cracks, and I apologize, Your

2    Honor.

3                THE COURT:       All right.

4                MR. ASSINK:       You know, we — Your Honor, —

5                THE COURT:       Well, I'm going to say a couple of things.

6    You know this could have been raised Tuesday, when we were here

7    on the adversary proceeding, in which the preliminary injunction

8    was issued, okay, it would have been — it would have been wise,

9    it would have been very wise to raise the issue.

10               Second, it screams irony, if nothing else, that at a

11   time when I have under advisement a motion to hold Mr. Dondero

12   in contempt of Court that there would be a trip-up, the

13   second-recent trip-up, by the way, where he didn't appear at a

14   hearing.    There was a time a few weeks ago, two or three weeks

15   ago, can't remember what hearing it was then, but he wasn't

16   here.

17               Okay.     The —

18               MR. ASSINK:       Well, Your Honor, I just want to say —

19               THE COURT:       — the third thing I'm going to say — the

20   third thing I'm going to say is I guess I'll issue an order in

21   the main case now, you know, a one- or two-sentence order in the

22   main case saying repeating the sentence that was in the

23   preliminary injunction, that he's going to show up at every

24   hearing.    I never said only at substantive hearings.                        The only

25   thing I hesitated on at all, because I've done this in other


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                        Adversary 21-3003, Motion to Compel Discovery                            21

1    cases, is sometimes I'll say any hearing at which, you know, the

2    person is taking a position, okay, an opposition, an objection,

3    you know, even if you file a pleading taking a neutral stand, if

4    he's going to file a pleading that requires the Court and all

5    the lawyers' attention to some extent, he's going to need to be

6    in court.    So that's something I thought about doing, but then I

7    was reminded, that I said, no, he's just going to be at all

8    hearings in the future.

9                And procedural, substantive, I never made that

10   distinction and I never would because — because it's taking up

11   time, it's taking up time of the Court, lawyers, parties.                             And

12   if he is going to use the offices of this Court or, you know,

13   take up the time of any lawyers, then he needs to be a part of

14   it, okay?

15               MR. ASSINK:       Your Honor, yes, I —

16               THE COURT:       So I thought I made that very clear the

17   last time he didn't show up, but I think —

18               MR. ASSINK:       Your Honor, I apologize.                You know that's

19   certainly not our intention here.               We've been rushing around.                    I

20   think this is more — this is more on — on me and just the fast

21   pace with everything.         We would intend that he would be here at

22   all hearings.      We're not trying to make any exception.                        We're

23   not trying to say that the preliminary injunction got rid of his

24   obligation to be before, Your Honor.                You know, we weren't clear

25   exactly what the directive was for these kinds of hearings, or


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                          The Court's Ruling on the Motion to Compel                           34

 1   based in.    And, again, no one would have better information

 2   about his own compensation than Mr. Dondero himself.

 3               I mean I want to stress that this comes against a

 4   backdrop of — well, it seems like some antagonism, to say the

 5   least, on the part of Mr. Dondero where Mr. Seery's concerned.

 6   It seems like it's always a fight with Mr. Seery.                        And you say,

 7   well, we didn't handpick him as the 30(b)(6) witness, but, you

 8   know, the motion to compel names him by name.                     It just — it

 9   feels like another antagonistic move.

10               You've got him for a deposition next Monday on 13 or

11   so different topics.         I think it is appropriate to draw the line

12   on these six or so topics that again just don't seem relevant or

13   proportional to the needs of the case.

14               All right.       So, Mr. Morris, would you please upload

15   just a simple order reflecting the Court's ruling?

16               MR. MORRIS:       I would be happy to, Your Honor.

17               THE COURT:       Okay.     Actually I'm going to ask Mr. Aigen

18   to do it.    I'm sorry.       I need to be thinking about attorney's

19   fees and who should bear the costs of what.

20               So, Mr. Aigen, would you please electronically submit

21   an order?

22               MR. AIGEN:       Yes.

23               THE COURT:       All right.       Thank you.

24               All right.       Well, if there's nothing else on this

25   particular adversary, let me just double check.                       Any


                                 PALMER REPORTING SERVICES
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                                                                                       APP. 3053
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  State of California                      )
                                           )       SS.
  County of San Joaquin                    )




               I, Susan Palmer, certify that the foregoing is a true
  and correct transcript, to the best of my ability, of the above

  pages, of the digital recording provided to me by the United
  States Bankruptcy Court, Northern District of Texas, Office of
  the Clerk, of the proceedings taken on the date and time
  previously stated in the above matter.

               I further certify that I am not a party to nor in any
  way interested in the outcome of this matter.

               I am a Certified Electronic Reporter and Transcriber
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                                                   Susan Palmer
                                                   Palmer Reporting Services
                                                   Dated May 22, 2021




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                      IN THE UNITED STATES BANKRUPTCY COURT
   1                   FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
   2
                                      )    Case No. 19-34054-sgj-11
   3   In Re:                         )    Chapter 11
                                      )
   4   HIGHLAND CAPITAL               )    Dallas, Texas
       MANAGEMENT, L.P.,              )    Monday, May 10, 2021
   5                                  )    1:30 p.m. Docket
                 Debtor.              )
   6                                  )
                                      )
   7   HIGHLAND CAPITAL               )    Adversary Proceeding 20-3190-sgj
       MANAGEMENT, L.P.,              )
   8                                  )
                 Plaintiff,           )    - TRIAL DOCKET CALL
   9                                  )    - DEFENDANT'S EMERGENCY MOTION
       v.                             )      TO STAY PROCEEDINGS PENDING
  10                                  )      RESOLUTION OF DEFENDANT'S
       JAMES D. DONDERO,              )      PETITION FOR WRIT OF
  11                                  )      MANDAMUS [154]
                 Defendant.           )
  12                                  )
  13                        TRANSCRIPT OF PROCEEDINGS
                   BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
  14                     UNITED STATES BANKRUPTCY JUDGE.
  15   WEBEX APPEARANCES:

  16   For the Plaintiff:             John A. Morris
                                      PACHULSKI STANG ZIEHL & JONES, LLP
  17                                  780 Third Avenue, 34th Floor
                                      New York, NY 10017-2024
  18                                  (212) 561-7700

  19   For the Plaintiff:             Jeffrey Nathan Pomerantz
                                      PACHULSKI STANG ZIEHL & JONES, LLP
  20                                  10100 Santa Monica Blvd.,
                                        13th Floor
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  23

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       1        Can everyone hear me okay?      I don't know if we're having

       2   connectivity issues.      Can everyone hear me?

       3              MR. MORRIS:    Yes, Your Honor.

       4              THE COURT:    Can you hear me, Mr. Wilson?

       5              MR. MORRIS:    Yes, Your Honor.

       6              MR. WILSON:    Yes, Your Honor.

       7              THE COURT:    Okay.   I have been pondering something

       8   the past few days.      And I haven't figured out how I want to

       9   address it, but maybe Mr. Dondero's counsel and counsel from

      10   some of the Dondero-controlled entities, maybe they can listen

      11   to what I'm about to say and figure out a solution.

      12        As you all know, there are so many law firms, so many

      13   lawyers involved now that are basically singing the same tune

      14   at a lot of these hearings as far as objections, me too, me

      15   too, me too.    And so just quickly eyeballing what we have, we

      16   obviously have Mr. Dondero represented by Bonds Ellis.           There

      17   is another firm that represents Mr. Dondero that filed a

      18   motion asking that I recuse myself.       I can't remember the name

      19   of that firm, but I think they appealed my denial of that

      20   motion.   So, I can't remember who that was.       Then we have the

      21   various affiliates.      We have -- well, I'll just start

      22   chronologically.    Highland CLO Funding, Ltd. has historically

      23   been represented by King & Spalding.       I don't know if that's

      24   -- I know there were some changes there with the ownership of

      25   that entity, so maybe they're gone.       But then we have NexPoint




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       1   Advisors and Highland Capital Management Fund Advisors.           We

       2   call them the Advisors and then the Funds.        Originally, they

       3   were all represented by K&L Gates, but now they've divvied it

       4   up and Munsch Hardt is representing, I guess, the Advisors,

       5   and the Funds are represented by K&L Gates.        CLO Holdco, Ltd.,

       6   it was Kane Russell Coleman & Logan representing them, but I

       7   now think I'm seeing Kane Russell is representing Grant Scott

       8   and -- individually.     I'm not sure if Kane Russell is still

       9   representing CLO Holdco.     We have Dugaboy and Get Good Trusts

      10   represented by Doug Draper, Heller Draper.        We have now Louis

      11   Phillips representing the Charitable DAFs, Highland Dallas

      12   Foundation.   We have NexPoint Real Estate Partners represented

      13   by Wick Phillips, although there's the motion to disqualify

      14   them.   And then I guess I'll just throw in we've had Baker &

      15   McKenzie and Ross & Smith representing certain groups of

      16   employees, but now I guess those proofs of claim have been

      17   bought by Dondero entities and so I'm not sure who's

      18   representing who there.

      19        I'm not even sure I got everyone just now, but here's what

      20   I'm getting at.    You talk about judicial efficiency and

      21   judicial economy and economy of the partners.        We can't go on

      22   efficiently with 12 law firms or whatever I just named filing

      23   the very same type of motion or objection.        You know, I almost

      24   -- if we were in different circumstances, I'd say we need to

      25   have an ad hoc committee of these Dondero-controlled




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       1   affiliates, something like that.

       2          But I've been thinking about this for a few days because I

       3   see, like in one adversary, I think we now have three motions

       4   to withdraw the reference.      And I haven't studied them all,

       5   but I'm pretty sure they're going to tell me the exact same

       6   thing.    And again, I'm just doing some predictions that the

       7   UBS settlement, I wouldn't be surprised if I get eight or ten

       8   or twelve objections that say the very same thing.

       9          We're going to have to work something out.      Okay?     This is

      10   not efficient.    It's not useful.       I would think a person such

      11   as Mr. Dondero would want to rein in legal fees, but maybe

      12   not.

      13          Do you all have any ideas, Mr. Taylor, Mr. Wilson?        How

      14   can we rein this in?      There's got to be a better way --

      15               MR. TAYLOR:    Your Honor?

      16               THE COURT:    -- than twelve different law firms filing

      17   almost identical pleadings.

      18               MR. TAYLOR:    Your Honor, I understand what you're

      19   saying, on the one hand.      On the other hand, each of these

      20   entities do have -- are separate corporations.         They have

      21   different duties to various stakeholders, and they are

      22   controlled by different stakeholders.        And that is one of the

      23   things that has been a consistent, at least from what I

      24   understand from my limited understanding and length of time in

      25   the case, that that is one thing that is very important to Mr.




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       1   Dondero and those related entities, is that those duties do

       2   run to different parties.      So each party has to preserve its

       3   individual rights.

       4        Sure.    Could it be more efficient?     Of course.    But Mr.

       5   Dondero has a different set of duties than do the Advisor,

       6   than do the Funds, than do the Trusts that are controlled by a

       7   separate trustee.     And while of course there's some

       8   interrelated cooperation amongst them, amongst the joint

       9   defense agreement, it is very important that they maintain

      10   their separate corporate identities and act independently from

      11   each other, because they truly do have to act independently

      12   from each other in many different circumstances.         They don't

      13   want to lose sight of that.

      14        So that is my initial explanation.       Of course, I can talk

      15   with my client about it further, about seeing what can be

      16   done, because he does indeed want to make it more efficient.

      17   Has been hammering on me and my firm every month to try to do

      18   so, and I'm sure he has with the other professionals.

      19        But we do hear Your Honor, but we do want to make sure

      20   that that -- those different separate corporate identities of

      21   these entities is both recognized and laid out in this case.

      22   It is very important to us and just integral to a lot of the

      23   things that we've done in this case.

      24                THE COURT:   You know what would help me understand

      25   that better?     Is if in every case I had this entity is owned




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       1   by, you know, 25 percent by this, this.        If I knew the owners,

       2   if I knew the equitable owners.       But I don't.    That's just all

       3   kind of glossed over.      And so that's how perceptions get

       4   created that Dondero, Dondero, Dondero, Dondero.         You know

       5   what I'm saying?

       6               MR. DONDERO:    Your Honor?

       7               THE COURT:    And I don't know if you want to share

       8   that information or not, but that's why I can't just accept a

       9   generalization that, oh, we have very different stakeholders

      10   behind --

      11               MR. TAYLOR:    Your Honor?    Wait, hold on a second.

      12   Your Honor, --

      13               THE COURT:    -- this entity versus this one versus

      14   this one.

      15               MR. TAYLOR:    Your Honor, if you would allow my

      16   client, he would like to very briefly address the Court on

      17   those points, if he may.

      18               THE COURT:    Okay.

      19               MR. DONDERO:    Your Honor, just a brief history from

      20   my perspective, okay?      We filed with $450 million of assets

      21   and $110 million of estimated, as presented by the independent

      22   board and Pachulski to the Court, trying to do a quick

      23   settlement the first three or four months into bankruptcy.

      24   The claims, the awards, the Class 8, the Class 9 awards, the

      25   people who didn't even have standing, have all of a sudden




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       1   ballooned to $300-some-odd million.       And the assets in the

       2   estate, which we haven't had an examiner go through all these

       3   no-process asset sales at a loss, when I would have bought

       4   them for more, has driven the estate value down to less than

       5   $250 million.

       6        We made an offer to try and settle this thing a few months

       7   ago at 20 percent more than the estimated value in the

       8   recoveries.   But Seery and the UCC are emboldened because they

       9   feel in this Court there's going to be no respect of third-

      10   party investors, no respect of other Dondero entities, and

      11   they've been told that they can get more than a hundred cent

      12   recovery by going after me and all my other entities going

      13   back ten or twelve years.

      14        So there's no chance that this case ever settles.           And

      15   what you're going to see is there's a half a dozen or more --

      16              MR. POMERANTZ:   Your Honor, I have to -- I have to --

      17              MR. DONDERO:   -- there's a half a dozen more law

      18   firms coming --

      19              THE COURT:   Just a moment.

      20              MR. DONDERO:   -- and there's a half a dozen -- there

      21   are a half a dozen more --

      22              MR. POMERANTZ:   Your Honor, this --

      23              THE COURT:   Mr. Morris?

      24              MR. POMERANTZ:   This is Jeff Pomerantz.

      25              THE COURT:   Mr. Morris?




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       1              MR. POMERANTZ:   This is Jeff Pomerantz, Your Honor.

       2              THE COURT:   Oh, Mr. Pomerantz?

       3              MR. POMERANTZ:   This is Jeff Pomerantz, Your Honor.

       4              THE COURT:   Uh-huh.

       5              MR. POMERANTZ:   You know, I think what Mr. Dondero is

       6   doing is totally inappropriate.      We're not here to relitigate

       7   the history of the case.     We're not here to relitigate or

       8   determine why a settlement hasn't been reached.         Your Honor

       9   raised some important questions, (garbled) gave an answer, you

      10   pushed him, but what Mr. Dondero is doing is just

      11   inappropriate, and we shouldn't -- don't think he should be

      12   doing this in this manner.

      13        If he wants to at some point be put on to testify, he

      14   could be cross-examined.     But he's testifying about things

      15   that actually just happen not to be true and it's totally

      16   inappropriate for this context.

      17              THE COURT:   Okay.   Well, I understand --

      18              MR. DONDERO:   But Your Honor, there's going to a half

      19   dozen --

      20              THE COURT:   -- that -- I understand, you know, Mr.

      21   Pomerantz is concerned because I asked a specific question

      22   aimed at how do we rein in all the lawyers, and the answer

      23   was, well, they all are separate entities with separate

      24   interests and separate stakeholders.       And my question was,

      25   well, could I maybe see a list, a breakdown on all of these




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       1   entities?    Because, you know, in so many cases, --

       2               MR. DONDERO:   But Your Honor, --

       3               THE COURT:   -- in almost every case I have, I get a

       4   big giant what I call spaghetti chart at the beginning of the

       5   case where I get a breakdown of debtor affiliates and who owns

       6   what.    And this hasn't been clear to me with all of these

       7   affiliates.

       8        But I do very much have the impression, Mr. Dondero, that

       9   all roads lead back to you.     So I let you speak to this, and

      10   we've kind of gone down a different trail.        And I want you to

      11   know, I know --

      12               MR. DONDERO:   Right.

      13               THE COURT:   I know where you stand on this because

      14   you have told me before.     You have huge concern that Highland

      15   had x hundred million dollars of assets at the beginning of

      16   the case and now it's a lot lower.       I know you have concerns

      17   with liquidation at what you think were very inappropriate

      18   times.    I know you have all kinds of beefs, beefs about the

      19   settlement with Acis, and probably UBS and the Redeemer

      20   Committee.    I understand that.     But what I'm talking about

      21   right now is going forward.     Going forward, how do we rein

      22   this in where we don't --

      23               MR. DONDERO:   But going forward, there's going to be

      24   more lawyers.    There's going to be more defense.       Because the

      25   Debtor is just going to keep trying to broaden, because they




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       1   feel empowered and enabled to go after anything related to

       2   Highland, me, et cetera.      But there's probably half a dozen

       3   more attorneys coming into this case.       I don't know what to

       4   tell you.    It's a circus.

       5               THE COURT:    Okay.   Well, I'm going to let you all

       6   think about this out of court.       Is there a way you can

       7   streamline?    I mean, I know -- I almost chuckle at myself at

       8   saying ad hoc committee of Dondero-controlled entities.          I

       9   know that that sort of sounds, I don't know, unworkable,

     10    maybe.   Maybe not.      I'm not going to read 14 different

     11    objections to the UBS settlement that say the very same thing.

     12    I'm not going to read a different motion to withdraw the

     13    reference by every single defendant in every single adversary

     14    that gets filed.    This is just not an efficient way to go

     15    forward.

     16         So I want you all to think about how you can make this

     17    more efficient.    You know, it -- a perception could exist that

     18    you're trying to carpet-bomb us all with paper, the Court

     19    included.    I mean, it's my job.     I'm going to read everything

     20    that's put before me.      That's what I do.   That's what I'm

     21    supposed to do.    But it's out of control.      So you all think of

     22    a way to get it in control or I might impose something.          The

     23    wheels are turning.      What could I do?   You know, page limits.

     24                MR. POMERANTZ:    Your Honor, this is Jeff Pomerantz.

     25    One suggestion might be, following up on what Your Honor made




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      1   some comments about, and Your Honor has used the word ad hoc

      2   committees, and obviously it's sort of a different animal

      3   here.   But as Your Honor knows, that every time an ad hoc

      4   committee comes in, they have to file a 2019 statement.           So I

      5   think it would at least provide Your Honor with information,

      6   as it would provide all of us with information, to really

      7   understand and know, when people are appearing, is it all

      8   roads leading back to Dondero, or, as Mr. Taylor says, what

      9   are the different constituents?       Who are the different people?

     10        As Your Honor has heard from us, we lump them all together

     11   because we believe the evidence has shown throughout this case

     12   that it all leads -- the road leads back to Dondero.          But Your

     13   Honor may consider asking them to file sort of the equivalent

     14   of a 2019 statement to provide Your Honor with that

     15   information under oath that Your Honor could then see, when

     16   you get several objections to the same thing, whether you

     17   really need to be dealing with them as seven different matters

     18   or whether dealing with them as one.

     19              THE COURT:   Okay.   All right.    Well, I'm giving this

     20   thought.   And again, I'll let you all think about it and make

     21   a proposal.    But I may or may not accept any proposal you

     22   make.   And I am leaning towards requiring information to be

     23   filed of who owns what, who are the stakeholders.         That'll

     24   help me understand, is it necessary to have this entity filing

     25   a separate objection or motion from this other entity or not?




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       1   Can we just have an hoc committee each time?

       2        I don't even think I listed all the law firms.          I know a

       3   new law firm filed a lawsuit in front of Judge Jane Boyle

       4   recently.    We've got a hearing on that coming up in June.          I

       5   mean, and now you're -- I'm hearing there are going to be

       6   more.   Well, if you don't figure out a way to rein it in, then

       7   I'm just going to have to get that list of who are the

       8   stakeholders in these entities, under oath, because I don't

       9   understand it.    I don't understand why we need these many

      10   lawyers filing position papers.

      11        So, all right.      Well, we're going to adjourn, and I guess

      12   I'll see you next Monday, right?

      13               MR. MORRIS:    Thank you, Your Honor.     Yes.

      14               THE COURT:    Okay.   Thank you.

      15               THE CLERK:    All rise.

      16        (Proceedings concluded at 3:07 p.m.)

      17                                     --oOo--

      18

      19

      20                                 CERTIFICATE

      21        I certify that the foregoing is a correct transcript from
           the electronic sound recording of the proceedings in the
      22   above-entitled matter.
      23     /s/ Kathy Rehling                                      05/11/2021

      24   ______________________________________               ________________
           Kathy Rehling, CETD-444                                  Date
      25   Certified Electronic Court Transcriber




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       1   Can we just have an hoc committee each time?

       2        I don't even think I listed all the law firms.          I know a

       3   new law firm filed a lawsuit in front of Judge Jane Boyle

       4   recently.    We've got a hearing on that coming up in June.          I

       5   mean, and now you're -- I'm hearing there are going to be

       6   more.   Well, if you don't figure out a way to rein it in, then

       7   I'm just going to have to get that list of who are the

       8   stakeholders in these entities, under oath, because I don't

       9   understand it.    I don't understand why we need these many

      10   lawyers filing position papers.

      11        So, all right.      Well, we're going to adjourn, and I guess

      12   I'll see you next Monday, right?

      13               MR. MORRIS:    Thank you, Your Honor.     Yes.

      14               THE COURT:    Okay.   Thank you.

      15               THE CLERK:    All rise.

      16        (Proceedings concluded at 3:07 p.m.)

      17                                     --oOo--

      18

      19

      20                                 CERTIFICATE

      21        I certify that the foregoing is a correct transcript from
           the electronic sound recording of the proceedings in the
      22   above-entitled matter.
      23     /s/ Kathy Rehling                                      05/11/2021

      24   ______________________________________               ________________
           Kathy Rehling, CETD-444                                  Date
      25   Certified Electronic Court Transcriber




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                      IN THE UNITED STATES BANKRUPTCY COURT
   1                   FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
   2
                                      )    Case No. 19-34054-sgj-11
   3   In Re:                         )    Chapter 11
                                      )
   4   HIGHLAND CAPITAL               )    Dallas, Texas
       MANAGEMENT, L.P.,              )    Friday, June 25, 2021
   5                                  )    9:30 a.m. Docket
                 Debtor.              )
   6                                  )    EXCERPT: MOTION FOR
                                      )    MODIFICATION OF ORDER
   7                                  )    AUTHORIZING RETENTION OF JAMES
                                      )    P. SEERY, JR. DUE TO LACK OF
   8                                  )    SUBJECT MATTER JURISDICTION
                                      )    (2248)
   9                                  )
  10                        TRANSCRIPT OF PROCEEDINGS
                   BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
  11                     UNITED STATES BANKRUPTCY JUDGE.
  12   WEBEX APPEARANCES:
  13   For the Debtor:                Jeffrey Nathan Pomerantz
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       For the Debtor:                John A. Morris
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  19
       For CLO Holdco, Ltd. and       Jonathan E. Bridges
  20   The Charitable DAF Fund,       Mazin Ahmad Sbaiti
       LP:                            SBAITI & COMPANY, PLLC
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  22                                  Dallas, TX 75201
                                      (214) 432-2899
  23
       For Get Good Trust and         Douglas S. Draper
  24   Dugaboy Investment Trust:      HELLER, DRAPER & HORN, LLC
                                      650 Poydras Street, Suite 2500
  25                                  New Orleans, LA 70130
                                      (504) 299-3300




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       1   bring causes of action against persons, such as officers and

       2   directors or other third parties, if they first come to the

       3   Bankruptcy Court and show a colorable claim.        They have to

       4   come to the Bankruptcy Court, show they have a colorable claim

       5   and they're the ones that should be able to pursue them.           Not

       6   exactly on point, but it's just one of many cases that one

       7   could cite that certainly approve gatekeeper functions of

       8   various sorts of Bankruptcy Courts.

       9        It doesn't matter which court might ultimately adjudicate

      10   the claims; the Bankruptcy Court can be the gatekeeper.

      11        And the Court agrees with the many cases cited from

      12   outside this circuit, such as the case in Alabama, in the

      13   Eleventh Circuit, and there was another circuit-level case, at

      14   least one other, that have held that the Barton doctrine

      15   should be extended to other types of case fiduciaries, such as

      16   debtor-in-possession management, among others.

      17        Finally, as I pointed out in my confirmation ruling in

      18   this case, gatekeeping provisions are commonplace for all

      19   types of courts, not just Bankruptcy Courts, when vexatious

      20   litigants are involved.     I have commented before that we seem

      21   to have vexatious litigation behavior with regard to Mr.

      22   Dondero and his many controlled entities.

      23        Now, as far as the Movants' argument that there was not

      24   just improper gatekeeping provisions but actually an improper

      25   discharge in the Seery retention order of negligence claims or




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      1    annoyance or anything like that.       I guess what I'm trying to

      2    do is I don't want anyone to mistake the delay in ruling on

      3    the contempt motion to mean I'm just not that -- you know, I'm

      4    not prioritizing it, other things are more serious to me or

      5    important to me, or I'm going to take two months to get to it.

      6    It's literally been I've been in trial almost all day long

      7    every day since you were here.       But trust me, I'm about as

      8    upset as upset can be about what I heard on June 8th, and I'm

      9    going to get to that ruling, and I know what I'm going to do.

     10    And, well, like I said, it's just a matter of figuring out

     11    dollars and whom, okay?     There's going to be contempt.        I just

     12    haven't put it on paper because I've been in court all day and

     13    I haven't come up with a dollar figure.       Okay?

     14         So I hope -- I don't know if that matters very much, but

     15    it should.

     16         All right.   We stand adjourned.

     17         (Proceedings concluded at 3:35 p.m.)

     18                                   --oOo--

     19

     20                                 CERTIFICATE

     21         I certify that the foregoing is a correct transcript from
           the electronic sound recording of the proceedings in the
     22    above-entitled matter.
     23      /s/ Kathy Rehling                                   06/29/2021

     24    ______________________________________              ________________
           Kathy Rehling, CETD-444                                 Date
     25    Certified Electronic Court Transcriber




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                           IN THE UNITED STATES BANKRUPTCY COURT
        1                    FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION
        2
                                           )    Case No. 19-34054-sgj-11
        3   In Re:                         )    Chapter 11
                                           )
        4   HIGHLAND CAPITAL               )    Dallas, Texas
            MANAGEMENT, L.P.,              )    March 1, 2022
        5                                  )    1:30 p.m. Docket
                 Reorganized Debtor.       )
        6                                  )    - REORGANIZED DEBTOR'S MOTION
                                           )      FOR ENTRY OF AN ORDER
        7                                  )      APPROVING SETTLEMENT WITH
                                           )      PATRICK DAUGHERTY [3088]
        8                                  )    - REORGANIZED DEBTOR'S MOTION
                                           )      FOR ENTRY OF AN ORDER
        9                                  )      FURTHER EXTENDING THE PERIOD
                                           )      WITHIN WHICH IT MAY REMOVE
      10                                   )      ACTIONS [3199]
                                           )
      11                                   )
            ELLINGTON,                     )    Adversary Proceeding 22-3003-sgj
      12                                   )
                      Plaintiff,           )
      13                                   )    STATUS CONFERENCE
            v.                             )    (NOTICE OF REMOVAL)
      14                                   )
            DAUGHERTY,                     )
      15                                   )
                      Defendant.           )
      16                                   )
      17                          TRANSCRIPT OF PROCEEDINGS
                         BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
      18                       UNITED STATES BANKRUPTCY JUDGE.
      19    APPEARANCES:
      20    For the Debtor:                John A. Morris
                                           PACHULSKI STANG ZIEHL & JONES, LLP
      21                                   780 Third Avenue, 34th Floor
                                           New York, NY 10017-2024
      22                                   (212) 561-7700
      23    For Scott Ellington:           Debra A. Dandeneau
                                           Laura R. Zimmerman
      24                                   BAKER & MCKENZIE, LLP
                                           452 Fifth Avenue
      25                                   New York, NY 10018
                                           (212) 626-4875




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                                                                               83


        1              THE COURT:   Okay.   And you know that I tend to

        2   sometimes share my views just to see if it will spur a fit of

        3   reasonableness or encourage people to settle or walk away.

        4   I'm pretty exasperated with that attempt in this case.           But

        5   this litigation is -- I'm going to call it the stalking

        6   lawsuit.   Okay?   Every time -- I don't know how much longer it

        7   will be in my court, but as long as it's in my court I'm going

        8   to call it what it is, a stalking lawsuit.         It is one grown

        9   man accusing another grown man of stalking.         You know, it's

      10    just embarrassing to me, and it should be embarrassing to

      11    those involved.

      12         Now, I have read the lawsuit and I have read that Mr.

      13    Ellington accuses Mr. Daugherty of driving by his house,

      14    driving by his father's house, driving by his sister's house,

      15    driving by his office, 143 sightings, he's taking pictures.

      16    And you know, if that's true, again, that's embarrassing.            If

      17    -- I don't even know what to say except this is embarrassing.

      18    One grown man accusing another grown man of stalking.            Okay?

      19    A statute, by the way, that was designed to protect, you know,

      20    ex-wives, girlfriends, battered women, from abusive men.           You

      21    know, gender doesn't matter, but wow.        It's just -- I don't

      22    know what to say except people should be embarrassed, and so

      23    that's what I'm going to say.

      24         I don't know if it's going to make a whit of difference in

      25    anyone's litigation posture.        But we'll come back on March




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                                                                              84


        1   29th and we'll do what we need to do on the motions before the

        2   Court.

        3        (Proceedings concluded at 3:41 p.m.)

        4                                  --oOo--

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      19                                 CERTIFICATE

      20         I certify that the foregoing is a correct transcript from
            the electronic sound recording of the proceedings in the
      21    above-entitled matter.
      22      /s/ Kathy Rehling                                   03/07/2022

      23    ______________________________________              ________________
            Kathy Rehling, CETD-444                                 Date
      24    Certified Electronic Court Transcriber
      25




                                                                            APP. 3073
